19-36300-cgm          Doc 554      Filed 11/25/19 Entered 11/25/19 21:01:30                   Main Document
                                                Pg 1 of 90


 IN THE UNITED STATES BANKRUPTCY COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                                §
     In re:                                                     §      Chapter 11
                                                                §
     BARNEYS NEW YORK, INC., et al.,1                           §      Case No. 19-36300 (CGM)
                                                                §
                                     Debtors.                   §      (Jointly Administered)
                                                                §

      COVER SHEET FOR THE FIRST INTERIM AND FINAL FEE APPLICATION OF
     HOULIHAN LOKEY CAPITAL, INC., INVESTMENT BANKER TO THE DEBTORS,
       FOR ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES
     RENDERED AND REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES
                                 INCURRED
               FROM AUGUST 6, 2019 THROUGH OCTOBER 31, 2019

     NAME OF APPLICANT:                                Houlihan Lokey Capital, Inc.

     TIME PERIOD:                                      August 6, 2019 through October 31, 2019

     DATE OF RETENTION:                                September 20, 2019 (nunc pro tunc to August 6,
                                                       2019)

     AUTHORIZED TO PROVIDE
     PROFESSIONAL SERVICES TO:                         The Debtors

     CURRENT APPLICATION:

              Fees Incurred (Including 20%             $2,350,000.00
              Holdback):
                                                       $21,436.16
              Expenses Incurred:

     PRIOR APPLICATIONS:

              Fees Previously Requested:               N/A
              Fees Previously Awarded:                 N/A
              Expenses Previously Requested:           N/A
              Expenses Previously Awarded:             N/A



 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434);
 BNY Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is
 575 Fifth Avenue, New York, New York 10017.
19-36300-cgm      Doc 554      Filed 11/25/19 Entered 11/25/19 21:01:30            Main Document
                                            Pg 2 of 90


 IN THE UNITED STATES BANKRUPTCY COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                         §
  In re:                                                 §    Chapter 11
                                                         §
  BARNEYS NEW YORK, INC., et al.,                        §    Case No. 19-36300 (CGM)
                                                         §
                                Debtors.                 §    (Jointly Administered)
                                                         §

    FIRST INTERIM AND FINAL FEE APPLICATION OF HOULIHAN LOKEY
  CAPITAL, INC., INVESTMENT BANKER TO THE DEBTORS, FOR ALLOWANCE
     OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
    REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES INCURRED
             FROM AUGUST 6, 2019 THROUGH OCTOBER 31, 2019

 TO THE HONORABLE CECELIA G. MORRIS,
 UNITED STATES BANKRUPTCY JUDGE:

                Houlihan Lokey Capital, Inc. (“Houlihan”), as investment banker to Barneys New

 York, Inc. (“Barneys”) and its affiliated debtors and debtors-in-possession in the above captioned

 chapter 11 cases (collectively, the “Debtors”), hereby submits this first and final application (the

 “Application”), pursuant to sections 328, 330 and 331 of chapter 11 of title 11 of the United States

 Code (the “Bankruptcy Code”), Rule 2016(a) of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy Rules for the Southern District of New

 York (the “Local Rules”) the Amended Guidelines for Fees and Disbursements for Professionals

 in Southern District of New York Bankruptcy Cases, dated January 29, 2013 (General Order M-

 447) (the “Local Guidelines”), the United States Trustee Guidelines for Reviewing Applications

 for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330, dated June 17,

 2013 (the “UST Guidelines”), and the Order Establishing Procedures for Interim Compensation

 and Reimbursement of Expenses For Retained Professionals, dated September 20, 2019 (Docket
19-36300-cgm           Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30                    Main Document
                                                Pg 3 of 90


 No. 272) (the “Interim Compensation Order”, and collectively with the Local Guidelines and the

 UST Guidelines, the “Guidelines”) for an order:

               (i)         allowing, on a final basis, (a) compensation for professional services

                           rendered from August 6, 2019 through and including October 31, 2019 (the

                           “Total Compensation Period”) in the amount of $2,350,000.00, and (b) for

                           reimbursement of expenses incurred in connection with such services in the

                           amount of $21,436.16 for a total award of $2,371,436.16; and

               (ii)        authorizing and directing the escrow agent of the Professional Fee Escrow

                           Account (the “Escrow Agent”)2 to pay Houlihan the amount of

                           $321,436.16, which is the total unpaid amount owing to Houlihan by the

                           Debtors for services rendered and expenses incurred during the Total

                           Compensation Period (including any amounts “held back” during such

                           period pursuant to the Interim Compensation Order), and in support thereof

                           respectfully represents as follows:

                                               BACKGROUND

                  1.       Bankruptcy Filing. On August 6, 2019 (the “Petition Date”), the Debtors

 commenced the above-captioned chapter 11 cases in this Court. The Debtors’ chapter 11 cases

 have been consolidated for procedural purposes and are being jointly administered pursuant to

 Rule 1015(b) of the Bankruptcy Rules. The Debtors are authorized to operate their businesses and

 manage their properties as debtors in possession pursuant to section 1107(a) and 1108 of the

 Bankruptcy Code. No trustee or examiner has been appointed in the chapter 11 cases.




 2
  Pursuant to section 2.3(a) of the Asset Purchase Agreement, the Debtors set up and funded the Professional Fee
 Escrow Account upon the closing of the Sale Transaction.

                                                         2
19-36300-cgm          Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30               Main Document
                                             Pg 4 of 90


                 2.      Jurisdiction. This Court has jurisdiction over this matter pursuant to 28

 U.S.C. §§ 157 and 1334. Venue of the chapter 11 cases is proper pursuant to 28 U.S.C. §§ 1408

 and 1409. This matter is a core proceeding under 28 U.S.C. § 157(b)(2). The statutory predicates

 for the relief sought herein are sections 328, 330 and 331 of the Bankruptcy Code. Pursuant to the

 Local Guidelines, a certification regarding compliance with the Guidelines is attached hereto as

 Exhibit A.

                         Status of Chapter 11 Cases. On October 16, 2019, the Debtors filed the

 Notice of Entry into Stalking Horse Purchase Agreement and Related Deadlines Under the Bidding

 Procedures (Docket No. 356), which set forth the terms pursuant to which the Debtors agreed to

 sell substantially all of their assets to ABG-Barneys, LLC (the “Sale Transaction”). On October

 31, 2019, the Court approved the Sale Transaction pursuant to the Order Authorizing (I) Entry into

 and Performance Under the Asset Purchase Agreement and Agency Agreement, (II) Sale of the

 Debtors’ Assets, and (III) Granting Related Relief (Docket No. 494). The Debtors completed the

 Sale Transaction on November 1, 2019.

                 3.      Role of Houlihan Lokey in Chapter 11 Cases. As further described below

 under the heading “Summary of Services Rendered”, Houlihan Lokey provided investment

 banking services to the Debtors in connection with raising financing, marketing the Debtors’

 businesses and assets, and other restructuring activities. Houlihan Lokey expended a substantial

 amount of time and effort throughout the Total Compensation Period, enabling the Debtors to carry

 out their duties in these Chapter 11 Cases. Houlihan’s efforts included a broad and complicated

 sale process that resulted in the sale of substantially all of the Debtors’ assets.

                            RETENTION OF HOULIHAN
                  AND SUMMARY OF PROFESSIONAL COMPENSATION
                   AND REIMBURSEMENT OF EXPENSES REQUESTED



                                                    3
19-36300-cgm          Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30          Main Document
                                             Pg 5 of 90


                 4.      On September 20, 2019, pursuant to the Order (A) Authorizing the

 Employment and Retention of Houlihan Lokey Capital, Inc. as Investment Banker to the Debtors

 Nunc Pro Tunc to the Petition Date, (B) Approving the Terms of the Engagement Agreement, (C)

 Waiving Certain Time-Keeping Requirements, and (D) Granting Related Relief (Docket No. 275)

 (the “Retention Order”), the Court authorized Houlihan Lokey’s retention as investment banker to

 the Debtors in these cases. The Retention Order authorized Houlihan to receive compensation

 pursuant to the procedures set forth in the Bankruptcy Code, the Bankruptcy Rules, the Local

 Guidelines, the UST Guidelines, and the local rules and orders of this Court.

                 5.      The terms and conditions of Houlihan Lokey’s engagement in these cases,

 which are embodied in the Retention Application and approved by the Court, are based upon

 Houlihan Lokey’s agreement with the Debtors executed July 1, 2019 (the “Engagement

 Agreement”). Pursuant to the Engagement Agreement, Houlihan Lokey is to be compensated

 through a monthly fee of $150,000.00, plus as applicable, Transaction Fee(s) (as defined in section

 3(iii) of the Engagement Agreement). A calculation of Houlihan Lokey’s fees is attached hereto

 as Exhibit E.

                 6.      The Retention Order granted the Employment and Retention of Houlihan

 Lokey and approved the Debtors’ payment of $750,000 to Houlihan. As described further in the

 Retention Order, Houlihan earned a $2,400,000 Financing Transaction Fee (after taking into

 account a Monthly Fee credit of $100,000) in relation to the Debtors obtaining DIP financing. To

 date, Houlihan has received $750,000.00 of the fees authorized by the aforementioned order. As

 an accommodation to the Debtors and their creditors, Houlihan Lokey is not seeking approval for

 the remaining $1,650,000 of the Financing Transaction Fee.




                                                 4
19-36300-cgm           Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30                    Main Document
                                                Pg 6 of 90


                  7.       Houlihan prepared this application in accordance with the Guidelines.

 Pursuant to the Guidelines, a certification regarding compliance with the Guidelines is attached

 hereto as Exhibit A.

                  8.       On November 4, 2019, Houlihan Lokey filed its First Monthly Fee

 Statement (“First Monthly Statement”) for the period from September 1, 2019 through September

 30, 2019, requesting fees in the amount of $150,000.00 and reimbursement of expenses in the

 amount of $13,253.36 (Docket No. 501). As of the date hereof, Houlihan Lokey has not received

 any payment in regards to the First Monthly Statement. Houlihan is owed $162,803.21 on account

 of the First Monthly Statement.3

                  9.       Houlihan earned a monthly fee of $150,000.00 and incurred expenses of

 $5,744.36 during the period from October 1, 2019 to October 31, 2019. Detail relating to the

 $5,744.36 of expenses is included in Exhibit D. Houlihan has not received any payments related

 to the period from October 1, 2019 to October 31, 2019.

                  10.      During the period from the Petition Date to August 31, 2019, Houlihan

 incurred expenses of $2,888.59. Houlihan has not yet invoiced the Debtors for reimbursement of

 these expenses and did not file a Monthly Fee Statement related to these expenses because, in

 accordance with the terms of the Engagement Agreement, Houlihan received the Monthly Fee

 corresponding to this period prior to the Petition Date, and determined it was more appropriate to

 request reimbursement of expenses in the First Interim Fee Application. Detail relating to the

 $2,888.89 of expenses is included in Exhibit D. Houlihan has not received any payments for the

 reimbursement of these expenses.




 3
   $450.15 of expenses requested in the First Monthly Statement were subsequently reclassified. As such, Houlihan is
 reducing the expense reimbursement amount accordingly.

                                                         5
19-36300-cgm      Doc 554      Filed 11/25/19 Entered 11/25/19 21:01:30            Main Document
                                            Pg 7 of 90


                11.     Houlihan seeks allowance of (a) the compensation for professional services

 rendered to the Debtors in the aggregate amount of $2,350,000.00, consisting of $300,000.00 in

 aggregate monthly fees and $2,050,000.00 in aggregate transaction fees, as calculated pursuant to

 the Retention Order, and (b) reimbursement of expenses incurred in connection with the rendition

 of such services in the aggregate amount of $21,436.16 during the Total Compensation Period. Of

 these amounts, $300,000.00 and $21,436.16, respectively, remain unpaid.

                12.     Pursuant to Bankruptcy Rule 2016(a), there is no agreement or

 understanding between Houlihan and any other person for the sharing of compensation to be

 received for services rendered in these cases.

                13.     Houlihan respectfully submits that (a) the services provided by Houlihan

 were necessary for, and beneficial to, the Debtors, (b) Houlihan has satisfied the requirements of

 Sections 328(a) of the Bankruptcy Code as set forth in the Retention Order, and (c) the requested

 compensation is appropriate based on the complexity, importance and nature of the services

 provided.

                14.     Pursuant to the UST Guidelines and the Retention Order, Houlihan has

 maintained a schedule setting forth all Houlihan professionals who have performed services in

 these Chapter 11 Cases during the Total Compensation Period, the capacities in which each such

 individual is employed by Houlihan and an estimate of the aggregate number of hours expended

 by restructuring professionals in this matter, which totaled approximately 1,984 hours for the

 period from August 6, 2019 through and including October 31, 2019, pursuant to the Retention

 Order.

                15.     Houlihan does not maintain, in the normal course of providing financial

 advisory and investment banking services to its clients, detailed written time records, and does not



                                                  6
19-36300-cgm       Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30           Main Document
                                            Pg 8 of 90


 bill its clients based on the number of hours expended by its professionals. However, Houlihan has

 maintained written records in half-hour increments of the time expended by its restructuring

 professionals in the rendition of professional services to the Debtors during the Total

 Compensation Period in accordance with the terms of the Guidelines and the Retention Order.

 Such time records were made in connection with the rendition of services by the person rendering

 such services. A schedule setting forth a list of all professionals who rendered services to the

 Debtors and the total number of hours expended by each restructuring professional and by category

 during the Total Compensation Period is annexed hereto as Exhibit C. Since Houlihan does not

 have the systems in place to allow its professional staff to regularly log hours worked given the

 flat monthly fee nature of all of its retentions, Houlihan believes the hours provided are likely

 understated, notwithstanding its best efforts to capture relevant activities.

                16.     Annexed hereto as Exhibit D is a schedule specifying the categories of

 expenses for which Houlihan is seeking reimbursement and the total amount of expenses in each

 category.

                17.     Houlihan has not received any payments from the Debtors other than those

 sought by this Application and those set forth in Houlihan’s retention application.

                            SUMMARY OF SERVICES RENDERED

                18.     Houlihan was retained as investment banker to the Debtors in these complex

 cases because of Houlihan’s extensive knowledge and reputation in financial restructuring, its

 familiarity with issues involved in these cases and the Debtors’ belief that Houlihan possesses the

 requisite resources and is well qualified to represent the Debtors in these cases. During the Total

 Compensation Period, Houlihan rendered a broad range of professional services to the Debtors in

 various areas. The services that Houlihan has been required to perform and has performed have



                                                   7
19-36300-cgm          Doc 554       Filed 11/25/19 Entered 11/25/19 21:01:30                       Main Document
                                                 Pg 9 of 90


 been substantial and necessary in the Chapter 11 cases. Houlihan worked extensively with other

 professionals retained by the Debtors (including but not limited to Kirkland & Ellis, LLP

 (“Kirkland”) as counsel and M-III as financial advisor) while at the same time Houlihan has

 attempted to perform its services with the minimum amount of duplication with the Debtors’ other

 advisors.

                   19.      Consistent with firm practice, this Application provides basic disclosure

 relating to Houlihan’s role in, and the services Houlihan rendered during these cases.4 The

 following summarizes the significant professional services by category rendered by Houlihan

 during the Total Compensation Period. It is not intended to be a detailed description of all of the

 work performed on behalf of the Debtors. Detailed descriptions of the day-to-day services were

 attached to and filed as exhibits to the fee statements and fee applications filed on behalf of

 Houlihan throughout the Chapter 11 cases, which are incorporated herein by reference.

 Analysis, Presentations, and Due Diligence

                   20.      Houlihan spent a significant amount of time during the Total Compensation

 Period analyzing the Debtors’ business plan, historical and projected performance, capital

 structure, liquidity prospects, potential transaction structures, and various other analyses. Houlihan

 spent a considerable amount of time analyzing and reviewing critical pieces of analysis including

 the Debtors’ business plan as well as the financing and working capital requirements associated

 with various potential sale transaction structures. Houlihan prepared and delivered multiple

 analyses to the Debtors and other stakeholders on these topics.

 Sale Process Diligence and Analysis




 4
  Houlihan reserves the right to supplement this Application with additional disclosure related to its role and the
 services it rendered throughout the chapter 11 cases.

                                                           8
19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30            Main Document
                                           Pg 10 of 90


                21.    A critical component of Houlihan’s retention was the marketing of the

 Debtors’ assets to explore whether estate value could be maximized through a sale transaction,

 either in part or in whole. In relation to these marketing efforts, Houlihan spent significant time

 during the Total Compensation Period preparing marketing materials to distribute in connection

 with buyer outreach, discussing the opportunity with interested buyers, populating and managing

 a data room to facilitate buyer diligence, working with management to address follow up diligence

 questions and requests from buyers, evaluating indications of interest, facilitating telephonic and

 in person meetings between buyers and key members of management, and supervising site visits

 at the Debtors’ corporate offices, among other services provided. During the Total Compensation

 Period, Houlihan reached out to in excess of 120 potential buyers of the Debtors’ assets and spent

 significant amounts of time in advance of this outreach analyzing the universe of potential buyers.

 Correspondence with Debtors and Other Stakeholders

                22.    During the Total Compensation Period, Houlihan engaged in extensive

 correspondence, meetings and calls with the Debtors’ management, board, counsel, and the

 Debtors’ other advisors in these Chapter 11 cases. Houlihan provided advice regarding many

 significant decisions facing the Debtors, including issues related to the Debtors’ liquidity and

 financial condition, bankruptcy matters, the sale process, asset purchase agreement terms and

 documentation, and other strategy related to the cases. In addition, Houlihan provided periodic

 situational updates to the Debtors and other stakeholders, including regular update calls with the

 Debtors’ secured lenders and unsecured creditors committee, during which Houlihan reported on

 the status of the sale process, feedback from potential bidders, the status of diligence and other

 process- related issues. Houlihan also participated in numerous other one-off discussions both with

 individual secured lenders and with the lender group as a whole to discuss a wide variety of topics



                                                 9
19-36300-cgm       Doc 554      Filed 11/25/19 Entered 11/25/19 21:01:30            Main Document
                                             Pg 11 of 90


 as requested. Additionally, Houlihan spent considerable time providing information and analysis

 to, and negotiating with, the Debtors’ landlords. Houlihan, along with the Debtors’ other advisors,

 spent considerable time exploring and evaluating various potential strategies to maximize value

 for the sale process.

 Correspondence with Official Committee of Unsecured Creditors

                23.       During the Total Compensation Period, Houlihan communicated regularly

 with the advisors to the Debtors’ unsecured creditors committee. Key areas of discussion included

 liquidity and financing needs (including proposed debtor-in-possession financing), financial and

 operating due diligence, and the Debtors’ sale efforts (including recurring calls to keep the

 unsecured creditors committee’s advisors abreast of the sale process and the status of individual

 potential purchasers).

 Financing Diligence and Analysis

                24.       During the Total Compensation Period, Houlihan engaged in outreach to

 potential providers of acquisition financing to assist potential purchasers of the Debtors’ assets in

 obtaining the capital required to effectuate a transaction. In connection with this outreach,

 Houlihan had numerous calls with potential lenders to discuss the dynamics of the situation and

 the role that such lenders may be able to serve in facilitating an acquisition. Houlihan also

 assisted potential lenders with their due diligence and analyzed multiple financing term sheets.

 General Case Administration

                25.       During the Total Compensation Period, Houlihan expended time on

 administrative matters including, but not limited to: (i) managing a virtual data room with hundreds

 of documents and a substantial amount of individual users; (ii) performing a comprehensive review




                                                  10
19-36300-cgm       Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30              Main Document
                                            Pg 12 of 90


 of potential conflicts with various parties-in-interest in the case; (iii) attending or listening to

 hearings.

                26.     The professional services performed by Houlihan were necessary and

 appropriate to the administration of the Chapter 11 Cases and were in the best interests of the

 Debtors and other parties in interest. Compensation for the services described above is

 commensurate with the complexity, importance, and nature of the problems, issues, or tasks

 involved.

             ACTUAL AND NECESSARY DISBURSEMENTS OF HOULIHAN

                27.     Houlihan has disbursed $21,436.16 as expenses incurred in providing

 professional services during the Total Compensation Period. It is Houlihan’s policy to charge its

 clients for all actual and necessary expenses incurred in connection with the engagement. The

 expenses charged to clients include, among other things, telephone and telecopier charges, regular

 mail and express mail charges, special or hand delivery charges, document processing,

 photocopying charges, travel expenses, expenses for “working meals,” and computerized research.

 In accordance with the applicable factors enumerated in the Bankruptcy Code, it is respectfully

 submitted that the amount requested by Houlihan is fair and reasonable given (a) the complexity

 of these cases, (b) the time expended, (c) the nature and extent of the services rendered, (d) the

 value of such services, and (e) the costs of comparable services other than in a case under this title.

              THE REQUESTED COMPENSATION SHOULD BE ALLOWED

                28.     Houlihan respectfully submits that the services for which it seeks

 compensation in the Application were necessary for, and beneficial to, the Debtors and that

 Houlihan has satisfied the requirements of sections 328(a), 330(a), and 331 of the Bankruptcy

 Code as set forth in the Retention Order. Houlihan’s requested compensation is appropriate based

 on the complexity, importance and nature of the services provided, and is consistent with the

                                                   11
19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30            Main Document
                                           Pg 13 of 90


 customary compensation charged by comparable professionals both in and out of the bankruptcy

 context. Houlihan therefore respectfully requests that the Court grant the relief requested in this

 Application.

                               NO DUPLICATION OF SERVICE

                29.    Houlihan has developed a cooperative working relationship on behalf of the

 Debtors with Kirkland & Ellis, LLP, as the Debtors’ counsel, and M-III Advisory Partners, L.P.

 Because each firm has been aware of the others’ role and services to the Debtors, Houlihan believes

 that no unnecessary duplication of services has occurred.

                                     NO PRIOR REQUEST

                30.    No previous motion for the relief sought herein has been made to this or any

 other court.



                            [remainder of page left intentionally blank]




                                                 12
19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30            Main Document
                                           Pg 14 of 90


                                         CONCLUSION

                WHEREFORE, Houlihan respectfully requests the Court enter an order: (a)

 allowing Houlihan (i) compensation for professional services rendered during the Total

 Compensation Period in the amount of $2,350,000.00 and (ii) reimbursement of expenses incurred

 in connection with rendering such services in the aggregate amount of $21,436.16, for a total award

 of $2,371,436.16; (b) authorizing and directing the Escrow Agent to pay (to the extent not

 previously paid in accordance with the Interim Compensation Order) to Houlihan $321,436.16,

 which is the amount equal to (i) $300,000.00 of Monthly Fees related to (x) the First Monthly

 Statement, plus (y) the period from October 1, 2019, to October 31, 2019, plus (ii) $21,436.16 in

 unpaid expenses in regards to (x) $2,888.59 related to the period from the Petition Date to August

 31, 2019, plus (y) $12,803.21 related to the First Monthly Statement, plus (z) $5,744.36 related to

 the period from October 1, 2019, to October 31, 2019; and (c) granting such further relief as is

 just.



  Dated: New York, NY
         November 22, 2019           HOULIHAN LOKEY CAPITAL, INC.
                                     Investment Banker to the Debtors




                                     Saul E. Burian
                                     Managing Director
                                     245 Park Avenue, 20th Floor
                                     New York, NY 10167
                                     Telephone: (212) 497-4245




                                                 13
19-36300-cgm   Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30   Main Document
                                      Pg 15 of 90


                                   EXHIBIT A

                            BURIAN CERTIFICATION
19-36300-cgm         Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30           Main Document
                                            Pg 16 of 90


 IN THE UNITED STATES BANKRUPTCY COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK
                                     §
  In re:                             §                        Chapter 11
                                     §
  BARNEYS NEW YORK, INC., et al.,    §                        Case No. 19-36300 (CGM)
                                     §
                       Debtors.      §                        (Jointly Administered)
                                     §

             CERTIFICATION UNDER GUIDELINES FOR FEES AND
           DISBURSEMENTS FOR PROFESSIONALS IN RESPECT OF
   THE FIRST AND FINAL APPLICATION OF HOULIHAN LOKEY CAPITAL, INC.,
     FOR INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES

                I, Saul Burian, hereby certify that:

                1.      I am a Managing Director with the applicant firm, Houlihan Lokey Capital,

 Inc., (“Houlihan”), as investment banker to the Debtors in the above-captioned cases (collectively,

 the “Debtors”) for the jointly administered chapter 11 cases of Barneys New York, Iinc., et. al.

 (together, the “Debtors”), in respect of compliance with the Amended Guidelines for Fees and

 Disbursements for Professionals in Southern District of New York Bankruptcy Cases, dated

 January 29, 2013 (General Order M-447) (the “Local Guidelines”), the United States Trustee

 Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

 Under 11 U.S.C. § 330, dated June 17, 2013 (the “UST Guidelines”) and the Order Pursuant to

 Sections 105(a), 330, 331 of the Bankruptcy Code, Bankruptcy Rule 2016, and Local Rule 2016-

 1 Establishing Procedures for Interim Compensation And Reimbursement of Expenses For

 Retained Professionals, September 20, 2019 (Docket No. 272) (the “Interim Compensation

 Order,” and collectively with the Local Guidelines and UST Guidelines, the “Guidelines”).

                2.      This certification is made in respect of Houlihan’s application, dated

 November 22, 2019, (the “Application”), for interim compensation and reimbursement of
19-36300-cgm         Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30             Main Document
                                            Pg 17 of 90


 expenses for the period commencing August 6, 2019, through and including October 31, 2019,

 (the “Total Compensation Period”) in accordance with the Guidelines.

                        In respect of section B.1 of the Local Guidelines, I certify that:

                         (a)   I have read the application;

                         (b)   To the best of my knowledge, information, and belief formed after
                               reasonable inquiry, the fees and disbursements sought fall within the
                               Local Guidelines;

                         (c)   The Application respectfully requests that this Court enter an Order
                               awarding Houlihan $2,350,000.00 as compensation for services
                               rendered during the Total Compensation Period and $21,436.16 as
                               reimbursement of reasonable actual and necessary expenses incurred
                               in connection with such services;

                         (d)   The fees and disbursement requested in the Application are billed in
                               accordance with practices customarily employed by Houlihan and
                               generally accepted by Houlihan’s clients; and

                         (e)   In providing a reimbursable service, Houlihan does not make a profit
                               on that service, whether the service is performed by Houlihan in-
                               house or through a third party.

                3.      In respect of section B.2 of the Local Guidelines and as required by the

 Interim Compensation Order, I certify that Houlihan has provided, on a monthly basis or as soon

 as reasonably possible, statements of Houlihan’s fees and expenses, in accordance with the Interim

 Compensation Order, to the Application Recipients (as defined in the Interim Compensation

 Order) and filed such statements with this Court.

                4.      In respect of section B.3 of the Local Guidelines, I certify that the Debtors

 and the United States Trustee for the Region 2 are being provided a copy of the Application.




                                                  2
19-36300-cgm    Doc 554      Filed 11/25/19 Entered 11/25/19 21:01:30   Main Document
                                          Pg 18 of 90


  Dated: New York, NY
         November 22, 2019         Respectfully submitted,


                                   HOULIHAN LOKEY CAPITAL, INC.
                                   Investment Banker to the Debtors




                                   Saul E. Burian
                                   Managing Director
                                   245 Park Avenue, 20th Floor
                                   New York, NY 10167
                                   Telephone: (212) 497-4245




                                              3
19-36300-cgm   Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30   Main Document
                                      Pg 19 of 90


                                   EXHIBIT B

                              RETENTION ORDER
19-36300-cgm           Doc 554
                           275        Filed 11/25/19
                                            09/20/19 Entered 11/25/19
                                                               09/20/19 21:01:30
                                                                        08:48:13                    Main Document
                                                   Pg
                                                    Pg20
                                                       1 of 7
                                                            90


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                          )
     In re:                                                               )    Chapter 11
                                                                          )
     BARNEYS NEW YORK, INC., et al.,1                                     )    Case No. 19-36300 (CMG)
                                                                          )
                                        Debtors.                          )    (Jointly Administered)
                                                                          )

          ORDER (A) AUTHORIZING THE EMPLOYMENT AND RETENTION
       OF HOULIHAN LOKEY CAPITAL, INC. AS INVESTMENT BANKER TO THE
       DEBTORS NUNC PRO TUNC TO THE PETITION DATE, (B) APPROVING THE
      TERMS OF THE ENGAGEMENT AGREEMENT, (C) WAIVING CERTAIN TIME-
          KEEPING REQUIREMENTS, AND (D) GRANTING RELATED RELIEF

              Upon the application (the “Application”)2 of the above-captioned debtors and debtors in

 possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing the

 employment and retention of Houlihan Lokey Capital, Inc. (“Houlihan Lokey”) as its investment

 banker pursuant to the terms of the Engagement Agreement dated as of July 1, 2019, a copy of

 which is attached hereto as Exhibit 1 (the “Engagement Agreement”), (b) approving the

 provisions of the Engagement Agreement, including the proposed compensation arrangement set

 forth in the Application, under section 328(a) of title 11 of the United States Code (the “Bankruptcy

 Code”), (c) waiving certain time-keeping requirements under Bankruptcy Rule 2016(a), Local

 Rule 2016-1, the Amended Guidelines, and the UST Guidelines, and (d) granting related relief, all

 as more fully set forth in the Application; and upon the Burian Declaration; and this Court having

 jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing Order; and



 1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434); BNY
       Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
       Fifth Avenue, New York, New York 10017.
 2
       Capitalized terms used but not defined herein shall have the meanings given to them in the Application.
19-36300-cgm       Doc 554
                       275     Filed 11/25/19
                                     09/20/19 Entered 11/25/19
                                                        09/20/19 21:01:30
                                                                 08:48:13           Main Document
                                            Pg
                                             Pg21
                                                2 of 7
                                                     90


 this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this

 Court having found that it may enter a final order consistent with Article III of the United States

 Constitution; and this Court having found that venue of this proceeding and the Application in this

 district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

 relief requested in the Application is in the best interests of the Debtors’ estates, their creditors,

 and other parties in interest; and this Court having found that the Debtors’ notice of the Application

 and opportunity for a hearing on the Application were appropriate under the circumstances and no

 other notice need be provided; and this Court having reviewed the Application and having heard

 the statements in support of the relief requested therein at a hearing, if any, before this Court (the

 “Hearing”); and this Court having determined that the legal and factual bases set forth in the

 Application and at the Hearing establish just cause for the relief granted herein; and upon all of

 the proceedings had before this Court; and after due deliberation and sufficient cause appearing

 therefor, it is HEREBY ORDERED THAT:

        1.      The Application is granted as set forth in this Order.

        2.      The retention and employment of Houlihan Lokey as financial advisor and

 investment banker to the Debtors pursuant to sections 327 and 328(a) of the Bankruptcy Code,

 Bankruptcy Rules 2014(a) and 2016, and Local Rules 2014-1 and 2016-1, nunc pro tunc to the

 Petition Date, on the terms and conditions set forth in the Engagement Agreement and the

 Application, is approved, subject to the terms of this Order and the following modifications to the

 Engagement Agreement as set forth herein.

        3.      None of the fees payable to Houlihan Lokey, pursuant to the Engagement

 Agreement, shall constitute a “bonus” or fee enhancement under applicable law.




                                                   2
19-36300-cgm      Doc 554
                      275      Filed 11/25/19
                                     09/20/19 Entered 11/25/19
                                                        09/20/19 21:01:30
                                                                 08:48:13          Main Document
                                            Pg
                                             Pg22
                                                3 of 7
                                                     90


        4.      Houlihan Lokey shall file interim and final fee applications for allowance of

 compensation and reimbursement of expenses, including without limitation, any Monthly Fees

 and/or Transaction Fees, pursuant to sections 330 and 331 of the Bankruptcy Code, the Bankruptcy

 Rules, the Order Establishing Procedures for Monthly Compensation and Reimbursement of

 Expenses of Professionals, dated December 21, 2010 (General Order M-412), the Amended

 Guidelines, and any other orders of the Court; provided, however, that the interim and final fee

 applications filed by Houlihan Lokey shall be subject to review only pursuant to the standard of

 review set forth in section 328 of the Bankruptcy Code and not subject to the standard of review

 set forth in section 330 of the Bankruptcy Code, except as otherwise expressly set forth herein.

        5.      Notwithstanding the preceding paragraph, the U.S. Trustee and the Court shall

 retain the right to object to the compensation and fees and expenses to be paid to Houlihan Lokey

 pursuant to the Application and the Engagement Agreement, based on the reasonableness standard

 provided for in section 330 of the Bankruptcy Code, and the Court shall consider any such

 objection by the U.S. Trustee under section 330 of the Bankruptcy Code; provided that

 reasonableness for this purpose shall include, among other things, an evaluation by comparing the

 fees payable in this case to the fees paid to other investment banking firms for comparable services

 in other chapter 11 cases and outside of chapter 11 cases, and shall not be evaluated primarily on

 the basis of time committed or the length of these cases.

        6.      The Debtors are authorized to employ and retain and compensate and reimburse

 Houlihan Lokey pursuant to the terms of the Engagement Agreement.

        7.      Notwithstanding anything to the contrary in Section 16 of the Engagement

 Agreement, to the extent the Debtors wish to expand the scope of Houlihan Lokey’s services

 beyond those services set forth in the Engagement Agreement or this Order, the Debtors shall be




                                                  3
19-36300-cgm      Doc 554
                      275      Filed 11/25/19
                                     09/20/19 Entered 11/25/19
                                                        09/20/19 21:01:30
                                                                 08:48:13          Main Document
                                            Pg
                                             Pg23
                                                4 of 7
                                                     90


 required to seek further approval from this Court. The Debtors shall file notice of any proposed

 additional services and any underlying engagement agreement with the Court and serve such notice

 on the U.S. Trustee, the Committee, and any party requesting notice under Bankruptcy Rule 2002.

 If no such party files an objection within 21 days of the Debtors filing such notice, the additional

 services and any underlying engagement agreement may be approved by the Court by further order

 without further notice or hearing.

        8.      Houlihan Lokey shall include in its interim and final fee applications, among other

 things, time records setting forth, in a summary format, a description of the services rendered by

 each professional, and the amount of time spent on each date by each such individual in rendering

 services on behalf of the Debtors in half-hour (0.5) increments, and Houlihan Lokey shall be

 excused from keeping time in tenth-hour increments.

        9.      Notwithstanding anything in the Application or the Engagement Agreement to the

 contrary, Houlihan Lokey shall (i) to the extent that Houlihan Lokey uses the services of

 independent contractors, subcontractors or employees of foreign affiliates or subsidiaries

 (collectively, the “Contractors”) in these cases, Houlihan Lokey shall pass-through the cost of such

 Contractors to the Debtors at the same rate that Houlihan Lokey pays the Contractors, (ii) seek

 reimbursement for actual costs only, (iii) ensure that the Contractors are subject to the same

 conflict checks as required for Houlihan Lokey, and (iv) file with the Court such disclosures

 required by Bankruptcy Rule 2014.

        10.     In the event that, during the pendency of these cases, Houlihan Lokey seeks

 reimbursement for any attorneys’ fees and/or expenses pursuant to the terms of the Engagement

 Agreement (as modified by this Order), the invoices and supporting time records from such

 attorneys, appropriately redacted to preserve applicable privileges, shall be included in Houlihan




                                                  4
19-36300-cgm      Doc 554
                      275      Filed 11/25/19
                                     09/20/19 Entered 11/25/19
                                                        09/20/19 21:01:30
                                                                 08:48:13            Main Document
                                            Pg
                                             Pg24
                                                5 of 7
                                                     90


 Lokey’s own fee applications, and such invoices and time records shall be in compliance with the

 Local Rules, and shall be subject to the Amended Guidelines, the UST Guidelines and the approval

 of the Bankruptcy Court pursuant to sections 330 and 331 of the Bankruptcy Code without regard

 to whether such attorneys have been retained under section 327 of the Bankruptcy Code, and

 without regard to whether such attorneys’ services satisfy section 330(a)(3)(C) of the

 Bankruptcy Code.

        11.     The Debtors shall be bound by the indemnification, reimbursement, contribution,

 and exculpation provisions set forth in the Engagement Agreement, subject during the pendency

 of these cases to the following:

                 a.     subject to the provisions of subparagraphs (b) and (c) below, the Debtors
                        are authorized to indemnify, and shall indemnify, Houlihan Lokey and the
                        other Indemnified Parties for any claims arising out of or related to
                        Houlihan Lokey’s engagement under, or any matter referred to in, the
                        Engagement Agreement and/or the services to be provided by Houlihan
                        Lokey as specified in the Application, but not for any claim arising from,
                        related to, or in connection with Houlihan Lokey’s postpetition performance
                        of any other services other than those in connection with the engagement,
                        unless such postpetition services and indemnification therefor are approved
                        by this Court;

                 b.     the Debtors shall have no obligation to indemnify Houlihan Lokey for any
                        claim or expense that is either (i) judicially determined (the determination
                        having become final) to have resulted primarily from Houlihan Lokey’s
                        actual fraud, gross negligence, bad faith, breach of fiduciary duty (if any),
                        self dealing, or willful misconduct, or (ii) settled prior to a judicial
                        determination as to Houlihan Lokey’s actual fraud, gross negligence, bad
                        faith, breach of fiduciary duty (if any), self dealing, or willful misconduct,
                        but determined by this Court, after notice and a hearing pursuant to
                        subparagraph (c) infra, to be a claim or expense for which Houlihan Lokey
                        is not entitled to receive indemnity under the terms of the Engagement
                        Agreement as modified by this Order; and

                 c.     if, before the earlier of (i) the entry of an order confirming a chapter 11 plan
                        in these cases (that order having become a final order no longer subject to
                        appeal), and (ii) the entry of an order closing these chapter 11 cases, any
                        Indemnified Party believes that it is entitled to the payment of any amounts
                        by the Debtors on account of the Debtors’ indemnification, reimbursement,
                        and/or contribution obligations under the Engagement Agreement


                                                   5
19-36300-cgm      Doc 554
                      275      Filed 11/25/19
                                     09/20/19 Entered 11/25/19
                                                        09/20/19 21:01:30
                                                                 08:48:13          Main Document
                                            Pg
                                             Pg25
                                                6 of 7
                                                     90


                        (as modified by this Order), including, without limitation, the advancement
                        of defense costs, such Indemnified Party must file an application therefor in
                        this Court, and the Debtors may not pay any such amounts to Houlihan
                        Lokey before the entry of an order by this Court approving the payment.
                        This subparagraph (c) is intended only to specify the period of time under
                        which the Court shall have jurisdiction over any request for fees and
                        expenses by Indemnified Parties for indemnification, contribution, or
                        reimbursement, and not as a provision limiting the duration of the Debtors’
                        obligation to indemnify or provide contribution or reimbursement to
                        Houlihan Lokey.

        12.     Notwithstanding anything to the contrary in the Application, the total Financing

 Transaction Fee on account of the DIP financing is $2,500,000, subject to credits for the Monthly

 Fees of $100,000 as set forth in the Engagement Agreement, which is hereby approved. Houlihan

 Lokey has been paid $750,000 on account of the Financing Transaction Fee. For the avoidance of

 doubt, (i) the Court is not approving the remaining $1,650,000 at this time and Houlihan Lokey

 has reserved its right to seek approval of such amount at a later date, and (ii) no portion of the

 $750,000 Financing Transaction Fee shall be credited against any subsequent Monthly Fee or Sale

 or Restructuring Transaction Fee.

        13.     Notwithstanding anything to the contrary in the Engagement Agreement, in the

 event that a Sale Transaction is consummated and Houlihan Lokey is paid a Sale Transaction Fee

 in connection therewith, upon the consummation of a subsequent Restructuring Transaction in the

 form of a plan of liquidation that distributes the proceeds of the Sale Transaction for which

 Houlihan Lokey has already been paid a Sale Transaction Fee, Houlihan Lokey shall not be entitled

 to receive an additional Restructuring Transaction Fee. For the avoidance of doubt, Houlihan

 Lokey shall be entitled to either a Sale or Restructuring Transaction Fee, but not both.

        14.     Houlihan Lokey shall be compensated in accordance with the procedures set forth

 in the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, this

 Order, and any other applicable orders of this Court.



                                                  6
19-36300-cgm       Doc 554
                       275       Filed 11/25/19
                                       09/20/19 Entered 11/25/19
                                                          09/20/19 21:01:30
                                                                   08:48:13         Main Document
                                              Pg
                                               Pg26
                                                  7 of 7
                                                       90


        15.     Houlihan Lokey shall use its best efforts, and will coordinate with the Debtors and

 its other retained professionals, not to duplicate any of the services provided to the Debtors by any

 of its other retained professionals.

        16.     To the extent that there may be any inconsistency between the terms of the

 Application, the Burian Declaration, the Engagement Agreement, and this Order, the terms of this

 Order shall govern.

        17.     Notice of the Application as provided therein shall be deemed good and sufficient

 notice of such Application and the requirements of Bankruptcy Rule 6004(a) and the Local Rules

 are satisfied by such notice.

        18.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

 are immediately effective and enforceable upon its entry.

        19.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Order in accordance with the Application.

        20.     Notwithstanding anything to the contrary in the Engagement Agreement, this Court

 retains exclusive jurisdiction with respect to all matters arising from or related to the

 implementation, interpretation, and enforcement of this Order.




                                                                /s/ Cecelia G. Morris
                                                                _______________________
Dated: September 20, 2019
                                                                Hon. Cecelia G. Morris
      Poughkeepsie, New York
                                                                Chief U.S. Bankruptcy Judge
19-36300-cgm   Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30   Main Document
                                      Pg 27 of 90


                                   EXHIBIT C

                             HOURS BY EMPLOYEE
                          19-36300-cgm          Doc 554      Filed 11/25/19 Entered 11/25/19 21:01:30          Main Document
                                                                          Pg 28 of 90


Barneys New York                                                                                                                 Privileged and Confidential
Houlihan Lokey Work Hours Summary                                                                                              (Aug 06, 2019 - Oct 31, 2019)


                                                  Houlihan Lokey - Barneys New York Work Hours Summary
                                    0                           (Aug 06, 2019 - Oct 31, 2019)
            Employee                              A              B              C                D        E              F            Total
            Saul Burian                         27.0          77.5            21.5             32.0    121.0           9.5            288.5
            Steve Tishman                        1.0           4.0             1.5              0.5     24.0           0.0             31.0
            Surbhi Gupta                         2.0           0.0             0.0              0.0      0.5           0.0              2.5
            Jason Feintuch                      27.0         101.0            58.0             39.0    145.0          10.0            380.0
            Christopher Khoury                  50.0          76.5          153.0              30.0    144.5          10.5            464.5
            John Kubinak                        31.0          53.0          153.0              27.0    106.0           9.0            379.0
            Heidi Lee                            5.5           4.5            48.5              1.5      9.0           1.0             70.0
            Miles Powell                        64.5          30.5          152.0              14.0    103.0           4.5            368.5
            Total                              208.0         347.0          587.5             144.0    653.0          44.5           1984.0


            Legend
                      A                 General Case Administration
                      B                 Correspondence with Debtor and Other Stakeholders
                      C                 Analysis, Presentations, and Due Diligence
                      D                 Correspondence with Lenders / Financing Parties
                      E                 Sale Process Related
                      F                 Correspondence with UCC
                                                       19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                  Pg 29 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Saul Burian
                            Total Hours: 288.5

                                                                                                              Task Reference Table
                                             A         General Case Administration
                                             B         Correspondence with Debtor and Other Stakeholders
                                             C         Analysis, Presentations, and Due Diligence
                                             D         Correspondence with Lenders / Financing Parties
                                             E         Sale Process Related
                                             F         Correspondence with UCC

                Input                      Input                                                           Input                                         Input
                Date                       Task                         Task Code                          Hours                                Description of Activities
Tuesday, August 6, 2019                      A                  General Case Administration                 6.0                First Day Hearings, VDR and other case administrative items


Tuesday, August 6, 2019                      B             Correspondence with Debtor and Other             2.0                               Management and advisors calls
                                                                      Stakeholders
Tuesday, August 6, 2019                      D         Correspondence with Lenders / Financing Parties      4.5                                  DIP financing negotiations


Tuesday, August 6, 2019                      E                      Sale Process Related                    0.5                                    Buyer calls and emails


Wednesday, August 7, 2019                    D         Correspondence with Lenders / Financing Parties      1.0                                   DIP funding work / calls


Wednesday, August 7, 2019                    B             Correspondence with Debtor and Other             3.0                           Meeting with management (sale process)
                                                                      Stakeholders
Wednesday, August 7, 2019                    C            Analysis, Presentations, and Due Diligence        1.0                               Internal sale process discussions


Wednesday, August 7, 2019                    E                      Sale Process Related                    0.5                                       Buyer outreach


Thursday, August 8, 2019                     E                      Sale Process Related                    1.0                                       Buyer outreach


Monday, August 12, 2019                      E                      Sale Process Related                    1.0                        Scheduling with & researching potential buyers


Monday, August 12, 2019                      B             Correspondence with Debtor and Other             0.5                                   Coordinating with board
                                                                      Stakeholders
Monday, August 12, 2019                      E                      Sale Process Related                    1.5                            Meeting and call with potential buyers


Tuesday, August 13, 2019                     D         Correspondence with Lenders / Financing Parties      0.5                                           DIP call


Tuesday, August 13, 2019                     B             Correspondence with Debtor and Other             1.5                                      Coordination calls
                                                                      Stakeholders
Tuesday, August 13, 2019                     E                      Sale Process Related                    1.5                            Calls and emails with potential buyers


Wednesday, August 14, 2019                   A                  General Case Administration                 2.0                               DIP and Store Closing Hearing


Wednesday, August 14, 2019                   B             Correspondence with Debtor and Other             0.5                                  Advisors deliverables call
                                                                      Stakeholders
Wednesday, August 14, 2019                   E                      Sale Process Related                    0.5                               Potential buyer calls and emails


Thursday, August 15, 2019                    B             Correspondence with Debtor and Other             1.0                             Communications with management
                                                                      Stakeholders
Thursday, August 15, 2019                    E                      Sale Process Related                    0.5              Intro call with potential acquirer and other buyer communications


Thursday, August 15, 2019                    F                   Correspondence with UCC                    0.5                                   Coordinate kickoff call


Friday, August 16, 2019                      F                   Correspondence with UCC                    1.0                               UCC kickoff call and data room


Saturday, August 17, 2019                    A                  General Case Administration                 0.5                               Considering potential buyer lead


Sunday, August 18, 2019                      A                  General Case Administration                 1.0                            Timeline and sale strategy discussion


Monday, August 19, 2019                      B             Correspondence with Debtor and Other             0.5            Buyer tracker and strategy discussion, scheduling, incentive comp. call
                                                                      Stakeholders
Monday, August 19, 2019                      E                      Sale Process Related                    0.5                                   NDAs, data room access
                                                       19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                  Pg 30 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Saul Burian
                            Total Hours: 288.5

                                                                                                              Task Reference Table
                                             A         General Case Administration
                                             B         Correspondence with Debtor and Other Stakeholders
                                             C         Analysis, Presentations, and Due Diligence
                                             D         Correspondence with Lenders / Financing Parties
                                             E         Sale Process Related
                                             F         Correspondence with UCC

               Input                       Input                                                           Input                                             Input
               Date                        Task                          Task Code                         Hours                                   Description of Activities
Monday, August 19, 2019                      E                      Sale Process Related                    0.5                             Potential buyer calls and other outreach


Tuesday, August 20, 2019                     C            Analysis, Presentations, and Due Diligence        0.5                       Miscellaneous analysis and presentation preparation


Tuesday, August 20, 2019                     B             Correspondence with Debtor and Other             1.5                          Discuss buyers and process with management
                                                                      Stakeholders
Tuesday, August 20, 2019                     C            Analysis, Presentations, and Due Diligence        0.5                         Buyer tracker/M&A process materials updates


Wednesday, August 21, 2019                   E                      Sale Process Related                    1.0                      Diligence calls and other outreach to potential buyers


Wednesday, August 21, 2019                   A                  General Case Administration                 1.0                               Retention Application preparation


Wednesday, August 21, 2019                   E                      Sale Process Related                    0.5                              Discussions with prospective buyers


Wednesday, August 21, 2019                   F                   Correspondence with UCC                    0.5                                    DIP and CIM discussion


Thursday, August 22, 2019                    B             Correspondence with Debtor and Other             0.5                                 Discussions with management
                                                                      Stakeholders
Thursday, August 22, 2019                    D         Correspondence with Lenders / Financing Parties      1.0                                         DIP lender call


Thursday, August 22, 2019                    E                      Sale Process Related                    1.0         Scheduling & diligence correspondence with potential buyers; other outreach


Thursday, August 22, 2019                    F                   Correspondence with UCC                    0.5                                         Call with UCC


Friday, August 23, 2019                      E                      Sale Process Related                    0.5                              Potential buyer outreach & diligence


Friday, August 23, 2019                      D         Correspondence with Lenders / Financing Parties      0.5                                         DIP lender call


Saturday, August 24, 2019                    C            Analysis, Presentations, and Due Diligence        1.0                                      KEIP & DIP studies


Sunday, August 25, 2019                      C            Analysis, Presentations, and Due Diligence        1.5                            DIP study, KEIP comps, deposition prep


Sunday, August 25, 2019                      D         Correspondence with Lenders / Financing Parties      0.5                                  Scheduling with DIP lenders


Monday, August 26, 2019                      C            Analysis, Presentations, and Due Diligence        4.0             Preparation for deposition, KEIP comps, DIP study, CIM comments


Monday, August 26, 2019                      E                      Sale Process Related                    0.5                                Discussions with potential buyers


Monday, August 26, 2019                      B             Correspondence with Debtor and Other             1.0                         Correspondence with management and counsel
                                                                      Stakeholders
Tuesday, August 27, 2019                     B             Correspondence with Debtor and Other             4.0                                     Deposition preparation
                                                                      Stakeholders
Tuesday, August 27, 2019                     E                      Sale Process Related                    0.5                             Correspondence with potential buyers


Tuesday, August 27, 2019                     B             Correspondence with Debtor and Other             1.0                             Sale process updates with management
                                                                      Stakeholders
Tuesday, August 27, 2019                     D         Correspondence with Lenders / Financing Parties      1.0                               Correspondence with DIP lenders


Wednesday, August 28, 2019                   A                  General Case Administration                 4.0                           Depositions of Saul Burian and Holly Etlin


Wednesday, August 28, 2019                   E                      Sale Process Related                    0.5                      Calls and other communications with potential buyers
                                                       19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                  Pg 31 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Saul Burian
                            Total Hours: 288.5

                                                                                                              Task Reference Table
                                             A         General Case Administration
                                             B         Correspondence with Debtor and Other Stakeholders
                                             C         Analysis, Presentations, and Due Diligence
                                             D         Correspondence with Lenders / Financing Parties
                                             E         Sale Process Related
                                             F         Correspondence with UCC

              Input                        Input                                                           Input                                          Input
              Date                         Task                         Task Code                          Hours                                 Description of Activities
Wednesday, August 28, 2019                   F                   Correspondence with UCC                    1.5                                   Discussions with UCC


Wednesday, August 28, 2019                   B             Correspondence with Debtor and Other             2.0                        Correspondence with management and advisors
                                                                      Stakeholders
Thursday, August 29, 2019                    D         Correspondence with Lenders / Financing Parties      0.5                                 DIP lender communications


Thursday, August 29, 2019                    C            Analysis, Presentations, and Due Diligence        1.0                                   Management discussions


Friday, August 30, 2019                      B             Correspondence with Debtor and Other             1.0                                Discussions re: DIP settlement
                                                                      Stakeholders
Friday, August 30, 2019                      E                      Sale Process Related                    0.5                                   Buyer diligence & calls


Friday, August 30, 2019                      C            Analysis, Presentations, and Due Diligence        0.5                         DIP comps discussion and subsequent analysis


Saturday, August 31, 2019                    B             Correspondence with Debtor and Other             1.0                                 Correspondence with counsel
                                                                      Stakeholders
Sunday, September 1, 2019                    B             Correspondence with Debtor and Other             0.5                       Sale process and DIP discussion with management
                                                                      Stakeholders
Sunday, September 1, 2019                    B             Correspondence with Debtor and Other             1.0                                   Discussion with counsel
                                                                      Stakeholders
Sunday, September 1, 2019                    D         Correspondence with Lenders / Financing Parties      2.0                         Discussions re: DIP financing and UCC issues


Sunday, September 1, 2019                    E                      Sale Process Related                    0.5                              Buyer outreach, diligence & NDAs


Monday, September 2, 2019                    B             Correspondence with Debtor and Other             0.5                        Process update and scheduling with management
                                                                      Stakeholders
Monday, September 2, 2019                    E                      Sale Process Related                    1.0                                   Follow up on action plan


Tuesday, September 3, 2019                   E                      Sale Process Related                    1.0                             Diligence call with potential acquirer


Tuesday, September 3, 2019                   B             Correspondence with Debtor and Other             2.0                Sale process updates and calls with management and advisors
                                                                      Stakeholders
Tuesday, September 3, 2019                   E                      Sale Process Related                    0.5                 NDAs, buyer outreach assessment, internal process catchup


Tuesday, September 3, 2019                   E                      Sale Process Related                    2.0                                 Due diligence and buyer calls


Tuesday, September 3, 2019                   B             Correspondence with Debtor and Other             1.5                                   Declaration preparation
                                                                      Stakeholders
Tuesday, September 3, 2019                   D         Correspondence with Lenders / Financing Parties      2.0                         Discussions re: DIP financing and UCC issues


Wednesday, September 4, 2019                 A                  General Case Administration                 4.0                                        Court hearing


Wednesday, September 4, 2019                 B             Correspondence with Debtor and Other             1.0                            Sale process updates with management
                                                                      Stakeholders
Wednesday, September 4, 2019                 C            Analysis, Presentations, and Due Diligence        0.5                 UCC meeting preparation (including deck) and CIM updates


Wednesday, September 4, 2019                 E                      Sale Process Related                    3.0                                 Buyer outreach and diligence


Wednesday, September 4, 2019                 E                      Sale Process Related                    0.5                              Buyer tracking, NDAs, VDR access


Thursday, September 5, 2019                  F                   Correspondence with UCC                    3.0                                    UCC meeting at K&E
                                                       19-36300-cgm      Doc 554    Filed 11/25/19 Entered 11/25/19 21:01:30         Main Document
                                                                                                 Pg 32 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Saul Burian
                            Total Hours: 288.5

                                                                                                              Task Reference Table
                                             A         General Case Administration
                                             B         Correspondence with Debtor and Other Stakeholders
                                             C         Analysis, Presentations, and Due Diligence
                                             D         Correspondence with Lenders / Financing Parties
                                             E         Sale Process Related
                                             F         Correspondence with UCC

                Input                      Input                                                           Input                                           Input
                Date                       Task                          Task Code                         Hours                                 Description of Activities
Thursday, September 5, 2019                  E                      Sale Process Related                    2.5                                 Buyer outreach and diligence


Thursday, September 5, 2019                  D         Correspondence with Lenders / Financing Parties      1.0                                    DIP lender update call


Thursday, September 5, 2019                  B             Correspondence with Debtor and Other             0.5                       Scheduling and process updates with management
                                                                      Stakeholders
Friday, September 6, 2019                    E                      Sale Process Related                    2.0                                 Buyer outreach and diligence


Friday, September 6, 2019                    B             Correspondence with Debtor and Other             0.5                                      Call with landlord
                                                                      Stakeholders
Friday, September 6, 2019                    B             Correspondence with Debtor and Other             1.0                       Scheduling and process updates with management
                                                                      Stakeholders
Friday, September 6, 2019                    B             Correspondence with Debtor and Other             1.0                                    Sale process update call
                                                                      Stakeholders
Saturday, September 7, 2019                  E                      Sale Process Related                    0.5                                        Buyer outreach


Sunday, September 8, 2019                    B             Correspondence with Debtor and Other             0.5                  Communications with management re: process and outreach
                                                                      Stakeholders
Monday, September 9, 2019                    F                   Correspondence with UCC                    1.5                                           UCC call


Monday, September 9, 2019                    B             Correspondence with Debtor and Other             1.5                               Correspondence with management
                                                                      Stakeholders
Monday, September 9, 2019                    E                      Sale Process Related                    1.0                   Meetings and other communications with potential buyers


Tuesday, September 10, 2019                  B             Correspondence with Debtor and Other             1.0                                Communications with Barneys
                                                                      Stakeholders
Tuesday, September 10, 2019                  E                      Sale Process Related                    1.0                                        Buyer outreach


Wednesday, September 11, 2019                D         Correspondence with Lenders / Financing Parties      0.5                                 Discussions with DIP lenders


Wednesday, September 11, 2019                E                      Sale Process Related                    1.5                                        Buyer outreach


Wednesday, September 11, 2019                B             Correspondence with Debtor and Other             1.0                                    Calls with management
                                                                      Stakeholders
Thursday, September 12, 2019                 E                      Sale Process Related                    1.0             Diligence meeting with prospective acquirer and other buyer outreach


Thursday, September 12, 2019                 E                      Sale Process Related                    0.5      Buyer tracking, NDAs, VDR access, meeting materials preparation, and retention app
                                                                                                                                                         work
Thursday, September 12, 2019                 D         Correspondence with Lenders / Financing Parties      0.5                            Communications with existing creditors


Thursday, September 12, 2019                 B             Correspondence with Debtor and Other             2.0                             Management and landlord discussions
                                                                      Stakeholders
Friday, September 13, 2019                   E                      Sale Process Related                    1.0                         Buyer outreach including diligence responses


Friday, September 13, 2019                   B             Correspondence with Debtor and Other             1.0                    Communications with management and debtor advisors
                                                                      Stakeholders
Friday, September 13, 2019                   D         Correspondence with Lenders / Financing Parties      1.5                       Call with potential lender and DIP communications


Sunday, September 15, 2019                   D         Correspondence with Lenders / Financing Parties      1.0                                       DIP lender calls


Monday, September 16, 2019                   B             Correspondence with Debtor and Other             2.5     Communications with management and debtor advisors, incl. diligence call & landlord
                                                                      Stakeholders                                                                    meeting
                                                   19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                              Pg 33 of 90




Barneys New York
Houlihan Lokey Time Sheet

                          Hours for: Saul Burian
                        Total Hours: 288.5

                                                                                                          Task Reference Table
                                         A         General Case Administration
                                         B         Correspondence with Debtor and Other Stakeholders
                                         C         Analysis, Presentations, and Due Diligence
                                         D         Correspondence with Lenders / Financing Parties
                                         E         Sale Process Related
                                         F         Correspondence with UCC

              Input                    Input                                                           Input                                            Input
              Date                     Task                         Task Code                          Hours                                   Description of Activities
Monday, September 16, 2019               D         Correspondence with Lenders / Financing Parties      0.5                                    Meeting with DIP lenders


Tuesday, September 17, 2019              B             Correspondence with Debtor and Other             2.0                                Correspondence with management
                                                                  Stakeholders
Tuesday, September 17, 2019              D         Correspondence with Lenders / Financing Parties      0.5                                   DIP lender correspondence


Tuesday, September 17, 2019              E                      Sale Process Related                    2.0                                Discussions with potential bidders


Wednesday, September 18, 2019            E                      Sale Process Related                    0.5               Buyer tracking, NDAs, VDR access, and retention order review


Wednesday, September 18, 2019            E                      Sale Process Related                    0.5         Meeting with potential buyer and misc. outreach re: scheduling and diligence


Wednesday, September 18, 2019            C            Analysis, Presentations, and Due Diligence        1.5               Internal diligence review, including sale process summary update


Wednesday, September 18, 2019            E                      Sale Process Related                   15.0                      Travel to meeting with potential buyer and related prep


Thursday, September 19, 2019             E                      Sale Process Related                    6.0                                   Meeting with potential buyer


Thursday, September 19, 2019             E                      Sale Process Related                    3.0                                       Follow up re: buyers


Friday, September 20, 2019               E                      Sale Process Related                    0.5                           Buyer meeting, diligence, and other outreach


Friday, September 20, 2019               B             Correspondence with Debtor and Other             1.5                 Diligence call with debtor advisors, sale process discussions
                                                                  Stakeholders
Friday, September 20, 2019               E                      Sale Process Related                   15.0                         Return travel from meeting with potential buyer


Saturday, September 21, 2019             B             Correspondence with Debtor and Other             1.0                          Correspondence with management and others
                                                                  Stakeholders
Sunday, September 22, 2019               B             Correspondence with Debtor and Other             1.0                           Correspondence re: process and participants
                                                                  Stakeholders
Sunday, September 22, 2019               E                      Sale Process Related                    0.5                           Call with potential buyer's financial advisor


Monday, September 23, 2019               B             Correspondence with Debtor and Other             1.5           Management and debtor advisor communications, including diligence call
                                                                  Stakeholders
Monday, September 23, 2019               D         Correspondence with Lenders / Financing Parties      1.5                                Correspondence with DIP lenders


Monday, September 23, 2019               E                      Sale Process Related                    1.0                             Buyer outreach, including due diligence


Tuesday, September 24, 2019              B             Correspondence with Debtor and Other             2.0            Correspondence with advisor, board members, and other stakeholders
                                                                  Stakeholders
Tuesday, September 24, 2019              E                      Sale Process Related                    1.0                                      Buyer calls and emails


Wednesday, September 25, 2019            B             Correspondence with Debtor and Other             1.5          Communications with debtor management, advisors, and other stakeholders
                                                                  Stakeholders
Wednesday, September 25, 2019            E                      Sale Process Related                    1.0           Potential buyer communications, including diligence, and buyer meetings


Wednesday, September 25, 2019            F                   Correspondence with UCC                    0.5                                      UCC advisor updates


Wednesday, September 25, 2019            E                      Sale Process Related                    1.5                                 Meeting with potential purchaser


Thursday, September 26, 2019             B             Correspondence with Debtor and Other             2.0                            Updates to debtor and advisors, landlords
                                                                  Stakeholders
                                                       19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                  Pg 34 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Saul Burian
                            Total Hours: 288.5

                                                                                                              Task Reference Table
                                             A         General Case Administration
                                             B         Correspondence with Debtor and Other Stakeholders
                                             C         Analysis, Presentations, and Due Diligence
                                             D         Correspondence with Lenders / Financing Parties
                                             E         Sale Process Related
                                             F         Correspondence with UCC

                Input                      Input                                                           Input                                              Input
                Date                       Task                         Task Code                          Hours                                   Description of Activities
Thursday, September 26, 2019                 D         Correspondence with Lenders / Financing Parties      0.5         Potential lender diligence call, DIP communications excluding potential buyer


Thursday, September 26, 2019                 E                      Sale Process Related                    2.5             Meetings and calls with potential buyers, landlords, and DIP lenders


Friday, September 27, 2019                   B             Correspondence with Debtor and Other             2.5                          Correspondence with company and advisors
                                                                      Stakeholders
Friday, September 27, 2019                   D         Correspondence with Lenders / Financing Parties      2.0                              Communications with DIP lenders


Friday, September 27, 2019                   E                      Sale Process Related                    2.0                                       Landlord meeting


Friday, September 27, 2019                   F                   Correspondence with UCC                    0.5                                     UCC advisor contact


Saturday, September 28, 2019                 B             Correspondence with Debtor and Other             1.5                        Correspondence with management and advisors
                                                                      Stakeholders
Sunday, September 29, 2019                   B             Correspondence with Debtor and Other             0.5                                 Update call with management
                                                                      Stakeholders
Sunday, September 29, 2019                   E                      Sale Process Related                    0.5                Diligence and scheduling communications with potential buyer


Tuesday, October 1, 2019                     E                      Sale Process Related                    2.5     Full review of correspondence over the Holiday and status update re: each workstream


Wednesday, October 2, 2019                   B             Correspondence with Debtor and Other             3.0                         Landlord meeting and subsequent discussions
                                                                      Stakeholders
Wednesday, October 2, 2019                   D         Correspondence with Lenders / Financing Parties      3.0                           Calls with DIP lenders and other creditors


Wednesday, October 2, 2019                   E                      Sale Process Related                    2.0                           Communications with potential acquirers


Thursday, October 3, 2019                    B             Correspondence with Debtor and Other             2.0                             Advisors calls (landlord negotiations)
                                                                      Stakeholders
Thursday, October 3, 2019                    D         Correspondence with Lenders / Financing Parties      1.5                                  DIP lender communications


Thursday, October 3, 2019                    E                      Sale Process Related                    2.0              Meeting and correspondence with potential acquirers (incl. travel)


Friday, October 4, 2019                      B             Correspondence with Debtor and Other             0.5                       Meetings and calls with management and advisors
                                                                      Stakeholders
Friday, October 4, 2019                      D         Correspondence with Lenders / Financing Parties      1.0                             Discussions with potential exit lender


Friday, October 4, 2019                      E                      Sale Process Related                    1.5                                Follow up with potential buyers


Saturday, October 5, 2019                    D         Correspondence with Lenders / Financing Parties      0.5                              Communications with DIP lenders


Saturday, October 5, 2019                    E                      Sale Process Related                    0.5                      Call and other communications with potential buyers


Sunday, October 6, 2019                      C            Analysis, Presentations, and Due Diligence        1.5                                Update open items and results


Sunday, October 6, 2019                      D         Correspondence with Lenders / Financing Parties      0.5                                     Call with DIP lenders


Sunday, October 6, 2019                      E                      Sale Process Related                    1.5                      Buyer diligence communications, call, and follow-up


Monday, October 7, 2019                      B             Correspondence with Debtor and Other             1.5                       Advisors, management, and board calls and emails
                                                                      Stakeholders
Monday, October 7, 2019                      C            Analysis, Presentations, and Due Diligence        1.0                        APA review and supporting diligence & analysis
                                                      19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                 Pg 35 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Saul Burian
                           Total Hours: 288.5

                                                                                                             Task Reference Table
                                            A         General Case Administration
                                            B         Correspondence with Debtor and Other Stakeholders
                                            C         Analysis, Presentations, and Due Diligence
                                            D         Correspondence with Lenders / Financing Parties
                                            E         Sale Process Related
                                            F         Correspondence with UCC

               Input                      Input                                                           Input                                             Input
               Date                       Task                          Task Code                         Hours                                   Description of Activities
Monday, October 7, 2019                     E                      Sale Process Related                    2.0                      Calls with potential buyers and management meeting


Tuesday, October 8, 2019                    B             Correspondence with Debtor and Other             0.5                                        Management call
                                                                     Stakeholders
Tuesday, October 8, 2019                    C            Analysis, Presentations, and Due Diligence        1.0                        APA review and supporting diligence & analysis


Tuesday, October 8, 2019                    D         Correspondence with Lenders / Financing Parties      0.5                                         DIP lender call


Tuesday, October 8, 2019                    E                      Sale Process Related                    3.5                       Meetings and correspondence with potential buyers


Wednesday, October 9, 2019                  B             Correspondence with Debtor and Other             0.5                 Advisors call and emails, communications with management
                                                                     Stakeholders
Wednesday, October 9, 2019                  C            Analysis, Presentations, and Due Diligence        0.5                        APA review and supporting diligence & analysis


Wednesday, October 9, 2019                  E                      Sale Process Related                    0.5                                        Update re: buyers


Thursday, October 10, 2019                  B             Correspondence with Debtor and Other             2.0                        Communications with management and advisors
                                                                     Stakeholders
Thursday, October 10, 2019                  C            Analysis, Presentations, and Due Diligence        1.0                        APA review and supporting diligence & analysis


Thursday, October 10, 2019                  E                      Sale Process Related                    1.0                                   Calls with potential buyers


Friday, October 11, 2019                    B             Correspondence with Debtor and Other             1.0                                          Advisors call
                                                                     Stakeholders
Friday, October 11, 2019                    C            Analysis, Presentations, and Due Diligence        1.5                        APA review and supporting diligence & analysis


Friday, October 11, 2019                    E                      Sale Process Related                    3.0            Call with potential buyer, meeting at HL, and diligence communications


Saturday, October 12, 2019                  C            Analysis, Presentations, and Due Diligence        1.0                                 Follow up re: APA open issues


Sunday, October 13, 2019                    E                      Sale Process Related                    2.0                  Calls with potential buyers re: open issues and sale timing


Tuesday, October 15, 2019                   E                      Sale Process Related                    2.5                        Calls re: APA and catch-up following the Holiday


Wednesday, October 16, 2019                 B             Correspondence with Debtor and Other             1.0                       Communications re: APA and other process updates
                                                                     Stakeholders
Wednesday, October 16, 2019                 B             Correspondence with Debtor and Other             1.0                                         Landlord calls
                                                                     Stakeholders
Wednesday, October 16, 2019                 C            Analysis, Presentations, and Due Diligence        0.5                                          Bid analysis


Wednesday, October 16, 2019                 E                      Sale Process Related                    0.5                             APA and other buyer communications


Thursday, October 17, 2019                  E                      Sale Process Related                    2.0                       Conversations with potential buyers re: sale process


Friday, October 18, 2019                    E                      Sale Process Related                    1.0        Calls with potential buyers and other stakeholders, related email communication


Saturday, October 19, 2019                  A                  General Case Administration                 1.5                                  Process tracking and updates


Sunday, October 20, 2019                    B             Correspondence with Debtor and Other             2.0                  Sale process / participant discussions with debtor advisors
                                                                     Stakeholders
Tuesday, October 22, 2019                   E                      Sale Process Related                    1.5                         Updates and correspondence following Holiday
                                                      19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                 Pg 36 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Saul Burian
                           Total Hours: 288.5

                                                                                                             Task Reference Table
                                            A         General Case Administration
                                            B         Correspondence with Debtor and Other Stakeholders
                                            C         Analysis, Presentations, and Due Diligence
                                            D         Correspondence with Lenders / Financing Parties
                                            E         Sale Process Related
                                            F         Correspondence with UCC

               Input                      Input                                                           Input                                         Input
               Date                       Task                          Task Code                         Hours                               Description of Activities
Wednesday, October 23, 2019                 E                      Sale Process Related                    1.0                 Correspondence with potential buyers re: bids and deadlines


Thursday, October 24, 2019                  B             Correspondence with Debtor and Other             1.5                                        BOD meeting
                                                                     Stakeholders
Thursday, October 24, 2019                  E                      Sale Process Related                    1.0                                    Follow-up with bidders


Friday, October 25, 2019                    B             Correspondence with Debtor and Other             0.5                         Calls and other correspondence with advisors
                                                                     Stakeholders
Sunday, October 27, 2019                    C            Analysis, Presentations, and Due Diligence        0.5                              Internal diligence communications


Sunday, October 27, 2019                    E                      Sale Process Related                    1.0                              Buyer updates, including diligence


Monday, October 28, 2019                    B             Correspondence with Debtor and Other             0.5                              Communications with management
                                                                     Stakeholders
Wednesday, October 30, 2019                 B             Correspondence with Debtor and Other             1.0                           Calls with counsel and other stakeholders
                                                                     Stakeholders
Wednesday, October 30, 2019                 C            Analysis, Presentations, and Due Diligence        1.0                                 Transaction related analyses


Wednesday, October 30, 2019                 D         Correspondence with Lenders / Financing Parties      1.0                  Calls with DIP lenders and related email communications


Wednesday, October 30, 2019                 E                      Sale Process Related                    0.5                            Calls and emails with potential buyers


Thursday, October 31, 2019                  A                  General Case Administration                 7.0                          Travel to, and attendance at, Sale Hearing


Thursday, October 31, 2019                  B             Correspondence with Debtor and Other             0.5                                          BOD call
                                                                     Stakeholders
Thursday, October 31, 2019                  B             Correspondence with Debtor and Other             1.5                               Calls / emails with management
                                                                     Stakeholders
Thursday, October 31, 2019                  D         Correspondence with Lenders / Financing Parties      1.0                                 DIP lender communications


Thursday, October 31, 2019                  E                      Sale Process Related                    3.0                            Communications with potential buyer
                                                    19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30      Main Document
                                                                                                 Pg 37 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Steve Tishman
                            Total Hours: 31.0

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

              Input                        Input                                                        Input                                             Input
              Date                         Task                         Task Code                       Hours                                   Description of Activities
Wednesday, August 7, 2019                    C           Analysis, Presentations, and Due Diligence      1.0                                Internal sale process discussions


Thursday, August 8, 2019                     E                     Sale Process Related                  2.0                                        Buyer outreach


Monday, August 12, 2019                      E                     Sale Process Related                  1.0                             Meeting and call with potential buyers


Tuesday, August 13, 2019                     E                     Sale Process Related                  0.5                             Calls and emails with potential buyers


Wednesday, August 14, 2019                   E                     Sale Process Related                  1.5                                Potential buyer calls and emails


Sunday, August 18, 2019                      A                 General Case Administration               1.0                              Timeline and sale strategy discussion


Tuesday, August 20, 2019                     B            Correspondence with Debtor and Other           1.5                         Discuss buyers and process with management
                                                                     Stakeholders
Tuesday, August 20, 2019                     E                     Sale Process Related                  1.0                              Potential buyer outreach & diligence


Wednesday, August 21, 2019                   E                     Sale Process Related                  1.0                          Internal sale process analysis and discussion


Wednesday, August 21, 2019                   E                     Sale Process Related                  0.5                              Discussions with prospective buyers


Friday, August 23, 2019                      E                     Sale Process Related                  0.5                              Potential buyer outreach & diligence


Tuesday, August 27, 2019                     E                     Sale Process Related                  2.0                             Correspondence with potential buyers


Wednesday, August 28, 2019                   E                     Sale Process Related                  0.5                      Calls and other communications with potential buyers


Tuesday, September 3, 2019                   B            Correspondence with Debtor and Other           0.5                Sale process updates and calls with management and advisors
                                                                     Stakeholders
Tuesday, September 3, 2019                   E                     Sale Process Related                  1.0                   NDAs, buyer outreach assessment, internal process catchup


Tuesday, September 3, 2019                   E                     Sale Process Related                  2.0                                 Due diligence and buyer calls


Wednesday, September 4, 2019                 E                     Sale Process Related                  1.5                                 Buyer outreach and diligence


Friday, September 6, 2019                    E                     Sale Process Related                  0.5                                 Buyer outreach and diligence


Friday, September 6, 2019                    B            Correspondence with Debtor and Other           1.0                                    Sale process update call
                                                                     Stakeholders
Monday, September 9, 2019                    B            Correspondence with Debtor and Other           1.0                               Correspondence with management
                                                                     Stakeholders
Monday, September 9, 2019                    E                     Sale Process Related                  2.0                   Meetings and other communications with potential buyers


Tuesday, September 10, 2019                  E                     Sale Process Related                  1.5                                        Buyer outreach


Wednesday, September 11, 2019                E                     Sale Process Related                  1.5                                        Buyer outreach


Wednesday, September 11, 2019                E                     Sale Process Related                  0.5              Buyer tracking, NDAs, VDR access, meeting materials preparation


Wednesday, September 18, 2019                C           Analysis, Presentations, and Due Diligence      0.5              Internal diligence review, including sale process summary update


Tuesday, September 24, 2019                  E                     Sale Process Related                  1.0                                     Buyer calls and emails
                                                  19-36300-cgm      Doc 554    Filed 11/25/19 Entered 11/25/19 21:01:30         Main Document
                                                                                            Pg 38 of 90




Barneys New York
Houlihan Lokey Time Sheet

                            Hours for: Steve Tishman
                          Total Hours: 31.0

                                                                                                         Task Reference Table
                                           A      General Case Administration
                                           B      Correspondence with Debtor and Other Stakeholders
                                           C      Analysis, Presentations, and Due Diligence
                                           D      Correspondence with Lenders / Financing Parties
                                           E      Sale Process Related
                                           F      Correspondence with UCC

                Input                    Input                                                        Input                                           Input
                Date                     Task                       Task Code                         Hours                                Description of Activities
Thursday, September 26, 2019               E                   Sale Process Related                    1.0             Meetings and calls with potential buyers, landlords, and DIP lenders


Friday, September 27, 2019                 E                   Sale Process Related                    0.5                          Potential buyer calls and diligence meeting


Thursday, October 3, 2019                  E                   Sale Process Related                    0.5              Meeting and correspondence with potential acquirers (incl. travel)


Sunday, October 6, 2019                    D      Correspondence with Lenders / Financing Parties      0.5                                    Call with DIP lenders
                                                  19-36300-cgm     Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30         Main Document
                                                                                            Pg 39 of 90




Barneys New York
Houlihan Lokey Time Sheet

                            Hours for: Surbhi Gupta
                          Total Hours: 2.5

                                                                                                         Task Reference Table
                                           A      General Case Administration
                                           B      Correspondence with Debtor and Other Stakeholders
                                           C      Analysis, Presentations, and Due Diligence
                                           D      Correspondence with Lenders / Financing Parties
                                           E      Sale Process Related
                                           F      Correspondence with UCC

                Input                    Input                                                        Input                                         Input
                Date                     Task                      Task Code                          Hours                                Description of Activities
Tuesday, August 6, 2019                    A               General Case Administration                 2.0                First Day Hearings, VDR and other case administrative items


Friday, August 9, 2019                     E                   Sale Process Related                    0.5                                      Buyer outreach
                                                     19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                                                                  Pg 40 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Jason Feintuch
                            Total Hours: 380.0

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

                Input                      Input                                                        Input                                         Input
                Date                       Task                         Task Code                       Hours                                Description of Activities
Tuesday, August 6, 2019                      A                  General Case Administration              6.0                First Day Hearings, VDR and other case administrative items


Tuesday, August 6, 2019                      B             Correspondence with Debtor and Other          2.0                               Management and advisors calls
                                                                      Stakeholders
Tuesday, August 6, 2019                      D       Correspondence with Lenders / Financing Parties     4.5                                  DIP financing negotiations


Tuesday, August 6, 2019                      E                      Sale Process Related                 0.5                                    Buyer calls and emails


Wednesday, August 7, 2019                    D       Correspondence with Lenders / Financing Parties     1.0                                   DIP funding work / calls


Wednesday, August 7, 2019                    B             Correspondence with Debtor and Other          2.0                           Meeting with management (sale process)
                                                                      Stakeholders
Wednesday, August 7, 2019                    C            Analysis, Presentations, and Due Diligence     1.0                               Internal sale process discussions


Thursday, August 8, 2019                     D       Correspondence with Lenders / Financing Parties     1.0                                      DIP CA negotiation


Friday, August 9, 2019                       E                      Sale Process Related                 1.5                                        Buyer outreach


Monday, August 12, 2019                      E                      Sale Process Related                 1.0                        Scheduling with & researching potential buyers


Monday, August 12, 2019                      B             Correspondence with Debtor and Other          1.0                                   Coordinating with board
                                                                      Stakeholders
Monday, August 12, 2019                      E                      Sale Process Related                 1.5                            Meeting and call with potential buyers


Tuesday, August 13, 2019                     D       Correspondence with Lenders / Financing Parties     0.5                                           DIP call


Tuesday, August 13, 2019                     B             Correspondence with Debtor and Other          1.5                                      Coordination calls
                                                                      Stakeholders
Tuesday, August 13, 2019                     E                      Sale Process Related                 1.5                            Calls and emails with potential buyers


Wednesday, August 14, 2019                   C            Analysis, Presentations, and Due Diligence     1.0                              DIP Budget review and discussion


Wednesday, August 14, 2019                   B             Correspondence with Debtor and Other          0.5                                  Advisors deliverables call
                                                                      Stakeholders
Wednesday, August 14, 2019                   E                      Sale Process Related                 0.5                               Potential buyer calls and emails


Thursday, August 15, 2019                    B             Correspondence with Debtor and Other          2.0                             Communications with management
                                                                      Stakeholders
Thursday, August 15, 2019                    E                      Sale Process Related                 0.5              Intro call with potential acquirer and other buyer communications


Thursday, August 15, 2019                    F                   Correspondence with UCC                 0.5                                   Coordinate kickoff call


Friday, August 16, 2019                      F                   Correspondence with UCC                 1.5                               UCC kickoff call and data room


Friday, August 16, 2019                      D       Correspondence with Lenders / Financing Parties     0.5               Preparation for and participation in discussion with DIP lenders


Friday, August 16, 2019                      C            Analysis, Presentations, and Due Diligence     1.0                              Financial supplement preparation


Saturday, August 17, 2019                    B             Correspondence with Debtor and Other          0.5              Incentive comp discussion and implementation timeline discussion
                                                                      Stakeholders
Saturday, August 17, 2019                    B             Correspondence with Debtor and Other          0.5                                Discussion with management
                                                                      Stakeholders
                                                     19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                                                                  Pg 41 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Jason Feintuch
                            Total Hours: 380.0

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

                Input                      Input                                                        Input                                            Input
                Date                       Task                          Task Code                      Hours                                   Description of Activities
Sunday, August 18, 2019                      C            Analysis, Presentations, and Due Diligence     0.5                                Financial supplement preparation


Sunday, August 18, 2019                      A                  General Case Administration              1.0                              Timeline and sale strategy discussion


Monday, August 19, 2019                      C            Analysis, Presentations, and Due Diligence     1.0                                Financial supplement preparation


Monday, August 19, 2019                      B             Correspondence with Debtor and Other          1.5             Buyer tracker and strategy discussion, scheduling, incentive comp. call
                                                                      Stakeholders
Monday, August 19, 2019                      A                  General Case Administration              1.0                                  Prepare retention application


Monday, August 19, 2019                      E                      Sale Process Related                 1.0                             Potential buyer calls and other outreach


Tuesday, August 20, 2019                     C            Analysis, Presentations, and Due Diligence     0.5                       Miscellaneous analysis and presentation preparation


Tuesday, August 20, 2019                     B             Correspondence with Debtor and Other          2.5                          Discuss buyers and process with management
                                                                      Stakeholders
Tuesday, August 20, 2019                     E                      Sale Process Related                 1.0                              Potential buyer outreach & diligence


Tuesday, August 20, 2019                     C            Analysis, Presentations, and Due Diligence     0.5                         Buyer tracker/M&A process materials updates


Wednesday, August 21, 2019                   A                  General Case Administration              1.0                                 Utilities/bid procedures hearing


Wednesday, August 21, 2019                   E                      Sale Process Related                 2.0                      Diligence calls and other outreach to potential buyers


Wednesday, August 21, 2019                   E                      Sale Process Related                 0.5                          Internal sale process analysis and discussion


Wednesday, August 21, 2019                   E                      Sale Process Related                 1.5                              Discussions with prospective buyers


Wednesday, August 21, 2019                   F                   Correspondence with UCC                 1.0                                    DIP and CIM discussion


Thursday, August 22, 2019                    B             Correspondence with Debtor and Other          2.0                                 Discussions with management
                                                                      Stakeholders
Thursday, August 22, 2019                    C            Analysis, Presentations, and Due Diligence     1.5                      Minimum sale price analysis and DIP budget analysis


Thursday, August 22, 2019                    D       Correspondence with Lenders / Financing Parties     1.0                                         DIP lender call


Thursday, August 22, 2019                    E                      Sale Process Related                 2.5          Scheduling & diligence correspondence with potential buyers; other outreach


Friday, August 23, 2019                      E                      Sale Process Related                 2.0                              Potential buyer outreach & diligence


Friday, August 23, 2019                      B             Correspondence with Debtor and Other          0.5                                  Engagement letter discussion
                                                                      Stakeholders
Friday, August 23, 2019                      D       Correspondence with Lenders / Financing Parties     0.5                                         DIP lender call


Saturday, August 24, 2019                    C            Analysis, Presentations, and Due Diligence     2.0                                      KEIP & DIP studies


Sunday, August 25, 2019                      C            Analysis, Presentations, and Due Diligence     2.0                            DIP study, KEIP comps, deposition prep


Sunday, August 25, 2019                      D       Correspondence with Lenders / Financing Parties     0.5                                  Scheduling with DIP lenders


Monday, August 26, 2019                      C            Analysis, Presentations, and Due Diligence     2.0              Preparation for deposition, KEIP comps, DIP study, CIM comments
                                                     19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                                                                  Pg 42 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Jason Feintuch
                            Total Hours: 380.0

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

               Input                       Input                                                        Input                                            Input
               Date                        Task                          Task Code                      Hours                                  Description of Activities
Monday, August 26, 2019                      E                      Sale Process Related                 1.5                                Discussions with potential buyers


Tuesday, August 27, 2019                     B             Correspondence with Debtor and Other          2.0                                     Deposition preparation
                                                                      Stakeholders
Tuesday, August 27, 2019                     E                      Sale Process Related                 1.0                                     NDAs and VDR access


Tuesday, August 27, 2019                     B             Correspondence with Debtor and Other          1.0                             Sale process updates with management
                                                                      Stakeholders
Wednesday, August 28, 2019                   E                      Sale Process Related                 0.5                      Calls and other communications with potential buyers


Wednesday, August 28, 2019                   C            Analysis, Presentations, and Due Diligence     1.5                                 Due diligence and DIP comps


Wednesday, August 28, 2019                   B             Correspondence with Debtor and Other          2.5                         Correspondence with management and advisors
                                                                      Stakeholders
Thursday, August 29, 2019                    C            Analysis, Presentations, and Due Diligence     1.0                                    Presentation preparation


Thursday, August 29, 2019                    D       Correspondence with Lenders / Financing Parties     1.0                                   DIP lender communications


Thursday, August 29, 2019                    C            Analysis, Presentations, and Due Diligence     2.5                                    Management discussions


Thursday, August 29, 2019                    C            Analysis, Presentations, and Due Diligence     0.5                                          KEIP comps


Friday, August 30, 2019                      B             Correspondence with Debtor and Other          1.0                                 Discussions re: DIP settlement
                                                                      Stakeholders
Friday, August 30, 2019                      C            Analysis, Presentations, and Due Diligence     0.5                          DIP comps discussion and subsequent analysis


Saturday, August 31, 2019                    C            Analysis, Presentations, and Due Diligence     1.0                                       DIP comps analysis


Saturday, August 31, 2019                    C            Analysis, Presentations, and Due Diligence     1.0                                        Proposal analysis


Saturday, August 31, 2019                    B             Correspondence with Debtor and Other          0.5                                  Correspondence with counsel
                                                                      Stakeholders
Sunday, September 1, 2019                    B             Correspondence with Debtor and Other          1.0                                     Discussion with counsel
                                                                      Stakeholders
Sunday, September 1, 2019                    D       Correspondence with Lenders / Financing Parties     2.0                          Discussions re: DIP financing and UCC issues


Sunday, September 1, 2019                    E                      Sale Process Related                 0.5                               Buyer outreach, diligence & NDAs


Monday, September 2, 2019                    B             Correspondence with Debtor and Other          0.5                         Process update and scheduling with management
                                                                      Stakeholders
Monday, September 2, 2019                    B             Correspondence with Debtor and Other          0.5                                   DIP discussions with K&E
                                                                      Stakeholders
Monday, September 2, 2019                    E                      Sale Process Related                 1.0                                    Follow up on action plan


Tuesday, September 3, 2019                   E                      Sale Process Related                 1.0                              Diligence call with potential acquirer


Tuesday, September 3, 2019                   B             Correspondence with Debtor and Other          2.0                Sale process updates and calls with management and advisors
                                                                      Stakeholders
Tuesday, September 3, 2019                   E                      Sale Process Related                 2.0                    NDAs, buyer outreach assessment, internal process catchup


Tuesday, September 3, 2019                   E                      Sale Process Related                 2.5                                  Due diligence and buyer calls
                                                     19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                                                                  Pg 43 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Jason Feintuch
                            Total Hours: 380.0

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

               Input                       Input                                                        Input                                             Input
               Date                        Task                        Task Code                        Hours                                   Description of Activities
Tuesday, September 3, 2019                   B             Correspondence with Debtor and Other          1.0                                     Declaration preparation
                                                                      Stakeholders
Wednesday, September 4, 2019                 B             Correspondence with Debtor and Other          1.5                              Sale process updates with management
                                                                      Stakeholders
Wednesday, September 4, 2019                 C            Analysis, Presentations, and Due Diligence     1.0                    UCC meeting preparation (including deck) and CIM updates


Wednesday, September 4, 2019                 E                      Sale Process Related                 2.5                                  Buyer outreach and diligence


Wednesday, September 4, 2019                 E                      Sale Process Related                 0.5                               Buyer tracking, NDAs, VDR access


Thursday, September 5, 2019                  F                   Correspondence with UCC                 3.0                                      UCC meeting at K&E


Thursday, September 5, 2019                  E                      Sale Process Related                 2.0                                  Buyer outreach and diligence


Thursday, September 5, 2019                  D       Correspondence with Lenders / Financing Parties     1.0                                      DIP lender update call


Thursday, September 5, 2019                  B             Correspondence with Debtor and Other          1.0                        Scheduling and process updates with management
                                                                      Stakeholders
Friday, September 6, 2019                    E                      Sale Process Related                 0.5                                  Buyer outreach and diligence


Friday, September 6, 2019                    B             Correspondence with Debtor and Other          0.5                                        Call with landlord
                                                                      Stakeholders
Friday, September 6, 2019                    B             Correspondence with Debtor and Other          0.5                        Scheduling and process updates with management
                                                                      Stakeholders
Saturday, September 7, 2019                  C            Analysis, Presentations, and Due Diligence     0.5                               Transaction supplement preparation


Monday, September 9, 2019                    F                   Correspondence with UCC                 1.5                                             UCC call


Monday, September 9, 2019                    B             Correspondence with Debtor and Other          1.5                                Correspondence with management
                                                                      Stakeholders
Monday, September 9, 2019                    E                      Sale Process Related                 2.0                     Meetings and other communications with potential buyers


Tuesday, September 10, 2019                  E                      Sale Process Related                 1.5              Buyer tracking, NDAs, VDR access, meeting materials preparation


Tuesday, September 10, 2019                  B             Correspondence with Debtor and Other          1.0                                 Communications with Barneys
                                                                      Stakeholders
Tuesday, September 10, 2019                  D       Correspondence with Lenders / Financing Parties     1.0                    Call with potential exit lender and related communications


Tuesday, September 10, 2019                  E                      Sale Process Related                 1.0                                          Buyer outreach


Tuesday, September 10, 2019                  F                   Correspondence with UCC                 0.5                     UCC call, sale process update, and other correspondence


Wednesday, September 11, 2019                E                      Sale Process Related                 2.0                                          Buyer outreach


Wednesday, September 11, 2019                E                      Sale Process Related                 5.0                           Diligence meeting with prospective acquirer


Wednesday, September 11, 2019                C            Analysis, Presentations, and Due Diligence     1.0                              Sensitivity analysis for potential buyer


Wednesday, September 11, 2019                B             Correspondence with Debtor and Other          1.0                                     Calls with management
                                                                      Stakeholders
Thursday, September 12, 2019                 E                      Sale Process Related                 8.5             Diligence meeting with prospective acquirer and other buyer outreach
                                                 19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                                                              Pg 44 of 90




Barneys New York
Houlihan Lokey Time Sheet

                          Hours for: Jason Feintuch
                        Total Hours: 380.0

                                                                                                       Task Reference Table
                                         A      General Case Administration
                                         B      Correspondence with Debtor and Other Stakeholders
                                         C      Analysis, Presentations, and Due Diligence
                                         D      Correspondence with Lenders / Financing Parties
                                         E      Sale Process Related
                                         F      Correspondence with UCC

                Input                  Input                                                        Input                                            Input
                Date                   Task                          Task Code                      Hours                                  Description of Activities
Thursday, September 12, 2019             C            Analysis, Presentations, and Due Diligence     0.5           Financial model updates for potential buyer and other analysis / preparation


Thursday, September 12, 2019             D       Correspondence with Lenders / Financing Parties     1.0                            Communications with existing creditors


Thursday, September 12, 2019             B             Correspondence with Debtor and Other          1.0                             Management and landlord discussions
                                                                  Stakeholders
Friday, September 13, 2019               E                      Sale Process Related                 1.5                          Buyer outreach including diligence responses


Friday, September 13, 2019               F                   Correspondence with UCC                 1.0                                   Communications with UCC


Friday, September 13, 2019               E                      Sale Process Related                 0.5                     Buyer tracking, NDAs, VDR access, and process letters


Friday, September 13, 2019               B             Correspondence with Debtor and Other          1.0                     Communications with management and debtor advisors
                                                                  Stakeholders
Friday, September 13, 2019               D       Correspondence with Lenders / Financing Parties     0.5                       Call with potential lender and DIP communications


Saturday, September 14, 2019             C            Analysis, Presentations, and Due Diligence     1.0                                Meeting presentation preparation


Sunday, September 15, 2019               D       Correspondence with Lenders / Financing Parties     1.5                                        DIP lender calls


Sunday, September 15, 2019               C            Analysis, Presentations, and Due Diligence     2.0                                Meeting presentation preparation


Sunday, September 15, 2019               E                      Sale Process Related                 1.0                                      Buyer diligence call


Monday, September 16, 2019               B             Correspondence with Debtor and Other          2.0      Communications with management and debtor advisors, incl. diligence call & landlord
                                                                  Stakeholders                                                                  meeting
Monday, September 16, 2019               C            Analysis, Presentations, and Due Diligence     0.5                                    Rent and related analyses


Monday, September 16, 2019               D       Correspondence with Lenders / Financing Parties     0.5                                    Meeting with DIP lenders


Monday, September 16, 2019               E                      Sale Process Related                 1.5                                    Call with potential buyer


Tuesday, September 17, 2019              B             Correspondence with Debtor and Other          1.5                               Correspondence with management
                                                                  Stakeholders
Tuesday, September 17, 2019              D       Correspondence with Lenders / Financing Parties     0.5                                   DIP lender correspondence


Tuesday, September 17, 2019              E                      Sale Process Related                 2.5                    Meeting with potential buyer and other communications


Tuesday, September 17, 2019              E                      Sale Process Related                 2.0                               Discussions with potential bidders


Wednesday, September 18, 2019            E                      Sale Process Related                 0.5                 Buyer tracking, NDAs, VDR access, and retention order review


Wednesday, September 18, 2019            E                      Sale Process Related                 1.0          Meeting with potential buyer and misc. outreach re: scheduling and diligence


Wednesday, September 18, 2019            A                  General Case Administration              5.0                               Travel to and attendance at hearing


Thursday, September 19, 2019             E                      Sale Process Related                 1.0                                   Calls with potential buyers


Thursday, September 19, 2019             F                   Correspondence with UCC                 0.5                                       Weekly UCC Call


Thursday, September 19, 2019             D       Correspondence with Lenders / Financing Parties     0.5                                    Weekly DIP Lender Call
                                                 19-36300-cgm      Doc 554    Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                           Pg 45 of 90




Barneys New York
Houlihan Lokey Time Sheet

                          Hours for: Jason Feintuch
                        Total Hours: 380.0

                                                                                                       Task Reference Table
                                         A      General Case Administration
                                         B      Correspondence with Debtor and Other Stakeholders
                                         C      Analysis, Presentations, and Due Diligence
                                         D      Correspondence with Lenders / Financing Parties
                                         E      Sale Process Related
                                         F      Correspondence with UCC

                Input                  Input                                                        Input                                          Input
                Date                   Task                        Task Code                        Hours                                 Description of Activities
Thursday, September 19, 2019             E                    Sale Process Related                   1.5                                    Follow up re: buyers


Friday, September 20, 2019               E                    Sale Process Related                   2.5                         Buyer meeting, diligence, and other outreach


Friday, September 20, 2019               B            Correspondence with Debtor and Other           1.0                 Diligence call with debtor advisors, sale process discussions
                                                                 Stakeholders
Saturday, September 21, 2019             E                    Sale Process Related                   0.5                           Buyer tracking, NDAs, and VDR access


Saturday, September 21, 2019             E                    Sale Process Related                   0.5                                          Buyer call


Monday, September 23, 2019               B            Correspondence with Debtor and Other           1.0           Management and debtor advisor communications, including diligence call
                                                                 Stakeholders
Monday, September 23, 2019               D       Correspondence with Lenders / Financing Parties     1.0                              Correspondence with DIP lenders


Monday, September 23, 2019               E                    Sale Process Related                   2.0                           Buyer outreach, including due diligence


Tuesday, September 24, 2019              B            Correspondence with Debtor and Other           3.0             Correspondence with advisor, board members, and other stakeholders
                                                                 Stakeholders
Tuesday, September 24, 2019              B            Correspondence with Debtor and Other           1.0                              Correpondence with management
                                                                 Stakeholders
Tuesday, September 24, 2019              D       Correspondence with Lenders / Financing Parties     1.0                                   Call with potential lender


Tuesday, September 24, 2019              E                    Sale Process Related                   1.5                                    Buyer calls and emails


Wednesday, September 25, 2019            B            Correspondence with Debtor and Other           1.0          Communications with debtor management, advisors, and other stakeholders
                                                                 Stakeholders
Wednesday, September 25, 2019            D       Correspondence with Lenders / Financing Parties     1.0                                      DIP lender updates


Wednesday, September 25, 2019            E                    Sale Process Related                   4.0           Potential buyer communications, including diligence, and buyer meetings


Wednesday, September 25, 2019            E                    Sale Process Related                   2.0                                         Review LOIs


Thursday, September 26, 2019             B            Correspondence with Debtor and Other           2.0                           Updates to debtor and advisors, landlords
                                                                 Stakeholders
Thursday, September 26, 2019             D       Correspondence with Lenders / Financing Parties     0.5         Potential lender diligence call, DIP communications excluding potential buyer


Thursday, September 26, 2019             E                    Sale Process Related                   3.5             Meetings and calls with potential buyers, landlords, and DIP lenders


Friday, September 27, 2019               B            Correspondence with Debtor and Other           1.5                          Correspondence with company and advisors
                                                                 Stakeholders
Friday, September 27, 2019               D       Correspondence with Lenders / Financing Parties     1.0                              Communications with DIP lenders


Friday, September 27, 2019               E                    Sale Process Related                   2.0                                      Landlord meeting


Saturday, September 28, 2019             B            Correspondence with Debtor and Other           1.5                        Correspondence with management and advisors
                                                                 Stakeholders
Saturday, September 28, 2019             E                    Sale Process Related                   1.0                                 Financial analysis and review


Saturday, September 28, 2019             E                    Sale Process Related                   0.5                                        Process update


Sunday, September 29, 2019               B            Correspondence with Debtor and Other           0.5                                Update call with management
                                                                 Stakeholders
                                                     19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                                                                  Pg 46 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Jason Feintuch
                            Total Hours: 380.0

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

               Input                       Input                                                        Input                                             Input
               Date                        Task                       Task Code                         Hours                                   Description of Activities
Sunday, September 29, 2019                   D       Correspondence with Lenders / Financing Parties     1.0                                 DIP analysis and correspondence


Sunday, September 29, 2019                   E                      Sale Process Related                 0.5                 Diligence and scheduling communications with potential buyer


Tuesday, October 1, 2019                     B             Correspondence with Debtor and Other          2.0                    Communications with debtor, debtor advisors, and landlords
                                                                      Stakeholders
Tuesday, October 1, 2019                     D       Correspondence with Lenders / Financing Parties     1.0                        Process update call and emails re: rent negotiations


Tuesday, October 1, 2019                     E                      Sale Process Related                 2.5      Full review of correspondence over the Holiday and status update re: each workstream


Wednesday, October 2, 2019                   B             Correspondence with Debtor and Other          2.0                           Landlord meeting and subsequent discussions
                                                                      Stakeholders
Wednesday, October 2, 2019                   C            Analysis, Presentations, and Due Diligence     1.0      Preparation for court, materials prep for buyer trip, rent negotiation comparisons, etc.


Wednesday, October 2, 2019                   D       Correspondence with Lenders / Financing Parties     1.0                            Calls with DIP lenders and other creditors


Wednesday, October 2, 2019                   E                      Sale Process Related                 2.0                             Communications with potential acquirers


Thursday, October 3, 2019                    B             Correspondence with Debtor and Other          2.0                              Advisors calls (landlord negotiations)
                                                                      Stakeholders
Thursday, October 3, 2019                    D       Correspondence with Lenders / Financing Parties     0.5                                   DIP lender communications


Thursday, October 3, 2019                    E                      Sale Process Related                10.0                Meeting and correspondence with potential acquirers (incl. travel)


Friday, October 4, 2019                      B             Correspondence with Debtor and Other          2.0                        Meetings and calls with management and advisors
                                                                      Stakeholders
Friday, October 4, 2019                      C            Analysis, Presentations, and Due Diligence     1.5                    Sale process update and misc. analyses for buyer diligence


Friday, October 4, 2019                      D       Correspondence with Lenders / Financing Parties     1.0                              Discussions with potential exit lender


Saturday, October 5, 2019                    B             Correspondence with Debtor and Other          0.5                              Discussions with counsel and advisors
                                                                      Stakeholders
Saturday, October 5, 2019                    D       Correspondence with Lenders / Financing Parties     0.5                                Communications with DIP lenders


Saturday, October 5, 2019                    E                      Sale Process Related                 2.0                       Call and other communications with potential buyers


Sunday, October 6, 2019                      C            Analysis, Presentations, and Due Diligence     1.5                                  Update open items and results


Sunday, October 6, 2019                      D       Correspondence with Lenders / Financing Parties     0.5                                       Call with DIP lenders


Sunday, October 6, 2019                      E                      Sale Process Related                 1.5                       Buyer diligence communications, call, and follow-up


Monday, October 7, 2019                      B             Correspondence with Debtor and Other          2.5                        Advisors, management, and board calls and emails
                                                                      Stakeholders
Monday, October 7, 2019                      C            Analysis, Presentations, and Due Diligence     2.0                         APA review and supporting diligence & analysis


Monday, October 7, 2019                      D       Correspondence with Lenders / Financing Parties     0.5                    Communications with DIP lenders and potential exit lenders


Monday, October 7, 2019                      E                      Sale Process Related                 2.5                       Calls with potential buyers and management meeting


Tuesday, October 8, 2019                     B             Correspondence with Debtor and Other          0.5                                         Management call
                                                                      Stakeholders
                                                    19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                                                                 Pg 47 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Jason Feintuch
                           Total Hours: 380.0

                                                                                                          Task Reference Table
                                            A      General Case Administration
                                            B      Correspondence with Debtor and Other Stakeholders
                                            C      Analysis, Presentations, and Due Diligence
                                            D      Correspondence with Lenders / Financing Parties
                                            E      Sale Process Related
                                            F      Correspondence with UCC

                Input                     Input                                                        Input                                           Input
                Date                      Task                          Task Code                      Hours                                  Description of Activities
Tuesday, October 8, 2019                    C            Analysis, Presentations, and Due Diligence     2.0                         APA review and supporting diligence & analysis


Tuesday, October 8, 2019                    D       Correspondence with Lenders / Financing Parties     0.5                                          DIP lender call


Tuesday, October 8, 2019                    E                      Sale Process Related                 1.5                        Meetings and correspondence with potential buyers


Tuesday, October 8, 2019                    F                   Correspondence with UCC                 0.5                                    Communications with UCC


Wednesday, October 9, 2019                  B             Correspondence with Debtor and Other          1.0                    Advisors call and emails, communications with management
                                                                     Stakeholders
Wednesday, October 9, 2019                  C            Analysis, Presentations, and Due Diligence     0.5                         APA review and supporting diligence & analysis


Wednesday, October 9, 2019                  E                      Sale Process Related                 0.5                                         Update re: buyers


Thursday, October 10, 2019                  B             Correspondence with Debtor and Other          1.5                         Communications with management and advisors
                                                                     Stakeholders
Thursday, October 10, 2019                  C            Analysis, Presentations, and Due Diligence     3.0                         APA review and supporting diligence & analysis


Thursday, October 10, 2019                  D       Correspondence with Lenders / Financing Parties     0.5                                          DIP lender call


Thursday, October 10, 2019                  E                      Sale Process Related                 2.5                                    Calls with potential buyers


Friday, October 11, 2019                    A                  General Case Administration              6.0              Court hearing, VDR management, process and participant tracking


Friday, October 11, 2019                    B             Correspondence with Debtor and Other          1.0                                           Advisors call
                                                                     Stakeholders
Friday, October 11, 2019                    C            Analysis, Presentations, and Due Diligence     3.0                         APA review and supporting diligence & analysis


Saturday, October 12, 2019                  B             Correspondence with Debtor and Other          0.5                                Call with Management and Counsel
                                                                     Stakeholders
Saturday, October 12, 2019                  C            Analysis, Presentations, and Due Diligence     2.0                                  Follow up re: APA open issues


Saturday, October 12, 2019                  D       Correspondence with Lenders / Financing Parties     2.0                                      Calls with DIP lenders


Sunday, October 13, 2019                    E                      Sale Process Related                 2.0                     Calls with potential buyers re: open issues and sale timing


Sunday, October 13, 2019                    B             Correspondence with Debtor and Other          0.5                                      Sale process update call
                                                                     Stakeholders
Monday, October 14, 2019                    C            Analysis, Presentations, and Due Diligence     1.0                                            APA review


Monday, October 14, 2019                    B             Correspondence with Debtor and Other          1.0                                   Wind-down budget discussion
                                                                     Stakeholders
Monday, October 14, 2019                    B             Correspondence with Debtor and Other          1.0                                             Board call
                                                                     Stakeholders
Monday, October 14, 2019                    B             Correspondence with Debtor and Other          1.0                                        Calls with Company
                                                                     Stakeholders
Monday, October 14, 2019                    D       Correspondence with Lenders / Financing Parties     2.5                                      Calls with DIP lenders


Monday, October 14, 2019                    E                      Sale Process Related                 0.5                                Prospective buyer calls and emails


Tuesday, October 15, 2019                   E                      Sale Process Related                 3.0                         Calls re: APA and catch-up following the Holiday
                                                    19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                                                                 Pg 48 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Jason Feintuch
                           Total Hours: 380.0

                                                                                                          Task Reference Table
                                            A      General Case Administration
                                            B      Correspondence with Debtor and Other Stakeholders
                                            C      Analysis, Presentations, and Due Diligence
                                            D      Correspondence with Lenders / Financing Parties
                                            E      Sale Process Related
                                            F      Correspondence with UCC

                Input                     Input                                                        Input                                            Input
                Date                      Task                        Task Code                        Hours                                   Description of Activities
Tuesday, October 15, 2019                   B             Correspondence with Debtor and Other          0.5                                         Landlord calls
                                                                     Stakeholders
Tuesday, October 15, 2019                   E                      Sale Process Related                 0.5                                     Prospective Buyer calls


Tuesday, October 15, 2019                   B             Correspondence with Debtor and Other          3.5                           Wind-down budget discussion and analysis
                                                                     Stakeholders
Tuesday, October 15, 2019                   C            Analysis, Presentations, and Due Diligence     1.0                                           APA review


Wednesday, October 16, 2019                 B             Correspondence with Debtor and Other          1.0                       Communications re: APA and other process updates
                                                                     Stakeholders
Wednesday, October 16, 2019                 B             Correspondence with Debtor and Other          1.0                                 Wind-down budget discussions
                                                                     Stakeholders
Wednesday, October 16, 2019                 C            Analysis, Presentations, and Due Diligence     1.0                                           Bid analysis


Wednesday, October 16, 2019                 C            Analysis, Presentations, and Due Diligence     2.0                                           APA review


Wednesday, October 16, 2019                 E                      Sale Process Related                 1.0                              APA and other buyer communications


Thursday, October 17, 2019                  B             Correspondence with Debtor and Other          0.5                           Discussion with management and advisors
                                                                     Stakeholders
Thursday, October 17, 2019                  E                      Sale Process Related                 2.5                       Conversations with potential buyers re: sale process


Friday, October 18, 2019                    B             Correspondence with Debtor and Other          0.5                               Correspondence with management
                                                                     Stakeholders
Friday, October 18, 2019                    E                      Sale Process Related                 1.0        Calls with potential buyers and other stakeholders, related email communication


Saturday, October 19, 2019                  A                  General Case Administration              1.0                                  Process tracking and updates


Saturday, October 19, 2019                  E                      Sale Process Related                 0.5                           Email correspondence with potential buyer


Sunday, October 20, 2019                    B             Correspondence with Debtor and Other          0.5                    Sale process / participant discussions with debtor advisors
                                                                     Stakeholders
Sunday, October 20, 2019                    E                      Sale Process Related                 1.0        Calls with potential buyers and other stakeholders, related email communication


Monday, October 21, 2019                    B             Correspondence with Debtor and Other          2.0           Call with M-III, other communications with debtor advisors and landlords
                                                                     Stakeholders
Monday, October 21, 2019                    E                      Sale Process Related                 2.0                              Process support with potential bidders


Tuesday, October 22, 2019                   A                  General Case Administration              0.5                            Process tracking, VDR administration, etc


Tuesday, October 22, 2019                   B             Correspondence with Debtor and Other          0.5                           Calls with management and other advisors
                                                                     Stakeholders
Tuesday, October 22, 2019                   D       Correspondence with Lenders / Financing Parties     0.5                                  Correspondence with lenders


Tuesday, October 22, 2019                   E                      Sale Process Related                 2.5                             Calls and meeting with potential buyer


Tuesday, October 22, 2019                   E                      Sale Process Related                 1.5                         Updates and correspondence following Holiday


Wednesday, October 23, 2019                 B             Correspondence with Debtor and Other          3.5                       Call with management, counsel, and other advisors
                                                                     Stakeholders
Wednesday, October 23, 2019                 C            Analysis, Presentations, and Due Diligence     2.5                                    APA and realted analyses
                                                    19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                                                                 Pg 49 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Jason Feintuch
                           Total Hours: 380.0

                                                                                                          Task Reference Table
                                            A      General Case Administration
                                            B      Correspondence with Debtor and Other Stakeholders
                                            C      Analysis, Presentations, and Due Diligence
                                            D      Correspondence with Lenders / Financing Parties
                                            E      Sale Process Related
                                            F      Correspondence with UCC

               Input                      Input                                                        Input                                             Input
               Date                       Task                       Task Code                         Hours                                   Description of Activities
Wednesday, October 23, 2019                 D       Correspondence with Lenders / Financing Parties     0.5                                     Calls with DIP lenders


Wednesday, October 23, 2019                 E                      Sale Process Related                 4.5                    Correspondence with potential buyers re: bids and deadlines


Thursday, October 24, 2019                  A                  General Case Administration              0.5                                        Status conference


Thursday, October 24, 2019                  B             Correspondence with Debtor and Other          1.5                                          BOD meeting
                                                                     Stakeholders
Thursday, October 24, 2019                  B             Correspondence with Debtor and Other          1.5                          Emails and calls with management and advisors
                                                                     Stakeholders
Thursday, October 24, 2019                  C            Analysis, Presentations, and Due Diligence     0.5                                           Bid analyses


Thursday, October 24, 2019                  D       Correspondence with Lenders / Financing Parties     1.0                                 Emails and call with DIP lenders


Thursday, October 24, 2019                  E                      Sale Process Related                 0.5                                      Follow-up with bidders


Friday, October 25, 2019                    B             Correspondence with Debtor and Other          2.5                           Calls and other correspondence with advisors
                                                                     Stakeholders
Friday, October 25, 2019                    C            Analysis, Presentations, and Due Diligence     2.5                                   Transaction relates analyses


Friday, October 25, 2019                    E                      Sale Process Related                 1.0                        Calls and emails with potential buyer and advisors


Saturday, October 26, 2019                  B             Correspondence with Debtor and Other          1.0                          Correspondence with management and advisors
                                                                     Stakeholders
Saturday, October 26, 2019                  C            Analysis, Presentations, and Due Diligence     1.5                         Financing and other diligence for potential buyer


Saturday, October 26, 2019                  E                      Sale Process Related                 0.5                               Correspondence with potential buyer


Sunday, October 27, 2019                    E                      Sale Process Related                 0.5                                Buyer updates, including diligence


Monday, October 28, 2019                    B             Correspondence with Debtor and Other          1.5                                Communications with management
                                                                     Stakeholders
Monday, October 28, 2019                    C            Analysis, Presentations, and Due Diligence     0.5                                   Transaction related analyses


Monday, October 28, 2019                    E                      Sale Process Related                 2.5                       Communication with potential buyers, including calls


Tuesday, October 29, 2019                   B             Correspondence with Debtor and Other          1.5                         Misc. management and advisor communications
                                                                     Stakeholders
Tuesday, October 29, 2019                   C            Analysis, Presentations, and Due Diligence     1.0                            Misc. diligence and documentation review


Tuesday, October 29, 2019                   C            Analysis, Presentations, and Due Diligence     0.5                                   Transaction related analyses


Tuesday, October 29, 2019                   E                      Sale Process Related                 0.5                               Communication with potential buyer


Wednesday, October 30, 2019                 B             Correspondence with Debtor and Other          3.5                             Calls with counsel and other stakeholders
                                                                     Stakeholders
Wednesday, October 30, 2019                 D       Correspondence with Lenders / Financing Parties     1.0                     Calls with DIP lenders and related email communications


Wednesday, October 30, 2019                 E                      Sale Process Related                 2.5                              Calls and emails with potential buyers


Thursday, October 31, 2019                  A                  General Case Administration              5.0                            Travel to, and attendance at, Sale Hearing
                                                 19-36300-cgm      Doc 554    Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                           Pg 50 of 90




Barneys New York
Houlihan Lokey Time Sheet

                          Hours for: Jason Feintuch
                        Total Hours: 380.0

                                                                                                       Task Reference Table
                                         A      General Case Administration
                                         B      Correspondence with Debtor and Other Stakeholders
                                         C      Analysis, Presentations, and Due Diligence
                                         D      Correspondence with Lenders / Financing Parties
                                         E      Sale Process Related
                                         F      Correspondence with UCC

                Input                  Input                                                        Input                                         Input
                Date                   Task                       Task Code                         Hours                                Description of Activities
Thursday, October 31, 2019               B            Correspondence with Debtor and Other           0.5                                        BOD call
                                                                 Stakeholders
Thursday, October 31, 2019               B            Correspondence with Debtor and Other           1.5                              Calls / emails with management
                                                                 Stakeholders
Thursday, October 31, 2019               D       Correspondence with Lenders / Financing Parties     1.0                                DIP lender communications


Thursday, October 31, 2019               E                    Sale Process Related                   3.0                            Communications with potential buyer
                                                    19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                               Pg 51 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Christopher Khoury
                            Total Hours: 464.5

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

                Input                      Input                                                        Input                                         Input
                Date                       Task                       Task Code                         Hours                                Description of Activities
Tuesday, August 6, 2019                      A                General Case Administration                6.0                First Day Hearings, VDR and other case administrative items


Tuesday, August 6, 2019                      B          Correspondence with Debtor and Other             1.0                                 Management and advisors calls
                                                                   Stakeholders
Tuesday, August 6, 2019                      D      Correspondence with Lenders / Financing Parties      3.0                                   DIP financing negotiations


Tuesday, August 6, 2019                      C         Analysis, Presentations, and Due Diligence        0.5                                  Update presentation materials


Tuesday, August 6, 2019                      E                   Sale Process Related                    0.5                                     Buyer calls and emails


Wednesday, August 7, 2019                    D      Correspondence with Lenders / Financing Parties      1.0                                    DIP funding work / calls


Wednesday, August 7, 2019                    B          Correspondence with Debtor and Other             2.0                            Meeting with management (sale process)
                                                                   Stakeholders
Wednesday, August 7, 2019                    C         Analysis, Presentations, and Due Diligence        1.5                           Buyer tracker, dataroom setup, CIM editing


Wednesday, August 7, 2019                    C         Analysis, Presentations, and Due Diligence        1.0                                Internal sale process discussions


Thursday, August 8, 2019                     E                   Sale Process Related                    3.0                                         Buyer outreach


Thursday, August 8, 2019                     C         Analysis, Presentations, and Due Diligence        2.5                                   CIM & Teaser preparation


Thursday, August 8, 2019                     C         Analysis, Presentations, and Due Diligence        1.0                                 Potential buyer analysis request


Thursday, August 8, 2019                     A                General Case Administration                1.5                      Conflicts check, VDR and related administrative items


Thursday, August 8, 2019                     D      Correspondence with Lenders / Financing Parties      1.0                                       DIP CA negotiation


Friday, August 9, 2019                       E                   Sale Process Related                    1.5                                         Buyer outreach


Friday, August 9, 2019                       C         Analysis, Presentations, and Due Diligence        1.0                                         Buyer diligence


Friday, August 9, 2019                       C         Analysis, Presentations, and Due Diligence        1.5                      Review of DIP Budget & Bidding Procedures Motion


Saturday, August 10, 2019                    B          Correspondence with Debtor and Other             1.0                                          Diligence call
                                                                   Stakeholders
Sunday, August 11, 2019                      C         Analysis, Presentations, and Due Diligence        1.0                                     Purchase price analysis


Monday, August 12, 2019                      E                   Sale Process Related                    1.0                             Meeting and call with potential buyers


Tuesday, August 13, 2019                     D      Correspondence with Lenders / Financing Parties      0.5                                            DIP call


Tuesday, August 13, 2019                     A                General Case Administration                1.0                                  Internal administrative items


Tuesday, August 13, 2019                     B          Correspondence with Debtor and Other             1.5                                       Coordination calls
                                                                   Stakeholders
Tuesday, August 13, 2019                     C         Analysis, Presentations, and Due Diligence        0.5                                        CIM refinements


Tuesday, August 13, 2019                     E                   Sale Process Related                    1.5                              Calls and emails with potential buyers


Wednesday, August 14, 2019                   A                General Case Administration                2.0                                 DIP and Store Closing Hearing
                                                    19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                               Pg 52 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Christopher Khoury
                            Total Hours: 464.5

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

              Input                        Input                                                        Input                                           Input
              Date                         Task                       Task Code                         Hours                                  Description of Activities
Wednesday, August 14, 2019                   C         Analysis, Presentations, and Due Diligence        1.0                               DIP Budget review and discussion


Wednesday, August 14, 2019                   E                   Sale Process Related                    1.0                                NDAs and other buyer outreach


Wednesday, August 14, 2019                   B          Correspondence with Debtor and Other             0.5                                    Advisors deliverables call
                                                                   Stakeholders
Wednesday, August 14, 2019                   C         Analysis, Presentations, and Due Diligence        4.0                             Business Plan analysis and preparation


Thursday, August 15, 2019                    B          Correspondence with Debtor and Other             2.0                               Communications with management
                                                                   Stakeholders
Thursday, August 15, 2019                    E                   Sale Process Related                    0.5              Intro call with potential acquirer and other buyer communications


Thursday, August 15, 2019                    A                General Case Administration                1.5                                  Prepare retention application


Thursday, August 15, 2019                    C         Analysis, Presentations, and Due Diligence        4.0                             Business Plan analysis and preparation


Thursday, August 15, 2019                    F                Correspondence with UCC                    0.5                                     Coordinate kickoff call


Friday, August 16, 2019                      F                Correspondence with UCC                    1.5                                UCC kickoff call and data room


Friday, August 16, 2019                      E                   Sale Process Related                    0.5                                    Potential buyer outreach


Friday, August 16, 2019                      D      Correspondence with Lenders / Financing Parties      1.0               Preparation for and participation in discussion with DIP lenders


Friday, August 16, 2019                      C         Analysis, Presentations, and Due Diligence        2.0                             Business Plan analysis and preparation


Friday, August 16, 2019                      C         Analysis, Presentations, and Due Diligence        4.5                                Financial supplement preparation


Saturday, August 17, 2019                    B          Correspondence with Debtor and Other             0.5              Incentive comp discussion and implementation timeline discussion
                                                                   Stakeholders
Saturday, August 17, 2019                    B          Correspondence with Debtor and Other             0.5                                  Discussion with management
                                                                   Stakeholders
Sunday, August 18, 2019                      C         Analysis, Presentations, and Due Diligence        2.0                                Financial supplement preparation


Monday, August 19, 2019                      C         Analysis, Presentations, and Due Diligence        3.0                                Financial supplement preparation


Monday, August 19, 2019                      B          Correspondence with Debtor and Other             1.0            Buyer tracker and strategy discussion, scheduling, incentive comp. call
                                                                   Stakeholders
Monday, August 19, 2019                      E                   Sale Process Related                    1.0                                    NDAs, data room access


Monday, August 19, 2019                      A                General Case Administration                1.0                                  Prepare retention application


Monday, August 19, 2019                      E                   Sale Process Related                    1.5                             Potential buyer calls and other outreach


Tuesday, August 20, 2019                     C         Analysis, Presentations, and Due Diligence        1.0                       Miscellaneous analysis and presentation preparation


Tuesday, August 20, 2019                     E                   Sale Process Related                    1.0                               NDAs, CIM, and data room access


Tuesday, August 20, 2019                     B          Correspondence with Debtor and Other             2.0                          Discuss buyers and process with management
                                                                   Stakeholders
Tuesday, August 20, 2019                     A                General Case Administration                2.5                               Retention Application preparation
                                                    19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                               Pg 53 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Christopher Khoury
                            Total Hours: 464.5

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

                Input                      Input                                                        Input                                            Input
                Date                       Task                       Task Code                         Hours                                   Description of Activities
Tuesday, August 20, 2019                     A                General Case Administration                2.0                                     Review docket filings


Tuesday, August 20, 2019                     E                   Sale Process Related                    2.0                              Potential buyer outreach & diligence


Tuesday, August 20, 2019                     C         Analysis, Presentations, and Due Diligence        1.0                         Buyer tracker/M&A process materials updates


Wednesday, August 21, 2019                   E                   Sale Process Related                    3.0                      Diligence calls and other outreach to potential buyers


Wednesday, August 21, 2019                   E                   Sale Process Related                    1.0                          Internal sale process analysis and discussion


Wednesday, August 21, 2019                   A                General Case Administration                2.5                               Retention Application preparation


Wednesday, August 21, 2019                   E                   Sale Process Related                    1.0                              Discussions with prospective buyers


Wednesday, August 21, 2019                   F                Correspondence with UCC                    1.0                                    DIP and CIM discussion


Wednesday, August 21, 2019                   C         Analysis, Presentations, and Due Diligence        2.0                              Cash Flow Model and other analysis


Thursday, August 22, 2019                    B          Correspondence with Debtor and Other             1.0                                 Discussions with management
                                                                   Stakeholders
Thursday, August 22, 2019                    C         Analysis, Presentations, and Due Diligence        1.5                      Minimum sale price analysis and DIP budget analysis


Thursday, August 22, 2019                    D      Correspondence with Lenders / Financing Parties      1.0                                         DIP lender call


Thursday, August 22, 2019                    E                   Sale Process Related                    4.0         Scheduling & diligence correspondence with potential buyers; other outreach


Thursday, August 22, 2019                    F                Correspondence with UCC                    1.0                                         Call with UCC


Friday, August 23, 2019                      E                   Sale Process Related                    2.5                              Potential buyer outreach & diligence


Friday, August 23, 2019                      B          Correspondence with Debtor and Other             1.0                                  Engagement letter discussion
                                                                   Stakeholders
Friday, August 23, 2019                      C         Analysis, Presentations, and Due Diligence        2.0                                  Due diligence, KEIP comps


Friday, August 23, 2019                      B          Correspondence with Debtor and Other             0.5                               Correspondence with management
                                                                   Stakeholders
Friday, August 23, 2019                      E                   Sale Process Related                    0.5                              NDA tracking, data room access, etc.


Friday, August 23, 2019                      A                General Case Administration                0.5                               Retention Application preparation


Friday, August 23, 2019                      D      Correspondence with Lenders / Financing Parties      0.5                                         DIP lender call


Saturday, August 24, 2019                    C         Analysis, Presentations, and Due Diligence        6.0                                      KEIP & DIP studies


Saturday, August 24, 2019                    A                General Case Administration                1.5                                      Retention application


Sunday, August 25, 2019                      C         Analysis, Presentations, and Due Diligence        6.0                            DIP study, KEIP comps, deposition prep


Monday, August 26, 2019                      C         Analysis, Presentations, and Due Diligence        7.0             Preparation for deposition, KEIP comps, DIP study, CIM comments


Monday, August 26, 2019                      E                   Sale Process Related                    0.5                                Discussions with potential buyers
                                                    19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                               Pg 54 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Christopher Khoury
                            Total Hours: 464.5

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

               Input                       Input                                                        Input                                           Input
               Date                        Task                     Task Code                           Hours                                 Description of Activities
Monday, August 26, 2019                      B          Correspondence with Debtor and Other             1.0                         Correspondence with management and counsel
                                                                   Stakeholders
Tuesday, August 27, 2019                     B          Correspondence with Debtor and Other             4.0                                     Deposition preparation
                                                                   Stakeholders
Tuesday, August 27, 2019                     E                   Sale Process Related                    0.5                             Correspondence with potential buyers


Tuesday, August 27, 2019                     C         Analysis, Presentations, and Due Diligence        1.0                           Due diligence, KEIP comps, CIM updates


Tuesday, August 27, 2019                     E                   Sale Process Related                    1.0                                    NDAs and VDR access


Tuesday, August 27, 2019                     B          Correspondence with Debtor and Other             1.0                             Sale process updates with management
                                                                   Stakeholders
Wednesday, August 28, 2019                   A                General Case Administration                8.0                           Depositions of Saul Burian and Holly Etlin


Wednesday, August 28, 2019                   E                   Sale Process Related                    0.5                      Calls and other communications with potential buyers


Wednesday, August 28, 2019                   C         Analysis, Presentations, and Due Diligence        4.0                                 Due diligence and DIP comps


Wednesday, August 28, 2019                   B          Correspondence with Debtor and Other             2.0                        Correspondence with management and advisors
                                                                   Stakeholders
Thursday, August 29, 2019                    C         Analysis, Presentations, and Due Diligence        1.5                                    Presentation preparation


Thursday, August 29, 2019                    E                   Sale Process Related                    1.0                               Corresponde with potential buyer


Thursday, August 29, 2019                    D      Correspondence with Lenders / Financing Parties      1.0                                  DIP lender communications


Thursday, August 29, 2019                    C         Analysis, Presentations, and Due Diligence        0.5                                          KEIP comps


Friday, August 30, 2019                      B          Correspondence with Debtor and Other             1.0                                 Discussions re: DIP settlement
                                                                   Stakeholders
Friday, August 30, 2019                      E                   Sale Process Related                    1.0                                    Buyer diligence & calls


Friday, August 30, 2019                      C         Analysis, Presentations, and Due Diligence        3.0                         DIP comps discussion and subsequent analysis


Saturday, August 31, 2019                    C         Analysis, Presentations, and Due Diligence        1.5                                      DIP comps analysis


Saturday, August 31, 2019                    C         Analysis, Presentations, and Due Diligence        1.0                                        Proposal analysis


Saturday, August 31, 2019                    B          Correspondence with Debtor and Other             1.0                                 Correspondence with counsel
                                                                   Stakeholders
Sunday, September 1, 2019                    E                   Sale Process Related                    0.5                               Buyer outreach, diligence & NDAs


Tuesday, September 3, 2019                   E                   Sale Process Related                    1.0                              Diligence call with potential acquirer


Tuesday, September 3, 2019                   B          Correspondence with Debtor and Other             1.0                Sale process updates and calls with management and advisors
                                                                   Stakeholders
Tuesday, September 3, 2019                   E                   Sale Process Related                    2.5                 NDAs, buyer outreach assessment, internal process catchup


Tuesday, September 3, 2019                   E                   Sale Process Related                    2.0                                 Due diligence and buyer calls


Tuesday, September 3, 2019                   B          Correspondence with Debtor and Other             0.5                                    Declaration preparation
                                                                   Stakeholders
                                                    19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                               Pg 55 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Christopher Khoury
                            Total Hours: 464.5

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

               Input                       Input                                                        Input                                          Input
               Date                        Task                       Task Code                         Hours                                 Description of Activities
Tuesday, September 3, 2019                   C         Analysis, Presentations, and Due Diligence        0.5                                       CIM updates


Tuesday, September 3, 2019                   C         Analysis, Presentations, and Due Diligence        2.0                             UCC meeting materials preparation


Wednesday, September 4, 2019                 A                General Case Administration                4.0                                        Court hearing


Wednesday, September 4, 2019                 C         Analysis, Presentations, and Due Diligence        2.0                 UCC meeting preparation (including deck) and CIM updates


Wednesday, September 4, 2019                 E                   Sale Process Related                    1.0                            Misc. analysis related to buyer request


Wednesday, September 4, 2019                 E                   Sale Process Related                    2.0                                Buyer outreach and diligence


Thursday, September 5, 2019                  F                Correspondence with UCC                    3.0                                    UCC meeting at K&E


Thursday, September 5, 2019                  C         Analysis, Presentations, and Due Diligence        1.0                             UCC meeting materials preparation


Thursday, September 5, 2019                  E                   Sale Process Related                    0.5                             Buyer tracking, NDAs, VDR access


Thursday, September 5, 2019                  E                   Sale Process Related                    1.0                                Buyer outreach and diligence


Thursday, September 5, 2019                  D      Correspondence with Lenders / Financing Parties      1.0                                    DIP lender update call


Friday, September 6, 2019                    E                   Sale Process Related                    0.5                             Buyer tracking, NDAs, VDR access


Friday, September 6, 2019                    E                   Sale Process Related                    1.0                                Buyer outreach and diligence


Friday, September 6, 2019                    B          Correspondence with Debtor and Other             0.5                                      Call with landlord
                                                                   Stakeholders
Friday, September 6, 2019                    C         Analysis, Presentations, and Due Diligence        0.5                                    Presentation revisions


Friday, September 6, 2019                    B          Correspondence with Debtor and Other             1.0                                   Sale process update call
                                                                   Stakeholders
Friday, September 6, 2019                    C         Analysis, Presentations, and Due Diligence        1.0                             Transaction supplement preparation


Saturday, September 7, 2019                  C         Analysis, Presentations, and Due Diligence        1.0                             Transaction supplement preparation


Sunday, September 8, 2019                    C         Analysis, Presentations, and Due Diligence        0.5                             Transaction supplement preparation


Sunday, September 8, 2019                    B          Correspondence with Debtor and Other             0.5                 Communications with management re: process and outreach
                                                                   Stakeholders
Monday, September 9, 2019                    F                Correspondence with UCC                    1.5                                          UCC call


Monday, September 9, 2019                    B          Correspondence with Debtor and Other             1.0                             Correspondence with management
                                                                   Stakeholders
Monday, September 9, 2019                    E                   Sale Process Related                    1.0                  Meetings and other communications with potential buyers


Monday, September 9, 2019                    E                   Sale Process Related                    0.5                             Buyer tracking, NDAs, VDR access


Tuesday, September 10, 2019                  E                   Sale Process Related                    3.0              Buyer tracking, NDAs, VDR access, meeting materials preparation


Tuesday, September 10, 2019                  B          Correspondence with Debtor and Other             0.5                               Communications with Barneys
                                                                   Stakeholders
                                                19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                           Pg 56 of 90




Barneys New York
Houlihan Lokey Time Sheet

                          Hours for: Christopher Khoury
                        Total Hours: 464.5

                                                                                                       Task Reference Table
                                         A      General Case Administration
                                         B      Correspondence with Debtor and Other Stakeholders
                                         C      Analysis, Presentations, and Due Diligence
                                         D      Correspondence with Lenders / Financing Parties
                                         E      Sale Process Related
                                         F      Correspondence with UCC

               Input                   Input                                                        Input                                           Input
               Date                    Task                       Task Code                         Hours                                  Description of Activities
Tuesday, September 10, 2019              E                   Sale Process Related                    0.5                                       Buyer outreach


Tuesday, September 10, 2019              F                Correspondence with UCC                    0.5                   UCC call, sale process update, and other correspondence


Wednesday, September 11, 2019            E                   Sale Process Related                    1.0                                         Buyer outreach


Wednesday, September 11, 2019            E                   Sale Process Related                    4.0                          Diligence meeting with prospective acquirer


Wednesday, September 11, 2019            C         Analysis, Presentations, and Due Diligence        1.0                             Sensitivity analysis for potential buyer


Wednesday, September 11, 2019            E                   Sale Process Related                    0.5              Buyer tracking, NDAs, VDR access, meeting materials preparation


Thursday, September 12, 2019             E                   Sale Process Related                    8.5             Diligence meeting with prospective acquirer and other buyer outreach


Thursday, September 12, 2019             E                   Sale Process Related                    0.5      Buyer tracking, NDAs, VDR access, meeting materials preparation, and retention app
                                                                                                                                                  work
Friday, September 13, 2019               E                   Sale Process Related                    2.5                         Buyer outreach including diligence responses


Friday, September 13, 2019               E                   Sale Process Related                    2.5                    Buyer tracking, NDAs, VDR access, and process letters


Friday, September 13, 2019               C         Analysis, Presentations, and Due Diligence        0.5                         Cash flow scenario analysis for potential buyer


Friday, September 13, 2019               D      Correspondence with Lenders / Financing Parties      0.5                       Call with potential lender and DIP communications


Saturday, September 14, 2019             C         Analysis, Presentations, and Due Diligence        1.0                                   Calls re: KEIP declaration


Saturday, September 14, 2019             C         Analysis, Presentations, and Due Diligence        2.0                               Meeting presentation preparation


Sunday, September 15, 2019               D      Correspondence with Lenders / Financing Parties      1.5                                        DIP lender calls


Sunday, September 15, 2019               C         Analysis, Presentations, and Due Diligence        3.0                               Meeting presentation preparation


Sunday, September 15, 2019               E                   Sale Process Related                    2.0                                      Buyer diligence call


Monday, September 16, 2019               E                   Sale Process Related                    1.0                 Buyer tracking, NDAs, VDR access, and materials preparation


Monday, September 16, 2019               B          Correspondence with Debtor and Other             2.0     Communications with management and debtor advisors, incl. diligence call & landlord
                                                               Stakeholders                                                                    meeting
Monday, September 16, 2019               E                   Sale Process Related                    2.0                                        Buyer diligence


Monday, September 16, 2019               C         Analysis, Presentations, and Due Diligence        1.0                                   Rent and related analyses


Monday, September 16, 2019               E                   Sale Process Related                    1.5                                    Call with potential buyer


Tuesday, September 17, 2019              E                   Sale Process Related                    1.5                                        Buyer diligence


Tuesday, September 17, 2019              B          Correspondence with Debtor and Other             1.0                               Correspondence with management
                                                               Stakeholders
Tuesday, September 17, 2019              E                   Sale Process Related                    1.5                    Meeting with potential buyer and other communications


Wednesday, September 18, 2019            E                   Sale Process Related                    1.0                Buyer tracking, NDAs, VDR access, and retention order review
                                                19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                           Pg 57 of 90




Barneys New York
Houlihan Lokey Time Sheet

                          Hours for: Christopher Khoury
                        Total Hours: 464.5

                                                                                                       Task Reference Table
                                         A      General Case Administration
                                         B      Correspondence with Debtor and Other Stakeholders
                                         C      Analysis, Presentations, and Due Diligence
                                         D      Correspondence with Lenders / Financing Parties
                                         E      Sale Process Related
                                         F      Correspondence with UCC

               Input                   Input                                                        Input                                          Input
               Date                    Task                       Task Code                         Hours                                 Description of Activities
Wednesday, September 18, 2019            C         Analysis, Presentations, and Due Diligence        1.0                                      Buyer diligence


Wednesday, September 18, 2019            E                   Sale Process Related                    2.0         Meeting with potential buyer and misc. outreach re: scheduling and diligence


Wednesday, September 18, 2019            C         Analysis, Presentations, and Due Diligence        2.5               Internal diligence review, including sale process summary update


Thursday, September 19, 2019             C         Analysis, Presentations, and Due Diligence        4.0                                   Prepare buyer diligence


Thursday, September 19, 2019             E                   Sale Process Related                    1.0                                 Calls with potential buyers


Thursday, September 19, 2019             F                Correspondence with UCC                    0.5                                      Weekly UCC Call


Thursday, September 19, 2019             D      Correspondence with Lenders / Financing Parties      0.5                                  Weekly DIP Lender Call


Friday, September 20, 2019               E                   Sale Process Related                    1.5                           Buyer tracking, NDAs, and VDR access


Friday, September 20, 2019               E                   Sale Process Related                    4.5                         Buyer meeting, diligence, and other outreach


Friday, September 20, 2019               B          Correspondence with Debtor and Other             1.0                 Diligence call with debtor advisors, sale process discussions
                                                               Stakeholders
Saturday, September 21, 2019             C         Analysis, Presentations, and Due Diligence        2.0          Historical adjustments, model refinements and updates, and docket review


Saturday, September 21, 2019             B          Correspondence with Debtor and Other             1.0                         Correspondence with management and others
                                                               Stakeholders
Saturday, September 21, 2019             E                   Sale Process Related                    0.5                                          Buyer call


Monday, September 23, 2019               B          Correspondence with Debtor and Other             2.0           Management and debtor advisor communications, including diligence call
                                                               Stakeholders
Monday, September 23, 2019               C         Analysis, Presentations, and Due Diligence        1.5                                  Internal diligence review


Monday, September 23, 2019               D      Correspondence with Lenders / Financing Parties      1.0                              Correspondence with DIP lenders


Monday, September 23, 2019               F                Correspondence with UCC                    0.5                                 Correspondence with UCC


Monday, September 23, 2019               E                   Sale Process Related                    1.5                           Buyer outreach, including due diligence


Tuesday, September 24, 2019              B          Correspondence with Debtor and Other             3.0            Correspondence with advisor, board members, and other stakeholders
                                                               Stakeholders
Tuesday, September 24, 2019              C         Analysis, Presentations, and Due Diligence        1.0                                      Financial analysis


Tuesday, September 24, 2019              B          Correspondence with Debtor and Other             0.5                              Correpondence with management
                                                               Stakeholders
Tuesday, September 24, 2019              D      Correspondence with Lenders / Financing Parties      1.0                                  Call with potential lender


Tuesday, September 24, 2019              E                   Sale Process Related                    1.5                                    Buyer calls and emails


Wednesday, September 25, 2019            B          Correspondence with Debtor and Other             1.0          Communications with debtor management, advisors, and other stakeholders
                                                               Stakeholders
Wednesday, September 25, 2019            D      Correspondence with Lenders / Financing Parties      1.0                                      DIP lender updates


Wednesday, September 25, 2019            E                   Sale Process Related                    4.0           Potential buyer communications, including diligence, and buyer meetings
                                                   19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                              Pg 58 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Christopher Khoury
                           Total Hours: 464.5

                                                                                                          Task Reference Table
                                            A      General Case Administration
                                            B      Correspondence with Debtor and Other Stakeholders
                                            C      Analysis, Presentations, and Due Diligence
                                            D      Correspondence with Lenders / Financing Parties
                                            E      Sale Process Related
                                            F      Correspondence with UCC

               Input                      Input                                                        Input                                            Input
               Date                       Task                       Task Code                         Hours                                   Description of Activities
Wednesday, September 25, 2019               E                   Sale Process Related                    2.0                                         Review LOIs


Thursday, September 26, 2019                C         Analysis, Presentations, and Due Diligence        2.5                            Diligence including business plan analysis


Thursday, September 26, 2019                D      Correspondence with Lenders / Financing Parties      0.5         Potential lender diligence call, DIP communications excluding potential buyer


Thursday, September 26, 2019                E                   Sale Process Related                    4.0              Meetings and calls with potential buyers, landlords, and DIP lenders


Friday, September 27, 2019                  B          Correspondence with Debtor and Other             1.0                           Correspondence with company and advisors
                                                                  Stakeholders
Friday, September 27, 2019                  E                   Sale Process Related                    3.5                           Potential buyer calls and diligence meeting


Saturday, September 28, 2019                E                   Sale Process Related                    2.0                                  Financial analysis and review


Saturday, September 28, 2019                E                   Sale Process Related                    1.0                                         Buyer diligence


Sunday, September 29, 2019                  D      Correspondence with Lenders / Financing Parties      1.0                                DIP analysis and correspondence


Sunday, September 29, 2019                  E                   Sale Process Related                    1.0                                 Supplemental term sheet review


Sunday, September 29, 2019                  E                   Sale Process Related                    1.0                 Diligence and scheduling communications with potential buyer


Monday, September 30, 2019                  B          Correspondence with Debtor and Other             1.0                               Communications with management
                                                                  Stakeholders
Monday, September 30, 2019                  E                   Sale Process Related                    2.5                                         Buyer diligence


Tuesday, October 1, 2019                    C         Analysis, Presentations, and Due Diligence        1.0                             Due diligence, rent negotiation analyses


Tuesday, October 1, 2019                    D      Correspondence with Lenders / Financing Parties      1.0                       Process update call and emails re: rent negotiations


Tuesday, October 1, 2019                    E                   Sale Process Related                    2.5     Full review of correspondence over the Holiday and status update re: each workstream


Wednesday, October 2, 2019                  B          Correspondence with Debtor and Other             2.0                          Landlord meeting and subsequent discussions
                                                                  Stakeholders
Wednesday, October 2, 2019                  C         Analysis, Presentations, and Due Diligence        2.5      Preparation for court, materials prep for buyer trip, rent negotiation comparisons, etc.


Wednesday, October 2, 2019                  D      Correspondence with Lenders / Financing Parties      1.0                            Calls with DIP lenders and other creditors


Thursday, October 3, 2019                   A                General Case Administration                2.0                        Court hearing, process update and buyer tracking


Thursday, October 3, 2019                   B          Correspondence with Debtor and Other             2.0                              Advisors calls (landlord negotiations)
                                                                  Stakeholders
Thursday, October 3, 2019                   D      Correspondence with Lenders / Financing Parties      0.5                                   DIP lender communications


Thursday, October 3, 2019                   E                   Sale Process Related                    1.0                Meeting and correspondence with potential acquirers (incl. travel)


Friday, October 4, 2019                     B          Correspondence with Debtor and Other             1.5                        Meetings and calls with management and advisors
                                                                  Stakeholders
Friday, October 4, 2019                     C         Analysis, Presentations, and Due Diligence        1.5                   Sale process update and misc. analyses for buyer diligence


Friday, October 4, 2019                     D      Correspondence with Lenders / Financing Parties      1.0                              Discussions with potential exit lender
                                                    19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                               Pg 59 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Christopher Khoury
                            Total Hours: 464.5

                                                                                                           Task Reference Table
                                             A      General Case Administration
                                             B      Correspondence with Debtor and Other Stakeholders
                                             C      Analysis, Presentations, and Due Diligence
                                             D      Correspondence with Lenders / Financing Parties
                                             E      Sale Process Related
                                             F      Correspondence with UCC

                 Input                     Input                                                        Input                                           Input
                 Date                      Task                      Task Code                          Hours                                  Description of Activities
Friday, October 4, 2019                      F                Correspondence with UCC                    0.5                                   Process update with UCC


Saturday, October 5, 2019                    B          Correspondence with Debtor and Other             0.5                             Discussions with counsel and advisors
                                                                   Stakeholders
Saturday, October 5, 2019                    E                   Sale Process Related                    0.5                      Call and other communications with potential buyers


Sunday, October 6, 2019                      C         Analysis, Presentations, and Due Diligence        1.0                                           Diligence


Sunday, October 6, 2019                      C         Analysis, Presentations, and Due Diligence        1.5                                 Update open items and results


Sunday, October 6, 2019                      D      Correspondence with Lenders / Financing Parties      0.5                                     Call with DIP lenders


Sunday, October 6, 2019                      E                   Sale Process Related                    1.5                      Buyer diligence communications, call, and follow-up


Monday, October 7, 2019                      B          Correspondence with Debtor and Other             1.5                       Advisors, management, and board calls and emails
                                                                   Stakeholders
Monday, October 7, 2019                      C         Analysis, Presentations, and Due Diligence        2.0                        APA review and supporting diligence & analysis


Monday, October 7, 2019                      D      Correspondence with Lenders / Financing Parties      1.0                 Communications with DIP lenders and potential exit lenders


Monday, October 7, 2019                      E                   Sale Process Related                    1.5                      Calls with potential buyers and management meeting


Tuesday, October 8, 2019                     B          Correspondence with Debtor and Other             0.5                                       Management call
                                                                   Stakeholders
Tuesday, October 8, 2019                     C         Analysis, Presentations, and Due Diligence        3.0                        APA review and supporting diligence & analysis


Tuesday, October 8, 2019                     D      Correspondence with Lenders / Financing Parties      0.5                                        DIP lender call


Tuesday, October 8, 2019                     E                   Sale Process Related                    1.5                       Meetings and correspondence with potential buyers


Wednesday, October 9, 2019                   B          Correspondence with Debtor and Other             1.0                 Advisors call and emails, communications with management
                                                                   Stakeholders
Wednesday, October 9, 2019                   C         Analysis, Presentations, and Due Diligence        2.5                        APA review and supporting diligence & analysis


Wednesday, October 9, 2019                   D      Correspondence with Lenders / Financing Parties      1.0                              Diligence with potential exit lender


Wednesday, October 9, 2019                   E                   Sale Process Related                    0.5                                       Update re: buyers


Thursday, October 10, 2019                   B          Correspondence with Debtor and Other             1.5                        Communications with management and advisors
                                                                   Stakeholders
Thursday, October 10, 2019                   C         Analysis, Presentations, and Due Diligence        3.0                        APA review and supporting diligence & analysis


Thursday, October 10, 2019                   D      Correspondence with Lenders / Financing Parties      0.5                                        DIP lender call


Thursday, October 10, 2019                   E                   Sale Process Related                    1.5                                  Calls with potential buyers


Friday, October 11, 2019                     A                General Case Administration                6.0              Court hearing, VDR management, process and participant tracking


Friday, October 11, 2019                     B          Correspondence with Debtor and Other             1.0                                         Advisors call
                                                                   Stakeholders
Friday, October 11, 2019                     C         Analysis, Presentations, and Due Diligence        3.0                        APA review and supporting diligence & analysis
                                                   19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                              Pg 60 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Christopher Khoury
                           Total Hours: 464.5

                                                                                                          Task Reference Table
                                            A      General Case Administration
                                            B      Correspondence with Debtor and Other Stakeholders
                                            C      Analysis, Presentations, and Due Diligence
                                            D      Correspondence with Lenders / Financing Parties
                                            E      Sale Process Related
                                            F      Correspondence with UCC

                Input                     Input                                                        Input                                            Input
                Date                      Task                     Task Code                           Hours                                   Description of Activities
Saturday, October 12, 2019                  B          Correspondence with Debtor and Other             0.5                               Call with Management and Counsel
                                                                  Stakeholders
Saturday, October 12, 2019                  C         Analysis, Presentations, and Due Diligence        1.0                                 Follow up re: APA open issues


Saturday, October 12, 2019                  D      Correspondence with Lenders / Financing Parties      1.0                                     Calls with DIP lenders


Sunday, October 13, 2019                    E                   Sale Process Related                    2.0                  Calls with potential buyers re: open issues and sale timing


Sunday, October 13, 2019                    C         Analysis, Presentations, and Due Diligence        1.0                                    Prepare APA summaries


Sunday, October 13, 2019                    B          Correspondence with Debtor and Other             0.5                                     Sale process update call
                                                                  Stakeholders
Monday, October 14, 2019                    C         Analysis, Presentations, and Due Diligence        3.0                                          APA review


Monday, October 14, 2019                    B          Correspondence with Debtor and Other             1.0                                 Wind-down budget discussion
                                                                  Stakeholders
Monday, October 14, 2019                    B          Correspondence with Debtor and Other             1.0                                           Board call
                                                                  Stakeholders
Monday, October 14, 2019                    B          Correspondence with Debtor and Other             0.5                                      Calls with Company
                                                                  Stakeholders
Monday, October 14, 2019                    D      Correspondence with Lenders / Financing Parties      1.0                                     Calls with DIP lenders


Monday, October 14, 2019                    E                   Sale Process Related                    0.5                               Prospective buyer calls and emails


Tuesday, October 15, 2019                   E                   Sale Process Related                    3.0                        Calls re: APA and catch-up following the Holiday


Tuesday, October 15, 2019                   E                   Sale Process Related                    0.5                                     Prospective Buyer calls


Tuesday, October 15, 2019                   B          Correspondence with Debtor and Other             2.5                           Wind-down budget discussion and analysis
                                                                  Stakeholders
Tuesday, October 15, 2019                   C         Analysis, Presentations, and Due Diligence        2.0                                          APA review


Wednesday, October 16, 2019                 B          Correspondence with Debtor and Other             1.0                       Communications re: APA and other process updates
                                                                  Stakeholders
Wednesday, October 16, 2019                 B          Correspondence with Debtor and Other             1.0                                 Wind-down budget discussions
                                                                  Stakeholders
Wednesday, October 16, 2019                 C         Analysis, Presentations, and Due Diligence        2.0                                          Bid analysis


Wednesday, October 16, 2019                 C         Analysis, Presentations, and Due Diligence        1.0                                          APA review


Thursday, October 17, 2019                  B          Correspondence with Debtor and Other             0.5                           Discussion with management and advisors
                                                                  Stakeholders
Thursday, October 17, 2019                  C         Analysis, Presentations, and Due Diligence        0.5                                     Buyer timeline analyses


Thursday, October 17, 2019                  E                   Sale Process Related                    2.0                       Conversations with potential buyers re: sale process


Friday, October 18, 2019                    B          Correspondence with Debtor and Other             0.5                               Correspondence with management
                                                                  Stakeholders
Friday, October 18, 2019                    C         Analysis, Presentations, and Due Diligence        1.0                                 Inventory by location analysis


Friday, October 18, 2019                    E                   Sale Process Related                    1.0        Calls with potential buyers and other stakeholders, related email communication
                                                   19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                              Pg 61 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Christopher Khoury
                           Total Hours: 464.5

                                                                                                          Task Reference Table
                                            A      General Case Administration
                                            B      Correspondence with Debtor and Other Stakeholders
                                            C      Analysis, Presentations, and Due Diligence
                                            D      Correspondence with Lenders / Financing Parties
                                            E      Sale Process Related
                                            F      Correspondence with UCC

                Input                     Input                                                        Input                                            Input
                Date                      Task                       Task Code                         Hours                                 Description of Activities
Saturday, October 19, 2019                  A                General Case Administration                1.0                                 Process tracking and updates


Tuesday, October 22, 2019                   B          Correspondence with Debtor and Other             0.5                           Calls with management and other advisors
                                                                  Stakeholders
Tuesday, October 22, 2019                   D      Correspondence with Lenders / Financing Parties      0.5                                 Correspondence with lenders


Tuesday, October 22, 2019                   E                   Sale Process Related                    2.0                             Calls and meeting with potential buyer


Tuesday, October 22, 2019                   E                   Sale Process Related                    1.5                        Updates and correspondence following Holiday


Wednesday, October 23, 2019                 A                General Case Administration                1.5                       VDR management, process and participant tracking


Wednesday, October 23, 2019                 B          Correspondence with Debtor and Other             3.5                       Call with management, counsel, and other advisors
                                                                  Stakeholders
Wednesday, October 23, 2019                 C         Analysis, Presentations, and Due Diligence        3.5                                   APA and realted analyses


Wednesday, October 23, 2019                 E                   Sale Process Related                    3.0                 Correspondence with potential buyers re: bids and deadlines


Thursday, October 24, 2019                  A                General Case Administration                0.5                                       Status conference


Thursday, October 24, 2019                  B          Correspondence with Debtor and Other             1.5                                         BOD meeting
                                                                  Stakeholders
Thursday, October 24, 2019                  C         Analysis, Presentations, and Due Diligence        1.0                                          Bid analyses


Thursday, October 24, 2019                  D      Correspondence with Lenders / Financing Parties      1.0                                Emails and call with DIP lenders


Friday, October 25, 2019                    B          Correspondence with Debtor and Other             1.5                         Calls and other correspondence with advisors
                                                                  Stakeholders
Friday, October 25, 2019                    C         Analysis, Presentations, and Due Diligence        1.5                                  Transaction relates analyses


Friday, October 25, 2019                    E                   Sale Process Related                    1.0                       Calls and emails with potential buyer and advisors


Saturday, October 26, 2019                  B          Correspondence with Debtor and Other             1.0                        Correspondence with management and advisors
                                                                  Stakeholders
Saturday, October 26, 2019                  C         Analysis, Presentations, and Due Diligence        2.0                        Financing and other diligence for potential buyer


Saturday, October 26, 2019                  E                   Sale Process Related                    0.5                              Correspondence with potential buyer


Monday, October 28, 2019                    B          Correspondence with Debtor and Other             0.5                              Communications with management
                                                                  Stakeholders
Monday, October 28, 2019                    C         Analysis, Presentations, and Due Diligence        1.0                                  Transaction related analyses


Monday, October 28, 2019                    D      Correspondence with Lenders / Financing Parties      2.5                           Misc. diligence and documentation review


Monday, October 28, 2019                    E                   Sale Process Related                    2.0                      Communication with potential buyers, including calls


Tuesday, October 29, 2019                   B          Correspondence with Debtor and Other             1.0                        Misc. management and advisor communications
                                                                  Stakeholders
Tuesday, October 29, 2019                   C         Analysis, Presentations, and Due Diligence        2.0                           Misc. diligence and documentation review


Tuesday, October 29, 2019                   C         Analysis, Presentations, and Due Diligence        2.0                                  Transaction related analyses
                                                19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                           Pg 62 of 90




Barneys New York
Houlihan Lokey Time Sheet

                          Hours for: Christopher Khoury
                        Total Hours: 464.5

                                                                                                       Task Reference Table
                                         A      General Case Administration
                                         B      Correspondence with Debtor and Other Stakeholders
                                         C      Analysis, Presentations, and Due Diligence
                                         D      Correspondence with Lenders / Financing Parties
                                         E      Sale Process Related
                                         F      Correspondence with UCC

               Input                   Input                                                        Input                                           Input
               Date                    Task                     Task Code                           Hours                                  Description of Activities
Wednesday, October 30, 2019              B          Correspondence with Debtor and Other             1.5                           Calls with counsel and other stakeholders
                                                               Stakeholders
Wednesday, October 30, 2019              C         Analysis, Presentations, and Due Diligence        3.5                                 Transaction related analyses


Thursday, October 31, 2019               A                General Case Administration                5.0                          Travel to, and attendance at, Sale Hearing


Thursday, October 31, 2019               B          Correspondence with Debtor and Other             0.5                                          BOD call
                                                               Stakeholders
Thursday, October 31, 2019               B          Correspondence with Debtor and Other             1.5                               Calls / emails with management
                                                               Stakeholders
Thursday, October 31, 2019               C         Analysis, Presentations, and Due Diligence        2.5                            Sale closing preparation and diligence


Thursday, October 31, 2019               E                   Sale Process Related                    3.0                            Communications with potential buyer
                                                  19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30      Main Document
                                                                                               Pg 63 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: John Kubinak
                           Total Hours: 379.0

                                                                                                         Task Reference Table
                                           A      General Case Administration
                                           B      Correspondence with Debtor and Other Stakeholders
                                           C      Analysis, Presentations, and Due Diligence
                                           D      Correspondence with Lenders / Financing Parties
                                           E      Sale Process Related
                                           F      Correspondence with UCC

                Input                     Input                                                       Input                                         Input
                Date                      Task                       Task Code                        Hours                                Description of Activities
Tuesday, August 6, 2019                     A                General Case Administration               7.0                First Day Hearings, VDR and other case administrative items


Tuesday, August 6, 2019                    D      Correspondence with Lenders / Financing Parties      3.0                                   DIP financing negotiations


Tuesday, August 6, 2019                    C           Analysis, Presentations, and Due Diligence      1.5                                  Update presentation materials


Wednesday, August 7, 2019                  D      Correspondence with Lenders / Financing Parties      2.0                                    DIP funding work / calls


Wednesday, August 7, 2019                  B            Correspondence with Debtor and Other           3.0                            Meeting with management (sale process)
                                                                   Stakeholders
Wednesday, August 7, 2019                  C           Analysis, Presentations, and Due Diligence      3.0                           Buyer tracker, dataroom setup, CIM editing


Wednesday, August 7, 2019                  C           Analysis, Presentations, and Due Diligence      1.0                                Internal sale process discussions


Thursday, August 8, 2019                   E                     Sale Process Related                  3.0                                         Buyer outreach


Thursday, August 8, 2019                   C           Analysis, Presentations, and Due Diligence      2.0                                   CIM & Teaser preparation


Thursday, August 8, 2019                   C           Analysis, Presentations, and Due Diligence      1.0                                 Potential buyer analysis request


Thursday, August 8, 2019                   A                 General Case Administration               1.0                      Conflicts check, VDR and related administrative items


Thursday, August 8, 2019                   D      Correspondence with Lenders / Financing Parties      2.5                                       DIP CA negotiation


Friday, August 9, 2019                     E                     Sale Process Related                  1.0                              NDA tracking, data room access, etc.


Friday, August 9, 2019                     E                     Sale Process Related                  3.0                                         Buyer outreach


Friday, August 9, 2019                     D      Correspondence with Lenders / Financing Parties      2.0                                       DIP CA negotiation


Friday, August 9, 2019                     C           Analysis, Presentations, and Due Diligence      3.0                      Review of DIP Budget & Bidding Procedures Motion


Sunday, August 11, 2019                    C           Analysis, Presentations, and Due Diligence      4.0                                     Purchase price analysis


Sunday, August 11, 2019                    A                 General Case Administration               2.0                                     Data room maintenance


Monday, August 12, 2019                    E                     Sale Process Related                  4.0                                   NDAs and data room work


Monday, August 12, 2019                    E                     Sale Process Related                  2.0                         Scheduling with & researching potential buyers


Monday, August 12, 2019                    B            Correspondence with Debtor and Other           1.0                                    Coordinating with board
                                                                   Stakeholders
Tuesday, August 13, 2019                   D      Correspondence with Lenders / Financing Parties      0.5                                            DIP call


Tuesday, August 13, 2019                   A                 General Case Administration               1.0                                  Internal administrative items


Tuesday, August 13, 2019                   B            Correspondence with Debtor and Other           1.5                                       Coordination calls
                                                                   Stakeholders
Tuesday, August 13, 2019                   C           Analysis, Presentations, and Due Diligence      1.0                                        CIM refinements


Tuesday, August 13, 2019                   E                     Sale Process Related                  1.5                              Calls and emails with potential buyers
                                                   19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30      Main Document
                                                                                                Pg 64 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: John Kubinak
                            Total Hours: 379.0

                                                                                                          Task Reference Table
                                            A      General Case Administration
                                            B      Correspondence with Debtor and Other Stakeholders
                                            C      Analysis, Presentations, and Due Diligence
                                            D      Correspondence with Lenders / Financing Parties
                                            E      Sale Process Related
                                            F      Correspondence with UCC

              Input                        Input                                                       Input                                          Input
              Date                         Task                        Task Code                       Hours                                 Description of Activities
Wednesday, August 14, 2019                   E                    Sale Process Related                  2.0                                NDAs and other buyer outreach


Wednesday, August 14, 2019                  C           Analysis, Presentations, and Due Diligence      2.0                             Business Plan analysis and preparation


Wednesday, August 14, 2019                  E                     Sale Process Related                  0.5                                Potential buyer calls and emails


Thursday, August 15, 2019                   B            Correspondence with Debtor and Other           3.0                               Communications with management
                                                                    Stakeholders
Thursday, August 15, 2019                   E                     Sale Process Related                  1.0              Intro call with potential acquirer and other buyer communications


Thursday, August 15, 2019                   C           Analysis, Presentations, and Due Diligence      4.0                             Business Plan analysis and preparation


Friday, August 16, 2019                     F                  Correspondence with UCC                  1.0                                UCC kickoff call and data room


Friday, August 16, 2019                     C           Analysis, Presentations, and Due Diligence      3.0                                Financial supplement preparation


Monday, August 19, 2019                     C           Analysis, Presentations, and Due Diligence      3.0                                Financial supplement preparation


Monday, August 19, 2019                     B            Correspondence with Debtor and Other           0.5            Buyer tracker and strategy discussion, scheduling, incentive comp. call
                                                                    Stakeholders
Monday, August 19, 2019                     E                     Sale Process Related                  2.5                                    NDAs, data room access


Tuesday, August 20, 2019                    C           Analysis, Presentations, and Due Diligence      4.0                       Miscellaneous analysis and presentation preparation


Tuesday, August 20, 2019                    E                     Sale Process Related                  2.0                               NDAs, CIM, and data room access


Tuesday, August 20, 2019                    B            Correspondence with Debtor and Other           2.0                          Discuss buyers and process with management
                                                                    Stakeholders
Wednesday, August 21, 2019                  E                     Sale Process Related                  2.0                      Diligence calls and other outreach to potential buyers


Wednesday, August 21, 2019                  E                     Sale Process Related                  2.0                          Internal sale process analysis and discussion


Wednesday, August 21, 2019                  E                     Sale Process Related                  1.0                              Discussions with prospective buyers


Wednesday, August 21, 2019                  C           Analysis, Presentations, and Due Diligence      4.0                              Cash Flow Model and other analysis


Thursday, August 22, 2019                   E                     Sale Process Related                  1.0                              NDA tracking, data room access, etc.


Thursday, August 22, 2019                   C           Analysis, Presentations, and Due Diligence      2.0                      Minimum sale price analysis and DIP budget analysis


Thursday, August 22, 2019                   D      Correspondence with Lenders / Financing Parties      1.0                                         DIP lender call


Thursday, August 22, 2019                   E                     Sale Process Related                  1.0         Scheduling & diligence correspondence with potential buyers; other outreach


Thursday, August 22, 2019                   F                  Correspondence with UCC                  1.0                                         Call with UCC


Friday, August 23, 2019                     E                     Sale Process Related                  0.5                              Potential buyer outreach & diligence


Friday, August 23, 2019                     E                     Sale Process Related                  0.5                              NDA tracking, data room access, etc.


Saturday, August 24, 2019                   C           Analysis, Presentations, and Due Diligence      1.0                                      KEIP & DIP studies
                                                   19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30      Main Document
                                                                                                Pg 65 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: John Kubinak
                            Total Hours: 379.0

                                                                                                          Task Reference Table
                                            A      General Case Administration
                                            B      Correspondence with Debtor and Other Stakeholders
                                            C      Analysis, Presentations, and Due Diligence
                                            D      Correspondence with Lenders / Financing Parties
                                            E      Sale Process Related
                                            F      Correspondence with UCC

                Input                      Input                                                       Input                                           Input
                Date                       Task                        Task Code                       Hours                                  Description of Activities
Sunday, August 25, 2019                      C          Analysis, Presentations, and Due Diligence      4.0                            DIP study, KEIP comps, deposition prep


Monday, August 26, 2019                     C           Analysis, Presentations, and Due Diligence      4.0             Preparation for deposition, KEIP comps, DIP study, CIM comments


Tuesday, August 27, 2019                    B            Correspondence with Debtor and Other           4.0                                    Deposition preparation
                                                                    Stakeholders
Tuesday, August 27, 2019                    C           Analysis, Presentations, and Due Diligence      1.0                           Due diligence, KEIP comps, CIM updates


Tuesday, August 27, 2019                    E                     Sale Process Related                  1.0                                    NDAs and VDR access


Tuesday, August 27, 2019                    B            Correspondence with Debtor and Other           0.5                            Sale process updates with management
                                                                    Stakeholders
Wednesday, August 28, 2019                  A                 General Case Administration               4.0                           Depositions of Saul Burian and Holly Etlin


Wednesday, August 28, 2019                  C           Analysis, Presentations, and Due Diligence      4.0                                 Due diligence and DIP comps


Wednesday, August 28, 2019                  B            Correspondence with Debtor and Other           1.0                        Correspondence with management and advisors
                                                                    Stakeholders
Thursday, August 29, 2019                   C           Analysis, Presentations, and Due Diligence      2.0                                    Presentation preparation


Thursday, August 29, 2019                   D      Correspondence with Lenders / Financing Parties      1.0                                  DIP lender communications


Friday, August 30, 2019                     C           Analysis, Presentations, and Due Diligence      3.0                         DIP comps discussion and subsequent analysis


Saturday, August 31, 2019                   C           Analysis, Presentations, and Due Diligence      1.0                                       Proposal analysis


Saturday, August 31, 2019                   B            Correspondence with Debtor and Other           1.0                                 Correspondence with counsel
                                                                    Stakeholders
Tuesday, September 3, 2019                  B            Correspondence with Debtor and Other           1.0                Sale process updates and calls with management and advisors
                                                                    Stakeholders
Tuesday, September 3, 2019                  E                     Sale Process Related                  2.0                   NDAs, buyer outreach assessment, internal process catchup


Tuesday, September 3, 2019                  B            Correspondence with Debtor and Other           1.0                                    Declaration preparation
                                                                    Stakeholders
Tuesday, September 3, 2019                  C           Analysis, Presentations, and Due Diligence      0.5                                         CIM updates


Tuesday, September 3, 2019                  C           Analysis, Presentations, and Due Diligence      2.0                              UCC meeting materials preparation


Wednesday, September 4, 2019                B            Correspondence with Debtor and Other           1.5                            Sale process updates with management
                                                                    Stakeholders
Wednesday, September 4, 2019                C           Analysis, Presentations, and Due Diligence      3.0                   UCC meeting preparation (including deck) and CIM updates


Wednesday, September 4, 2019                E                     Sale Process Related                  1.0                                 Buyer outreach and diligence


Wednesday, September 4, 2019                E                     Sale Process Related                  1.0                              Buyer tracking, NDAs, VDR access


Thursday, September 5, 2019                 F                  Correspondence with UCC                  3.0                                     UCC meeting at K&E


Thursday, September 5, 2019                 C           Analysis, Presentations, and Due Diligence      1.0                              UCC meeting materials preparation


Thursday, September 5, 2019                 E                     Sale Process Related                  1.0                              Buyer tracking, NDAs, VDR access
                                                   19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30      Main Document
                                                                                                Pg 66 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: John Kubinak
                            Total Hours: 379.0

                                                                                                          Task Reference Table
                                            A      General Case Administration
                                            B      Correspondence with Debtor and Other Stakeholders
                                            C      Analysis, Presentations, and Due Diligence
                                            D      Correspondence with Lenders / Financing Parties
                                            E      Sale Process Related
                                            F      Correspondence with UCC

                Input                      Input                                                       Input                                           Input
                Date                       Task                     Task Code                          Hours                                  Description of Activities
Thursday, September 5, 2019                  D     Correspondence with Lenders / Financing Parties      1.0                                    DIP lender update call


Thursday, September 5, 2019                 B            Correspondence with Debtor and Other           1.0                       Scheduling and process updates with management
                                                                    Stakeholders
Friday, September 6, 2019                   E                     Sale Process Related                  0.5                              Buyer tracking, NDAs, VDR access


Friday, September 6, 2019                   E                     Sale Process Related                  1.0                                 Buyer outreach and diligence


Friday, September 6, 2019                   B            Correspondence with Debtor and Other           0.5                                       Call with landlord
                                                                    Stakeholders
Friday, September 6, 2019                   C           Analysis, Presentations, and Due Diligence      3.0                                     Presentation revisions


Friday, September 6, 2019                   C           Analysis, Presentations, and Due Diligence      1.0                              Transaction supplement preparation


Saturday, September 7, 2019                 C           Analysis, Presentations, and Due Diligence      3.0                              Transaction supplement preparation


Sunday, September 8, 2019                   C           Analysis, Presentations, and Due Diligence      0.5                              Transaction supplement preparation


Monday, September 9, 2019                   F                  Correspondence with UCC                  1.5                                            UCC call


Tuesday, September 10, 2019                 E                     Sale Process Related                  1.5              Buyer tracking, NDAs, VDR access, meeting materials preparation


Tuesday, September 10, 2019                 D      Correspondence with Lenders / Financing Parties      1.0                   Call with potential exit lender and related communications


Tuesday, September 10, 2019                 E                     Sale Process Related                  0.5                                         Buyer outreach


Tuesday, September 10, 2019                 F                  Correspondence with UCC                  0.5                   UCC call, sale process update, and other correspondence


Wednesday, September 11, 2019               E                     Sale Process Related                  1.0                                         Buyer outreach


Wednesday, September 11, 2019               E                     Sale Process Related                  4.0                          Diligence meeting with prospective acquirer


Wednesday, September 11, 2019               C           Analysis, Presentations, and Due Diligence      4.0                             Sensitivity analysis for potential buyer


Thursday, September 12, 2019                E                     Sale Process Related                  8.5            Diligence meeting with prospective acquirer and other buyer outreach


Thursday, September 12, 2019                C           Analysis, Presentations, and Due Diligence      2.0          Financial model updates for potential buyer and other analysis / preparation


Thursday, September 12, 2019                D      Correspondence with Lenders / Financing Parties      0.5                            Communications with existing creditors


Thursday, September 12, 2019                B            Correspondence with Debtor and Other           1.0                             Management and landlord discussions
                                                                    Stakeholders
Friday, September 13, 2019                  E                     Sale Process Related                  1.5                         Buyer outreach including diligence responses


Friday, September 13, 2019                  F                  Correspondence with UCC                  1.5                                  Communications with UCC


Friday, September 13, 2019                  C           Analysis, Presentations, and Due Diligence      1.0                         Cash flow scenario analysis for potential buyer


Friday, September 13, 2019                  D      Correspondence with Lenders / Financing Parties      0.5                       Call with potential lender and DIP communications


Saturday, September 14, 2019                C           Analysis, Presentations, and Due Diligence      1.0                                   Calls re: KEIP declaration
                                               19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30      Main Document
                                                                                            Pg 67 of 90




Barneys New York
Houlihan Lokey Time Sheet

                          Hours for: John Kubinak
                        Total Hours: 379.0

                                                                                                      Task Reference Table
                                        A      General Case Administration
                                        B      Correspondence with Debtor and Other Stakeholders
                                        C      Analysis, Presentations, and Due Diligence
                                        D      Correspondence with Lenders / Financing Parties
                                        E      Sale Process Related
                                        F      Correspondence with UCC

                Input                  Input                                                       Input                                            Input
                Date                   Task                        Task Code                       Hours                                 Description of Activities
Saturday, September 14, 2019             C          Analysis, Presentations, and Due Diligence      1.0                                Meeting presentation preparation


Sunday, September 15, 2019              C           Analysis, Presentations, and Due Diligence      4.0                                 Landlord meeting presentation


Sunday, September 15, 2019              C           Analysis, Presentations, and Due Diligence      5.0                                Meeting presentation preparation


Sunday, September 15, 2019              E                     Sale Process Related                  1.0                                       Buyer diligence call


Monday, September 16, 2019              E                     Sale Process Related                  1.0                Buyer tracking, NDAs, VDR access, and materials preparation


Monday, September 16, 2019              B            Correspondence with Debtor and Other           1.0     Communications with management and debtor advisors, incl. diligence call & landlord
                                                                Stakeholders                                                                  meeting
Monday, September 16, 2019              C           Analysis, Presentations, and Due Diligence      2.0                                    Rent and related analyses


Monday, September 16, 2019              E                     Sale Process Related                  0.5                                    Call with potential buyer


Tuesday, September 17, 2019             E                     Sale Process Related                  1.0                Buyer tracking, NDAs, VDR access, and materials preparation


Tuesday, September 17, 2019             E                     Sale Process Related                  0.5                    Meeting with potential buyer and other communications


Wednesday, September 18, 2019           E                     Sale Process Related                  1.0                Buyer tracking, NDAs, VDR access, and retention order review


Wednesday, September 18, 2019           C           Analysis, Presentations, and Due Diligence      3.0                                         Buyer diligence


Wednesday, September 18, 2019           E                     Sale Process Related                  1.0         Meeting with potential buyer and misc. outreach re: scheduling and diligence


Wednesday, September 18, 2019           C           Analysis, Presentations, and Due Diligence      2.5               Internal diligence review, including sale process summary update


Thursday, September 19, 2019            E                     Sale Process Related                  1.0                      Buyer tracking, NDAs, VDR access, and hour tracking


Thursday, September 19, 2019            C           Analysis, Presentations, and Due Diligence      8.0                                     Prepare buyer diligence


Thursday, September 19, 2019            E                     Sale Process Related                  0.5                                  Meeting with potential buyer


Thursday, September 19, 2019            E                     Sale Process Related                  0.5                                   Calls with potential buyers


Thursday, September 19, 2019            F                  Correspondence with UCC                  0.5                                        Weekly UCC Call


Thursday, September 19, 2019            D      Correspondence with Lenders / Financing Parties      0.5                                    Weekly DIP Lender Call


Friday, September 20, 2019              E                     Sale Process Related                  1.0                             Buyer tracking, NDAs, and VDR access


Friday, September 20, 2019              E                     Sale Process Related                  1.0                          Buyer meeting, diligence, and other outreach


Friday, September 20, 2019              B            Correspondence with Debtor and Other           1.0                   Diligence call with debtor advisors, sale process discussions
                                                                Stakeholders
Saturday, September 21, 2019            C           Analysis, Presentations, and Due Diligence      2.0          Historical adjustments, model refinements and updates, and docket review


Monday, September 23, 2019              E                     Sale Process Related                  0.5                         Buyer tracking, VDR access, and hour tracking


Monday, September 23, 2019              B            Correspondence with Debtor and Other           0.5           Management and debtor advisor communications, including diligence call
                                                                Stakeholders
                                               19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30      Main Document
                                                                                            Pg 68 of 90




Barneys New York
Houlihan Lokey Time Sheet

                          Hours for: John Kubinak
                        Total Hours: 379.0

                                                                                                      Task Reference Table
                                        A      General Case Administration
                                        B      Correspondence with Debtor and Other Stakeholders
                                        C      Analysis, Presentations, and Due Diligence
                                        D      Correspondence with Lenders / Financing Parties
                                        E      Sale Process Related
                                        F      Correspondence with UCC

              Input                    Input                                                       Input                                         Input
              Date                     Task                     Task Code                          Hours                                Description of Activities
Monday, September 23, 2019               D     Correspondence with Lenders / Financing Parties      1.0                              Correspondence with DIP lenders


Monday, September 23, 2019              E                     Sale Process Related                  1.0                           Buyer outreach, including due diligence


Tuesday, September 24, 2019             E                     Sale Process Related                  0.5                              Buyer tracking, NDA tracking, etc.


Tuesday, September 24, 2019             B            Correspondence with Debtor and Other           0.5             Correspondence with advisor, board members, and other stakeholders
                                                                Stakeholders
Tuesday, September 24, 2019             C           Analysis, Presentations, and Due Diligence      1.0                                      Financial analysis


Tuesday, September 24, 2019             B            Correspondence with Debtor and Other           0.5                              Correpondence with management
                                                                Stakeholders
Tuesday, September 24, 2019             D      Correspondence with Lenders / Financing Parties      1.0                                   Call with potential lender


Tuesday, September 24, 2019             E                     Sale Process Related                  1.0                                    Buyer calls and emails


Wednesday, September 25, 2019           E                     Sale Process Related                  0.5                              Buyer tracking, NDA tracking, etc.


Wednesday, September 25, 2019           B            Correspondence with Debtor and Other           1.0          Communications with debtor management, advisors, and other stakeholders
                                                                Stakeholders
Wednesday, September 25, 2019           D      Correspondence with Lenders / Financing Parties      1.0                                      DIP lender updates


Wednesday, September 25, 2019           E                     Sale Process Related                  4.0           Potential buyer communications, including diligence, and buyer meetings


Wednesday, September 25, 2019           E                     Sale Process Related                  1.5                                         Review LOIs


Thursday, September 26, 2019            A                 General Case Administration               0.5                                  Buyer and process tracking


Thursday, September 26, 2019            C           Analysis, Presentations, and Due Diligence      2.0                          Diligence including business plan analysis


Thursday, September 26, 2019            D      Correspondence with Lenders / Financing Parties      0.5         Potential lender diligence call, DIP communications excluding potential buyer


Thursday, September 26, 2019            E                     Sale Process Related                  4.0             Meetings and calls with potential buyers, landlords, and DIP lenders


Friday, September 27, 2019              A                 General Case Administration               0.5                                  Buyer and process tracking


Friday, September 27, 2019              B            Correspondence with Debtor and Other           1.0                          Correspondence with company and advisors
                                                                Stakeholders
Friday, September 27, 2019              C           Analysis, Presentations, and Due Diligence      1.0                          Diligence including business plan analysis


Saturday, September 28, 2019            E                     Sale Process Related                  2.0                                 Financial analysis and review


Sunday, September 29, 2019              E                     Sale Process Related                  1.0                               Supplemental term sheet review


Sunday, September 29, 2019              E                     Sale Process Related                  1.0                Diligence and scheduling communications with potential buyer


Monday, September 30, 2019              A                 General Case Administration               0.5                                      Buyer tracking etc.


Monday, September 30, 2019              C           Analysis, Presentations, and Due Diligence      1.0                          Rent concession economics, other diligence


Monday, September 30, 2019              E                     Sale Process Related                  1.0                                       Buyer diligence
                                                  19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30      Main Document
                                                                                               Pg 69 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: John Kubinak
                           Total Hours: 379.0

                                                                                                         Task Reference Table
                                           A      General Case Administration
                                           B      Correspondence with Debtor and Other Stakeholders
                                           C      Analysis, Presentations, and Due Diligence
                                           D      Correspondence with Lenders / Financing Parties
                                           E      Sale Process Related
                                           F      Correspondence with UCC

                Input                     Input                                                       Input                                            Input
                Date                      Task                       Task Code                        Hours                                   Description of Activities
Tuesday, October 1, 2019                    A                General Case Administration               0.5                          Buyer tracking and other process organization


Tuesday, October 1, 2019                   B            Correspondence with Debtor and Other           2.0                   Communications with debtor, debtor advisors, and landlords
                                                                   Stakeholders
Tuesday, October 1, 2019                   C           Analysis, Presentations, and Due Diligence      0.5                             Due diligence, rent negotiation analyses


Tuesday, October 1, 2019                   D      Correspondence with Lenders / Financing Parties      1.0                       Process update call and emails re: rent negotiations


Tuesday, October 1, 2019                   E                     Sale Process Related                  1.0     Full review of correspondence over the Holiday and status update re: each workstream


Wednesday, October 2, 2019                 A                 General Case Administration               0.5                                      Misc. process tracking


Wednesday, October 2, 2019                 C           Analysis, Presentations, and Due Diligence      2.5      Preparation for court, materials prep for buyer trip, rent negotiation comparisons, etc.


Wednesday, October 2, 2019                 D      Correspondence with Lenders / Financing Parties      1.0                            Calls with DIP lenders and other creditors


Wednesday, October 2, 2019                 E                     Sale Process Related                  1.0                            Communications with potential acquirers


Thursday, October 3, 2019                  A                 General Case Administration               0.5                        Court hearing, process update and buyer tracking


Thursday, October 3, 2019                  B            Correspondence with Debtor and Other           1.0                              Advisors calls (landlord negotiations)
                                                                   Stakeholders
Thursday, October 3, 2019                  D      Correspondence with Lenders / Financing Parties      0.5                                   DIP lender communications


Thursday, October 3, 2019                  E                     Sale Process Related                  1.0                Meeting and correspondence with potential acquirers (incl. travel)


Friday, October 4, 2019                    E                     Sale Process Related                  1.0                             Buyer tracking, VDR access, NDAs, etc.


Friday, October 4, 2019                    B            Correspondence with Debtor and Other           0.5                        Meetings and calls with management and advisors
                                                                   Stakeholders
Friday, October 4, 2019                    C           Analysis, Presentations, and Due Diligence      2.0                   Sale process update and misc. analyses for buyer diligence


Sunday, October 6, 2019                    B            Correspondence with Debtor and Other           0.5                                     Calls with management
                                                                   Stakeholders
Sunday, October 6, 2019                    C           Analysis, Presentations, and Due Diligence      0.5                                             Diligence


Sunday, October 6, 2019                    C           Analysis, Presentations, and Due Diligence      1.0                                  Update open items and results


Sunday, October 6, 2019                    D      Correspondence with Lenders / Financing Parties      0.5                                      Call with DIP lenders


Monday, October 7, 2019                    B            Correspondence with Debtor and Other           1.0                       Advisors, management, and board calls and emails
                                                                   Stakeholders
Monday, October 7, 2019                    C           Analysis, Presentations, and Due Diligence      2.0                        APA review and supporting diligence & analysis


Monday, October 7, 2019                    D      Correspondence with Lenders / Financing Parties      1.0                   Communications with DIP lenders and potential exit lenders


Tuesday, October 8, 2019                   A                 General Case Administration               0.5                       VDR management, process and participant tracking


Tuesday, October 8, 2019                   B            Correspondence with Debtor and Other           0.5                                         Management call
                                                                   Stakeholders
Tuesday, October 8, 2019                   C           Analysis, Presentations, and Due Diligence      2.0                        APA review and supporting diligence & analysis
                                                  19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30      Main Document
                                                                                               Pg 70 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: John Kubinak
                           Total Hours: 379.0

                                                                                                         Task Reference Table
                                           A      General Case Administration
                                           B      Correspondence with Debtor and Other Stakeholders
                                           C      Analysis, Presentations, and Due Diligence
                                           D      Correspondence with Lenders / Financing Parties
                                           E      Sale Process Related
                                           F      Correspondence with UCC

                Input                     Input                                                       Input                                           Input
                Date                      Task                     Task Code                          Hours                                  Description of Activities
Tuesday, October 8, 2019                    D     Correspondence with Lenders / Financing Parties      0.5                                       DIP lender call


Tuesday, October 8, 2019                   E                     Sale Process Related                  1.0                       Meetings and correspondence with potential buyers


Wednesday, October 9, 2019                 A                 General Case Administration               0.5                       VDR management, process and participant tracking


Wednesday, October 9, 2019                 B            Correspondence with Debtor and Other           1.0                   Advisors call and emails, communications with management
                                                                   Stakeholders
Wednesday, October 9, 2019                 C           Analysis, Presentations, and Due Diligence      2.0                        APA review and supporting diligence & analysis


Wednesday, October 9, 2019                 E                     Sale Process Related                  0.5                                       Update re: buyers


Thursday, October 10, 2019                 A                 General Case Administration               0.5                       VDR management, process and participant tracking


Thursday, October 10, 2019                 B            Correspondence with Debtor and Other           2.0                        Communications with management and advisors
                                                                   Stakeholders
Thursday, October 10, 2019                 C           Analysis, Presentations, and Due Diligence      3.5                        APA review and supporting diligence & analysis


Thursday, October 10, 2019                 D      Correspondence with Lenders / Financing Parties      0.5                                        DIP lender call


Thursday, October 10, 2019                 E                     Sale Process Related                  0.5                                  Calls with potential buyers


Friday, October 11, 2019                   A                 General Case Administration               0.5              Court hearing, VDR management, process and participant tracking


Friday, October 11, 2019                   B            Correspondence with Debtor and Other           1.0                                         Advisors call
                                                                   Stakeholders
Friday, October 11, 2019                   C           Analysis, Presentations, and Due Diligence      3.0                        APA review and supporting diligence & analysis


Friday, October 11, 2019                   E                     Sale Process Related                  3.5           Call with potential buyer, meeting at HL, and diligence communications


Saturday, October 12, 2019                 B            Correspondence with Debtor and Other           0.5                              Call with Management and Counsel
                                                                   Stakeholders
Saturday, October 12, 2019                 C           Analysis, Presentations, and Due Diligence      0.5                                Follow up re: APA open issues


Saturday, October 12, 2019                 D      Correspondence with Lenders / Financing Parties      1.0                              Exit lender diligence and discussion


Sunday, October 13, 2019                   C           Analysis, Presentations, and Due Diligence      2.0                                   Prepare APA summaries


Monday, October 14, 2019                   B            Correspondence with Debtor and Other           1.0                                 Wind-down budget discussion
                                                                   Stakeholders
Monday, October 14, 2019                   B            Correspondence with Debtor and Other           1.0                                          Board call
                                                                   Stakeholders
Monday, October 14, 2019                   D      Correspondence with Lenders / Financing Parties      1.0                                    Calls with DIP lenders


Monday, October 14, 2019                   E                     Sale Process Related                  0.5                               Prospective buyer calls and emails


Tuesday, October 15, 2019                  E                     Sale Process Related                  0.5                                    Prospective Buyer calls


Tuesday, October 15, 2019                  C           Analysis, Presentations, and Due Diligence      3.0                                          APA review


Wednesday, October 16, 2019                A                 General Case Administration               0.5                       VDR management, process and participant tracking
                                                  19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30      Main Document
                                                                                               Pg 71 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: John Kubinak
                           Total Hours: 379.0

                                                                                                         Task Reference Table
                                           A      General Case Administration
                                           B      Correspondence with Debtor and Other Stakeholders
                                           C      Analysis, Presentations, and Due Diligence
                                           D      Correspondence with Lenders / Financing Parties
                                           E      Sale Process Related
                                           F      Correspondence with UCC

               Input                      Input                                                       Input                                            Input
               Date                       Task                        Task Code                       Hours                                   Description of Activities
Wednesday, October 16, 2019                 C          Analysis, Presentations, and Due Diligence      1.0                                          Bid analysis


Wednesday, October 16, 2019                C           Analysis, Presentations, and Due Diligence      2.0                                           APA review


Thursday, October 17, 2019                 A                 General Case Administration               1.0                       VDR management, process and participant tracking


Thursday, October 17, 2019                 C           Analysis, Presentations, and Due Diligence      1.0                                     Buyer timeline analyses


Thursday, October 17, 2019                 E                     Sale Process Related                  1.0                       Conversations with potential buyers re: sale process


Friday, October 18, 2019                   A                 General Case Administration               1.5                       VDR management, process and participant tracking


Friday, October 18, 2019                   B            Correspondence with Debtor and Other           0.5                               Correspondence with management
                                                                   Stakeholders
Friday, October 18, 2019                   E                     Sale Process Related                  1.0        Calls with potential buyers and other stakeholders, related email communication


Saturday, October 19, 2019                 A                 General Case Administration               1.0                                  Process tracking and updates


Sunday, October 20, 2019                   A                 General Case Administration               1.0             VDR management, process and participant tracking, and news check


Sunday, October 20, 2019                   B            Correspondence with Debtor and Other           1.0                    Sale process / participant discussions with debtor advisors
                                                                   Stakeholders
Sunday, October 20, 2019                   E                     Sale Process Related                  1.0        Calls with potential buyers and other stakeholders, related email communication


Monday, October 21, 2019                   A                 General Case Administration               0.5                       Process tracking including hour log and news check


Monday, October 21, 2019                   B            Correspondence with Debtor and Other           1.0           Call with M-III, other communications with debtor advisors and landlords
                                                                   Stakeholders
Monday, October 21, 2019                   C           Analysis, Presentations, and Due Diligence      0.5                              Employee retention bid credit analysis


Monday, October 21, 2019                   E                     Sale Process Related                  1.0                              Process support with potential bidders


Tuesday, October 22, 2019                  A                 General Case Administration               0.5                            Process tracking, VDR administration, etc


Tuesday, October 22, 2019                  B            Correspondence with Debtor and Other           0.5                           Calls with management and other advisors
                                                                   Stakeholders
Tuesday, October 22, 2019                  C           Analysis, Presentations, and Due Diligence      0.5                             Severance analysis, rent deal summary


Tuesday, October 22, 2019                  E                     Sale Process Related                  2.0                             Calls and meeting with potential buyer


Wednesday, October 23, 2019                A                 General Case Administration               0.5                       VDR management, process and participant tracking


Wednesday, October 23, 2019                B            Correspondence with Debtor and Other           3.0                       Call with management, counsel, and other advisors
                                                                   Stakeholders
Wednesday, October 23, 2019                C           Analysis, Presentations, and Due Diligence      1.5                                    APA and realted analyses


Wednesday, October 23, 2019                D      Correspondence with Lenders / Financing Parties      0.5                                      Calls with DIP lenders


Wednesday, October 23, 2019                E                     Sale Process Related                  1.0                   Correspondence with potential buyers re: bids and deadlines


Thursday, October 24, 2019                 A                 General Case Administration               0.5                       VDR management, process and participant tracking
                                                  19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30      Main Document
                                                                                               Pg 72 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: John Kubinak
                           Total Hours: 379.0

                                                                                                         Task Reference Table
                                           A      General Case Administration
                                           B      Correspondence with Debtor and Other Stakeholders
                                           C      Analysis, Presentations, and Due Diligence
                                           D      Correspondence with Lenders / Financing Parties
                                           E      Sale Process Related
                                           F      Correspondence with UCC

                Input                     Input                                                       Input                                           Input
                Date                      Task                       Task Code                        Hours                                  Description of Activities
Thursday, October 24, 2019                  A                General Case Administration               0.5                                      Status conference


Thursday, October 24, 2019                 B            Correspondence with Debtor and Other           1.5                                         BOD meeting
                                                                   Stakeholders
Thursday, October 24, 2019                 C           Analysis, Presentations, and Due Diligence      2.0                                          Bid analyses


Thursday, October 24, 2019                 E                     Sale Process Related                  0.5                                    Follow-up with bidders


Friday, October 25, 2019                   A                 General Case Administration               0.5                       VDR management, process and participant tracking


Friday, October 25, 2019                   B            Correspondence with Debtor and Other           1.0                         Calls and other correspondence with advisors
                                                                   Stakeholders
Friday, October 25, 2019                   C           Analysis, Presentations, and Due Diligence      1.0                                  Transaction relates analyses


Friday, October 25, 2019                   E                     Sale Process Related                  1.0                       Calls and emails with potential buyer and advisors


Saturday, October 26, 2019                 C           Analysis, Presentations, and Due Diligence      2.0                        Financing and other diligence for potential buyer


Monday, October 28, 2019                   A                 General Case Administration               0.5      VDR management, process and participant tracking, news check, and hour log review


Monday, October 28, 2019                   B            Correspondence with Debtor and Other           0.5                              Communications with management
                                                                   Stakeholders
Monday, October 28, 2019                   C           Analysis, Presentations, and Due Diligence      0.5                                  Transaction related analyses


Monday, October 28, 2019                   D      Correspondence with Lenders / Financing Parties      0.5                           Misc. diligence and documentation review


Monday, October 28, 2019                   E                     Sale Process Related                  1.0                      Communication with potential buyers, including calls


Tuesday, October 29, 2019                  A                 General Case Administration               1.0                       VDR management, process and participant tracking


Tuesday, October 29, 2019                  B            Correspondence with Debtor and Other           1.0                        Misc. management and advisor communications
                                                                   Stakeholders
Tuesday, October 29, 2019                  C           Analysis, Presentations, and Due Diligence      1.0                                  Transaction related analyses


Tuesday, October 29, 2019                  E                     Sale Process Related                  0.5                              Communication with potential buyer


Wednesday, October 30, 2019                A                 General Case Administration               0.5                                Process and participant tracking


Wednesday, October 30, 2019                B            Correspondence with Debtor and Other           1.5                           Calls with counsel and other stakeholders
                                                                   Stakeholders
Wednesday, October 30, 2019                C           Analysis, Presentations, and Due Diligence      1.5                                  Transaction related analyses


Wednesday, October 30, 2019                E                     Sale Process Related                  1.0                             Calls and emails with potential buyers


Thursday, October 31, 2019                 A                 General Case Administration               1.0                                Process and participant tracking


Thursday, October 31, 2019                 B            Correspondence with Debtor and Other           0.5                                           BOD call
                                                                   Stakeholders
Thursday, October 31, 2019                 C           Analysis, Presentations, and Due Diligence      1.0                             Sale closing preparation and diligence


Thursday, October 31, 2019                 E                     Sale Process Related                  1.5                             Communications with potential buyer
                                                     19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                Pg 73 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Heidi Lee
                            Total Hours: 70.0

                                                                                                            Task Reference Table
                                             A       General Case Administration
                                             B       Correspondence with Debtor and Other Stakeholders
                                             C       Analysis, Presentations, and Due Diligence
                                             D       Correspondence with Lenders / Financing Parties
                                             E       Sale Process Related
                                             F       Correspondence with UCC

               Input                       Input                                                         Input                                          Input
                Date                       Task                        Task Code                         Hours                                 Description of Activities
Thursday, August 8, 2019                     C          Analysis, Presentations, and Due Diligence        1.5                                  CIM & Teaser preparation


Friday, August 16, 2019                      C          Analysis, Presentations, and Due Diligence        1.5                               Financial supplement preparation


Tuesday, August 20, 2019                     A                General Case Administration                 1.5                               Retention Application preparation


Saturday, August 24, 2019                    C          Analysis, Presentations, and Due Diligence        7.0                                     KEIP & DIP studies


Sunday, August 25, 2019                      C          Analysis, Presentations, and Due Diligence        7.0                           DIP study, KEIP comps, deposition prep


Monday, August 26, 2019                      C          Analysis, Presentations, and Due Diligence        6.0             Preparation for deposition, KEIP comps, DIP study, CIM comments


Tuesday, August 27, 2019                     B           Correspondence with Debtor and Other             4.0                                    Deposition preparation
                                                                    Stakeholders
Tuesday, August 27, 2019                     C          Analysis, Presentations, and Due Diligence        1.0                           Due diligence, KEIP comps, CIM updates


Wednesday, August 28, 2019                   A                General Case Administration                 4.0                          Depositions of Saul Burian and Holly Etlin


Wednesday, August 28, 2019                   C          Analysis, Presentations, and Due Diligence        4.0                                Due diligence and DIP comps


Thursday, August 29, 2019                    C          Analysis, Presentations, and Due Diligence        4.0                                   Presentation preparation


Friday, August 30, 2019                      C          Analysis, Presentations, and Due Diligence        4.0                         DIP comps discussion and subsequent analysis


Saturday, August 31, 2019                    C          Analysis, Presentations, and Due Diligence        1.5                                      DIP comps analysis


Tuesday, September 3, 2019                   E                    Sale Process Related                    1.0                 NDAs, buyer outreach assessment, internal process catchup


Tuesday, September 3, 2019                   C          Analysis, Presentations, and Due Diligence        1.0                                         CIM updates


Tuesday, September 3, 2019                   C          Analysis, Presentations, and Due Diligence        2.0                              UCC meeting materials preparation


Wednesday, September 4, 2019                 E                    Sale Process Related                    1.0                            Misc. analysis related to buyer request


Thursday, September 5, 2019                  D       Correspondence with Lenders / Financing Parties      1.0                                    DIP lender update call


Tuesday, September 10, 2019                  E                    Sale Process Related                    2.0              Buyer tracking, NDAs, VDR access, meeting materials preparation


Tuesday, September 10, 2019                  F                 Correspondence with UCC                    0.5                  UCC call, sale process update, and other correspondence


Wednesday, September 11, 2019                E                    Sale Process Related                    1.0                                        Buyer outreach


Wednesday, September 11, 2019                E                    Sale Process Related                    3.0              Buyer tracking, NDAs, VDR access, meeting materials preparation


Friday, September 13, 2019                   E                    Sale Process Related                    1.0                         Buyer outreach including diligence responses


Saturday, September 14, 2019                 C          Analysis, Presentations, and Due Diligence        3.0                               Meeting presentation preparation


Thursday, September 19, 2019                 C          Analysis, Presentations, and Due Diligence        5.0                                    Prepare buyer diligence


Thursday, September 19, 2019                 F                 Correspondence with UCC                    0.5                                      Weekly UCC Call
                                                    19-36300-cgm      Doc 554    Filed 11/25/19 Entered 11/25/19 21:01:30         Main Document
                                                                                              Pg 74 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Heidi Lee
                           Total Hours: 70.0

                                                                                                           Task Reference Table
                                            A       General Case Administration
                                            B       Correspondence with Debtor and Other Stakeholders
                                            C       Analysis, Presentations, and Due Diligence
                                            D       Correspondence with Lenders / Financing Parties
                                            E       Sale Process Related
                                            F       Correspondence with UCC

                Input                     Input                                                         Input                                        Input
                Date                      Task                       Task Code                          Hours                               Description of Activities
Thursday, September 19, 2019                D       Correspondence with Lenders / Financing Parties      0.5                                Weekly DIP Lender Call


Sunday, October 13, 2019                    B           Correspondence with Debtor and Other             0.5                                 Sale process update call
                                                                   Stakeholders
                                                        19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                   Pg 75 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Miles Powell
                            Total Hours: 368.5

                                                                                                               Task Reference Table
                                             A          General Case Administration
                                             B          Correspondence with Debtor and Other Stakeholders
                                             C          Analysis, Presentations, and Due Diligence
                                             D          Correspondence with Lenders / Financing Parties
                                             E          Sale Process Related
                                             F          Correspondence with UCC

               Input                        Input                                                           Input                                           Input
               Date                         Task                          Task Code                         Hours                                  Description of Activities
Monday, August 12, 2019                       E                      Sale Process Related                    0.5                                   NDAs and data room work


Monday, August 12, 2019                      C             Analysis, Presentations, and Due Diligence        5.0                                Dockets and presentations review


Tuesday, August 13, 2019                     D          Correspondence with Lenders / Financing Parties      0.5                                            DIP call


Tuesday, August 13, 2019                     B              Correspondence with Debtor and Other             1.0                                       Coordination calls
                                                                       Stakeholders
Tuesday, August 13, 2019                     C             Analysis, Presentations, and Due Diligence        2.0                                Dockets and presentations review


Tuesday, August 13, 2019                     E                       Sale Process Related                    1.5                             Calls and emails with potential buyers


Wednesday, August 14, 2019                   E                       Sale Process Related                    0.5                                NDAs and other buyer outreach


Wednesday, August 14, 2019                   C             Analysis, Presentations, and Due Diligence        4.0                                Dockets and presentations review


Thursday, August 15, 2019                    A                   General Case Administration                 1.0                        VDR access and other case administrative items


Thursday, August 15, 2019                    E                       Sale Process Related                    0.5              Intro call with potential acquirer and other buyer communications


Thursday, August 15, 2019                    C             Analysis, Presentations, and Due Diligence        2.5                                Dockets and presentations review


Friday, August 16, 2019                      F                    Correspondence with UCC                    1.0                                UCC kickoff call and data room


Friday, August 16, 2019                      C             Analysis, Presentations, and Due Diligence        4.0                                Financial supplement preparation


Saturday, August 17, 2019                    B              Correspondence with Debtor and Other             0.5              Incentive comp discussion and implementation timeline discussion
                                                                       Stakeholders
Monday, August 19, 2019                      C             Analysis, Presentations, and Due Diligence        2.0                                Financial supplement preparation


Monday, August 19, 2019                      E                       Sale Process Related                    1.0                                    NDAs, data room access


Tuesday, August 20, 2019                     C             Analysis, Presentations, and Due Diligence        2.0                       Miscellaneous analysis and presentation preparation


Tuesday, August 20, 2019                     E                       Sale Process Related                    0.5                               NDAs, CIM, and data room access


Tuesday, August 20, 2019                     B              Correspondence with Debtor and Other             2.0                          Discuss buyers and process with management
                                                                       Stakeholders
Wednesday, August 21, 2019                   A                   General Case Administration                 1.0                                 Utilities/bid procedures hearing


Wednesday, August 21, 2019                   E                       Sale Process Related                    2.5                          Internal sale process analysis and discussion


Thursday, August 22, 2019                    E                       Sale Process Related                    2.0                              NDA tracking, data room access, etc.


Thursday, August 22, 2019                    D          Correspondence with Lenders / Financing Parties      0.5                                         DIP lender call


Thursday, August 22, 2019                    E                       Sale Process Related                    1.0         Scheduling & diligence correspondence with potential buyers; other outreach


Friday, August 23, 2019                      C             Analysis, Presentations, and Due Diligence        4.0                                  Due diligence, KEIP comps


Friday, August 23, 2019                      E                       Sale Process Related                    1.5                              NDA tracking, data room access, etc.
                                                        19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                   Pg 76 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Miles Powell
                            Total Hours: 368.5

                                                                                                               Task Reference Table
                                             A          General Case Administration
                                             B          Correspondence with Debtor and Other Stakeholders
                                             C          Analysis, Presentations, and Due Diligence
                                             D          Correspondence with Lenders / Financing Parties
                                             E          Sale Process Related
                                             F          Correspondence with UCC

                Input                       Input                                                           Input                                          Input
                Date                        Task                          Task Code                         Hours                                 Description of Activities
Saturday, August 24, 2019                     C            Analysis, Presentations, and Due Diligence        9.0                                    KEIP & DIP studies


Sunday, August 25, 2019                      C             Analysis, Presentations, and Due Diligence        9.0                           DIP study, KEIP comps, deposition prep


Monday, August 26, 2019                      C             Analysis, Presentations, and Due Diligence        4.0             Preparation for deposition, KEIP comps, DIP study, CIM comments


Tuesday, August 27, 2019                     B              Correspondence with Debtor and Other             1.0                                    Deposition preparation
                                                                       Stakeholders
Tuesday, August 27, 2019                     C             Analysis, Presentations, and Due Diligence        2.0                           Due diligence, KEIP comps, CIM updates


Tuesday, August 27, 2019                     E                       Sale Process Related                    0.5                                   NDAs and VDR access


Tuesday, August 27, 2019                     B              Correspondence with Debtor and Other             0.5                            Sale process updates with management
                                                                       Stakeholders
Wednesday, August 28, 2019                   A                   General Case Administration                 3.0                          Depositions of Saul Burian and Holly Etlin


Wednesday, August 28, 2019                   C             Analysis, Presentations, and Due Diligence        2.0                                Due diligence and DIP comps


Thursday, August 29, 2019                    C             Analysis, Presentations, and Due Diligence        2.0                                   Presentation preparation


Thursday, August 29, 2019                    D          Correspondence with Lenders / Financing Parties      0.5                                 DIP lender communications


Thursday, August 29, 2019                    C             Analysis, Presentations, and Due Diligence        0.5                                         KEIP comps


Friday, August 30, 2019                      E                       Sale Process Related                    2.0                                   Buyer diligence & calls


Friday, August 30, 2019                      C             Analysis, Presentations, and Due Diligence        2.5                         DIP comps discussion and subsequent analysis


Sunday, September 1, 2019                    E                       Sale Process Related                    0.5                              Buyer outreach, diligence & NDAs


Tuesday, September 3, 2019                   B              Correspondence with Debtor and Other             1.0                Sale process updates and calls with management and advisors
                                                                       Stakeholders
Tuesday, September 3, 2019                   E                       Sale Process Related                    1.0                 NDAs, buyer outreach assessment, internal process catchup


Tuesday, September 3, 2019                   E                       Sale Process Related                    1.5                                 Due diligence and buyer calls


Tuesday, September 3, 2019                   C             Analysis, Presentations, and Due Diligence        1.5                                         CIM updates


Wednesday, September 4, 2019                 C             Analysis, Presentations, and Due Diligence        1.0                 UCC meeting preparation (including deck) and CIM updates


Wednesday, September 4, 2019                 E                       Sale Process Related                    2.0                              Buyer tracking, NDAs, VDR access


Thursday, September 5, 2019                  C             Analysis, Presentations, and Due Diligence        0.5                              UCC meeting materials preparation


Thursday, September 5, 2019                  E                       Sale Process Related                    2.0                              Buyer tracking, NDAs, VDR access


Thursday, September 5, 2019                  D          Correspondence with Lenders / Financing Parties      1.0                                    DIP lender update call


Friday, September 6, 2019                    E                       Sale Process Related                    2.0                              Buyer tracking, NDAs, VDR access


Friday, September 6, 2019                    E                       Sale Process Related                    1.0                                 Buyer outreach and diligence
                                                        19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                   Pg 77 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Miles Powell
                            Total Hours: 368.5

                                                                                                               Task Reference Table
                                             A          General Case Administration
                                             B          Correspondence with Debtor and Other Stakeholders
                                             C          Analysis, Presentations, and Due Diligence
                                             D          Correspondence with Lenders / Financing Parties
                                             E          Sale Process Related
                                             F          Correspondence with UCC

                Input                       Input                                                           Input                                          Input
                Date                        Task                        Task Code                           Hours                                 Description of Activities
Friday, September 6, 2019                     B             Correspondence with Debtor and Other             0.5                                     Call with landlord
                                                                       Stakeholders
Friday, September 6, 2019                    C             Analysis, Presentations, and Due Diligence        2.0                             Transaction supplement preparation


Saturday, September 7, 2019                  C             Analysis, Presentations, and Due Diligence        3.0                             Transaction supplement preparation


Sunday, September 8, 2019                    A                   General Case Administration                 0.5                                        Buyer tracking


Monday, September 9, 2019                    F                    Correspondence with UCC                    1.5                                           UCC call


Monday, September 9, 2019                    E                       Sale Process Related                    2.0                             Buyer tracking, NDAs, VDR access


Tuesday, September 10, 2019                  E                       Sale Process Related                    4.5              Buyer tracking, NDAs, VDR access, meeting materials preparation


Tuesday, September 10, 2019                  B              Correspondence with Debtor and Other             0.5                                Communications with Barneys
                                                                       Stakeholders
Tuesday, September 10, 2019                  D          Correspondence with Lenders / Financing Parties      0.5                  Call with potential exit lender and related communications


Tuesday, September 10, 2019                  E                       Sale Process Related                    0.5                                        Buyer outreach


Tuesday, September 10, 2019                  F                    Correspondence with UCC                    0.5                   UCC call, sale process update, and other correspondence


Wednesday, September 11, 2019                E                       Sale Process Related                    0.5                                        Buyer outreach


Wednesday, September 11, 2019                E                       Sale Process Related                    6.0              Buyer tracking, NDAs, VDR access, meeting materials preparation


Thursday, September 12, 2019                 E                       Sale Process Related                    3.0             Diligence meeting with prospective acquirer and other buyer outreach


Thursday, September 12, 2019                 E                       Sale Process Related                    2.0      Buyer tracking, NDAs, VDR access, meeting materials preparation, and retention app
                                                                                                                                                          work
Thursday, September 12, 2019                 D          Correspondence with Lenders / Financing Parties      1.0                           Communications with existing creditors


Friday, September 13, 2019                   E                       Sale Process Related                    1.0                         Buyer outreach including diligence responses


Friday, September 13, 2019                   F                    Correspondence with UCC                    1.0                                 Communications with UCC


Friday, September 13, 2019                   E                       Sale Process Related                    5.0                    Buyer tracking, NDAs, VDR access, and process letters


Friday, September 13, 2019                   B              Correspondence with Debtor and Other             0.5                    Communications with management and debtor advisors
                                                                       Stakeholders
Saturday, September 14, 2019                 C             Analysis, Presentations, and Due Diligence        1.0                                  Calls re: KEIP declaration


Sunday, September 15, 2019                   E                       Sale Process Related                    1.0                                      Buyer diligence call


Monday, September 16, 2019                   E                       Sale Process Related                    2.0                 Buyer tracking, NDAs, VDR access, and materials preparation


Monday, September 16, 2019                   B              Correspondence with Debtor and Other             0.5     Communications with management and debtor advisors, incl. diligence call & landlord
                                                                       Stakeholders                                                                    meeting
Monday, September 16, 2019                   C             Analysis, Presentations, and Due Diligence        1.0                                  Rent and related analyses


Monday, September 16, 2019                   E                       Sale Process Related                    0.5                                   Call with potential buyer
                                                    19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                               Pg 78 of 90




Barneys New York
Houlihan Lokey Time Sheet

                          Hours for: Miles Powell
                        Total Hours: 368.5

                                                                                                           Task Reference Table
                                         A          General Case Administration
                                         B          Correspondence with Debtor and Other Stakeholders
                                         C          Analysis, Presentations, and Due Diligence
                                         D          Correspondence with Lenders / Financing Parties
                                         E          Sale Process Related
                                         F          Correspondence with UCC

               Input                    Input                                                           Input                                         Input
               Date                     Task                          Task Code                         Hours                                Description of Activities
Tuesday, September 17, 2019               E                      Sale Process Related                    3.0                Buyer tracking, NDAs, VDR access, and materials preparation


Wednesday, September 18, 2019            E                       Sale Process Related                    1.0               Buyer tracking, NDAs, VDR access, and retention order review


Wednesday, September 18, 2019            C             Analysis, Presentations, and Due Diligence        2.0                                        Buyer diligence


Wednesday, September 18, 2019            E                       Sale Process Related                    2.0         Meeting with potential buyer and misc. outreach re: scheduling and diligence


Wednesday, September 18, 2019            C             Analysis, Presentations, and Due Diligence        2.5               Internal diligence review, including sale process summary update


Thursday, September 19, 2019             E                       Sale Process Related                    1.0                      Buyer tracking, NDAs, VDR access, and hour tracking


Thursday, September 19, 2019             C             Analysis, Presentations, and Due Diligence        5.0                                    Prepare buyer diligence


Thursday, September 19, 2019             F                    Correspondence with UCC                    0.5                                       Weekly UCC Call


Thursday, September 19, 2019             D          Correspondence with Lenders / Financing Parties      0.5                                   Weekly DIP Lender Call


Friday, September 20, 2019               E                       Sale Process Related                    1.0                            Buyer tracking, NDAs, and VDR access


Friday, September 20, 2019               E                       Sale Process Related                    3.0                          Buyer meeting, diligence, and other outreach


Friday, September 20, 2019               B              Correspondence with Debtor and Other             0.5                 Diligence call with debtor advisors, sale process discussions
                                                                   Stakeholders
Saturday, September 21, 2019             E                       Sale Process Related                    0.5                            Buyer tracking, NDAs, and VDR access


Saturday, September 21, 2019             C             Analysis, Presentations, and Due Diligence        2.0          Historical adjustments, model refinements and updates, and docket review


Sunday, September 22, 2019               E                       Sale Process Related                    0.5                                  Buyer and diligence tracking


Monday, September 23, 2019               E                       Sale Process Related                    1.5                         Buyer tracking, VDR access, and hour tracking


Monday, September 23, 2019               B              Correspondence with Debtor and Other             0.5           Management and debtor advisor communications, including diligence call
                                                                   Stakeholders
Monday, September 23, 2019               C             Analysis, Presentations, and Due Diligence        0.5                                   Internal diligence review


Monday, September 23, 2019               D          Correspondence with Lenders / Financing Parties      1.0                               Correspondence with DIP lenders


Monday, September 23, 2019               E                       Sale Process Related                    0.5                            Buyer outreach, including due diligence


Tuesday, September 24, 2019              E                       Sale Process Related                    1.0                               Buyer tracking, NDA tracking, etc.


Tuesday, September 24, 2019              B              Correspondence with Debtor and Other             1.5            Correspondence with advisor, board members, and other stakeholders
                                                                   Stakeholders
Tuesday, September 24, 2019              C             Analysis, Presentations, and Due Diligence        1.5                                       Financial analysis


Tuesday, September 24, 2019              D          Correspondence with Lenders / Financing Parties      0.5                                   Call with potential lender


Tuesday, September 24, 2019              E                       Sale Process Related                    1.5                                     Buyer calls and emails


Wednesday, September 25, 2019            E                       Sale Process Related                    1.0                               Buyer tracking, NDA tracking, etc.
                                                       19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                  Pg 79 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Miles Powell
                           Total Hours: 368.5

                                                                                                              Task Reference Table
                                            A          General Case Administration
                                            B          Correspondence with Debtor and Other Stakeholders
                                            C          Analysis, Presentations, and Due Diligence
                                            D          Correspondence with Lenders / Financing Parties
                                            E          Sale Process Related
                                            F          Correspondence with UCC

               Input                       Input                                                           Input                                           Input
               Date                        Task                          Task Code                         Hours                                Description of Activities
Wednesday, September 25, 2019                E                      Sale Process Related                    2.5            Potential buyer communications, including diligence, and buyer meetings


Wednesday, September 25, 2019               E                       Sale Process Related                    1.0                                           Review LOIs


Thursday, September 26, 2019                A                   General Case Administration                 1.0                                    Buyer and process tracking


Thursday, September 26, 2019                C             Analysis, Presentations, and Due Diligence        2.0                            Diligence including business plan analysis


Thursday, September 26, 2019                D          Correspondence with Lenders / Financing Parties      0.5         Potential lender diligence call, DIP communications excluding potential buyer


Thursday, September 26, 2019                E                       Sale Process Related                    2.0              Meetings and calls with potential buyers, landlords, and DIP lenders


Friday, September 27, 2019                  A                   General Case Administration                 1.0                                    Buyer and process tracking


Friday, September 27, 2019                  C             Analysis, Presentations, and Due Diligence        2.0                            Diligence including business plan analysis


Friday, September 27, 2019                  E                       Sale Process Related                    0.5                           Potential buyer calls and diligence meeting


Saturday, September 28, 2019                E                       Sale Process Related                    1.0                                         Buyer diligence


Sunday, September 29, 2019                  D          Correspondence with Lenders / Financing Parties      1.0                                DIP analysis and correspondence


Sunday, September 29, 2019                  E                       Sale Process Related                    0.5                 Diligence and scheduling communications with potential buyer


Monday, September 30, 2019                  A                   General Case Administration                 1.0                                        Buyer tracking etc.


Monday, September 30, 2019                  C             Analysis, Presentations, and Due Diligence        3.0                           Rent concession economics, other diligence


Tuesday, October 1, 2019                    A                   General Case Administration                 1.0                          Buyer tracking and other process organization


Tuesday, October 1, 2019                    C             Analysis, Presentations, and Due Diligence        2.0                             Due diligence, rent negotiation analyses


Tuesday, October 1, 2019                    D          Correspondence with Lenders / Financing Parties      0.5                       Process update call and emails re: rent negotiations


Tuesday, October 1, 2019                    E                       Sale Process Related                    1.5     Full review of correspondence over the Holiday and status update re: each workstream


Wednesday, October 2, 2019                  A                   General Case Administration                 1.0                                      Misc. process tracking


Wednesday, October 2, 2019                  C             Analysis, Presentations, and Due Diligence        4.0      Preparation for court, materials prep for buyer trip, rent negotiation comparisons, etc.


Wednesday, October 2, 2019                  D          Correspondence with Lenders / Financing Parties      0.5                            Calls with DIP lenders and other creditors


Wednesday, October 2, 2019                  E                       Sale Process Related                    1.0                            Communications with potential acquirers


Thursday, October 3, 2019                   A                   General Case Administration                 2.0                        Court hearing, process update and buyer tracking


Thursday, October 3, 2019                   B              Correspondence with Debtor and Other             0.5                              Advisors calls (landlord negotiations)
                                                                      Stakeholders
Thursday, October 3, 2019                   C             Analysis, Presentations, and Due Diligence        1.0                       Rent negotiation comparison outputs and diligence


Thursday, October 3, 2019                   E                       Sale Process Related                    1.0                Meeting and correspondence with potential acquirers (incl. travel)
                                                        19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                   Pg 80 of 90




Barneys New York
Houlihan Lokey Time Sheet

                              Hours for: Miles Powell
                            Total Hours: 368.5

                                                                                                               Task Reference Table
                                             A          General Case Administration
                                             B          Correspondence with Debtor and Other Stakeholders
                                             C          Analysis, Presentations, and Due Diligence
                                             D          Correspondence with Lenders / Financing Parties
                                             E          Sale Process Related
                                             F          Correspondence with UCC

                 Input                      Input                                                           Input                                            Input
                 Date                       Task                          Task Code                         Hours                                  Description of Activities
Friday, October 4, 2019                       E                      Sale Process Related                    1.0                            Buyer tracking, VDR access, NDAs, etc.


Friday, October 4, 2019                      B              Correspondence with Debtor and Other             0.5                       Meetings and calls with management and advisors
                                                                       Stakeholders
Friday, October 4, 2019                      C             Analysis, Presentations, and Due Diligence        3.5                 Sale process update and misc. analyses for buyer diligence


Saturday, October 5, 2019                    E                       Sale Process Related                    0.5                      Call and other communications with potential buyers


Sunday, October 6, 2019                      C             Analysis, Presentations, and Due Diligence        1.0                                          Diligence


Sunday, October 6, 2019                      C             Analysis, Presentations, and Due Diligence        1.0                                 Update open items and results


Sunday, October 6, 2019                      D          Correspondence with Lenders / Financing Parties      0.5                                     Call with DIP lenders


Monday, October 7, 2019                      A                   General Case Administration                 3.5                       VDR management, process and participant tracking


Monday, October 7, 2019                      B              Correspondence with Debtor and Other             1.5                       Advisors, management, and board calls and emails
                                                                       Stakeholders
Monday, October 7, 2019                      C             Analysis, Presentations, and Due Diligence        2.0                        APA review and supporting diligence & analysis


Monday, October 7, 2019                      D          Correspondence with Lenders / Financing Parties      1.0                 Communications with DIP lenders and potential exit lenders


Tuesday, October 8, 2019                     A                   General Case Administration                 1.5                       VDR management, process and participant tracking


Tuesday, October 8, 2019                     B              Correspondence with Debtor and Other             0.5                                       Management call
                                                                       Stakeholders
Tuesday, October 8, 2019                     C             Analysis, Presentations, and Due Diligence        1.0                        APA review and supporting diligence & analysis


Tuesday, October 8, 2019                     D          Correspondence with Lenders / Financing Parties      0.5                                        DIP lender call


Tuesday, October 8, 2019                     E                       Sale Process Related                    1.5                       Meetings and correspondence with potential buyers


Wednesday, October 9, 2019                   A                   General Case Administration                 2.5                       VDR management, process and participant tracking


Wednesday, October 9, 2019                   B              Correspondence with Debtor and Other             1.0                 Advisors call and emails, communications with management
                                                                       Stakeholders
Wednesday, October 9, 2019                   C             Analysis, Presentations, and Due Diligence        1.5                        APA review and supporting diligence & analysis


Wednesday, October 9, 2019                   E                       Sale Process Related                    1.0                                       Update re: buyers


Thursday, October 10, 2019                   A                   General Case Administration                 2.5                       VDR management, process and participant tracking


Thursday, October 10, 2019                   B              Correspondence with Debtor and Other             2.0                        Communications with management and advisors
                                                                       Stakeholders
Thursday, October 10, 2019                   C             Analysis, Presentations, and Due Diligence        3.5                        APA review and supporting diligence & analysis


Thursday, October 10, 2019                   D          Correspondence with Lenders / Financing Parties      0.5                                        DIP lender call


Thursday, October 10, 2019                   E                       Sale Process Related                    0.5                                  Calls with potential buyers


Friday, October 11, 2019                     A                   General Case Administration                 2.5              Court hearing, VDR management, process and participant tracking
                                                       19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                  Pg 81 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Miles Powell
                           Total Hours: 368.5

                                                                                                              Task Reference Table
                                            A          General Case Administration
                                            B          Correspondence with Debtor and Other Stakeholders
                                            C          Analysis, Presentations, and Due Diligence
                                            D          Correspondence with Lenders / Financing Parties
                                            E          Sale Process Related
                                            F          Correspondence with UCC

                 Input                     Input                                                           Input                                            Input
                 Date                      Task                        Task Code                           Hours                                   Description of Activities
Friday, October 11, 2019                     B             Correspondence with Debtor and Other             1.0                                         Advisors call
                                                                      Stakeholders
Friday, October 11, 2019                    C             Analysis, Presentations, and Due Diligence        3.0                        APA review and supporting diligence & analysis


Friday, October 11, 2019                    E                       Sale Process Related                    3.5           Call with potential buyer, meeting at HL, and diligence communications


Saturday, October 12, 2019                  A                   General Case Administration                 1.0                       VDR management, process and participant tracking


Saturday, October 12, 2019                  C             Analysis, Presentations, and Due Diligence        1.0                                 Follow up re: APA open issues


Sunday, October 13, 2019                    A                   General Case Administration                 2.0                                  Process tracking and updates


Sunday, October 13, 2019                    B              Correspondence with Debtor and Other             0.5                                     Sale process update call
                                                                      Stakeholders
Monday, October 14, 2019                    A                   General Case Administration                 1.0                       VDR management, process and participant tracking


Monday, October 14, 2019                    C             Analysis, Presentations, and Due Diligence        3.0                                          APA review


Monday, October 14, 2019                    B              Correspondence with Debtor and Other             1.0                                 Wind-down budget discussion
                                                                      Stakeholders
Monday, October 14, 2019                    B              Correspondence with Debtor and Other             1.0                                           Board call
                                                                      Stakeholders
Monday, October 14, 2019                    E                       Sale Process Related                    0.5                               Prospective buyer calls and emails


Tuesday, October 15, 2019                   A                   General Case Administration                 1.0                       VDR management, process and participant tracking


Tuesday, October 15, 2019                   E                       Sale Process Related                    2.0                        Calls re: APA and catch-up following the Holiday


Tuesday, October 15, 2019                   E                       Sale Process Related                    0.5                                     Prospective Buyer calls


Tuesday, October 15, 2019                   B              Correspondence with Debtor and Other             1.5                           Wind-down budget discussion and analysis
                                                                      Stakeholders
Tuesday, October 15, 2019                   C             Analysis, Presentations, and Due Diligence        3.0                                          APA review


Wednesday, October 16, 2019                 A                   General Case Administration                 1.0                       VDR management, process and participant tracking


Wednesday, October 16, 2019                 C             Analysis, Presentations, and Due Diligence        3.0                                          Bid analysis


Wednesday, October 16, 2019                 C             Analysis, Presentations, and Due Diligence        2.0                                          APA review


Wednesday, October 16, 2019                 E                       Sale Process Related                                                    APA and other buyer communications


Thursday, October 17, 2019                  A                   General Case Administration                 1.5                       VDR management, process and participant tracking


Thursday, October 17, 2019                  C             Analysis, Presentations, and Due Diligence        1.5                                     Buyer timeline analyses


Thursday, October 17, 2019                  E                       Sale Process Related                    1.0                       Conversations with potential buyers re: sale process


Friday, October 18, 2019                    A                   General Case Administration                 6.5                       VDR management, process and participant tracking


Friday, October 18, 2019                    C             Analysis, Presentations, and Due Diligence        0.5                                 Inventory by location analysis
                                                       19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                  Pg 82 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Miles Powell
                           Total Hours: 368.5

                                                                                                              Task Reference Table
                                            A          General Case Administration
                                            B          Correspondence with Debtor and Other Stakeholders
                                            C          Analysis, Presentations, and Due Diligence
                                            D          Correspondence with Lenders / Financing Parties
                                            E          Sale Process Related
                                            F          Correspondence with UCC

                 Input                     Input                                                           Input                                             Input
                 Date                      Task                          Task Code                         Hours                                   Description of Activities
Friday, October 18, 2019                     E                      Sale Process Related                    1.5        Calls with potential buyers and other stakeholders, related email communication


Saturday, October 19, 2019                  A                   General Case Administration                 2.0                                 Process tracking and updates


Saturday, October 19, 2019                  A                   General Case Administration                 0.5             VDR management, process and participant tracking, and news check


Sunday, October 20, 2019                    A                   General Case Administration                 0.5             VDR management, process and participant tracking, and news check


Monday, October 21, 2019                    A                   General Case Administration                 3.0                       Process tracking including hour log and news check


Monday, October 21, 2019                    C             Analysis, Presentations, and Due Diligence        3.5                             Employee retention bid credit analysis


Tuesday, October 22, 2019                   A                   General Case Administration                 1.5                           Process tracking, VDR administration, etc


Tuesday, October 22, 2019                   B              Correspondence with Debtor and Other             0.5                           Calls with management and other advisors
                                                                      Stakeholders
Tuesday, October 22, 2019                   C             Analysis, Presentations, and Due Diligence        1.0                             Severance analysis, rent deal summary


Tuesday, October 22, 2019                   E                       Sale Process Related                    1.0                             Calls and meeting with potential buyer


Wednesday, October 23, 2019                 A                   General Case Administration                 3.5                       VDR management, process and participant tracking


Wednesday, October 23, 2019                 B              Correspondence with Debtor and Other             1.5                       Call with management, counsel, and other advisors
                                                                      Stakeholders
Wednesday, October 23, 2019                 C             Analysis, Presentations, and Due Diligence        4.0                                   APA and realted analyses


Wednesday, October 23, 2019                 D          Correspondence with Lenders / Financing Parties      0.5                                     Calls with DIP lenders


Wednesday, October 23, 2019                 E                       Sale Process Related                    2.5                 Correspondence with potential buyers re: bids and deadlines


Thursday, October 24, 2019                  A                   General Case Administration                 1.5                       VDR management, process and participant tracking


Thursday, October 24, 2019                  A                   General Case Administration                 0.5                                       Status conference


Thursday, October 24, 2019                  B              Correspondence with Debtor and Other             1.5                                         BOD meeting
                                                                      Stakeholders
Thursday, October 24, 2019                  C             Analysis, Presentations, and Due Diligence        1.0                                         Bid analyses


Thursday, October 24, 2019                  E                       Sale Process Related                    0.5                                    Follow-up with bidders


Friday, October 25, 2019                    A                   General Case Administration                 1.5                       VDR management, process and participant tracking


Friday, October 25, 2019                    B              Correspondence with Debtor and Other             1.0                          Calls and other correspondence with advisors
                                                                      Stakeholders
Friday, October 25, 2019                    C             Analysis, Presentations, and Due Diligence        2.5                                  Transaction relates analyses


Friday, October 25, 2019                    E                       Sale Process Related                    0.5                       Calls and emails with potential buyer and advisors


Saturday, October 26, 2019                  A                   General Case Administration                 1.0                       VDR management, process and participant tracking


Saturday, October 26, 2019                  B              Correspondence with Debtor and Other             0.5                        Correspondence with management and advisors
                                                                      Stakeholders
                                                       19-36300-cgm      Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                                  Pg 83 of 90




Barneys New York
Houlihan Lokey Time Sheet

                             Hours for: Miles Powell
                           Total Hours: 368.5

                                                                                                              Task Reference Table
                                            A          General Case Administration
                                            B          Correspondence with Debtor and Other Stakeholders
                                            C          Analysis, Presentations, and Due Diligence
                                            D          Correspondence with Lenders / Financing Parties
                                            E          Sale Process Related
                                            F          Correspondence with UCC

                Input                      Input                                                           Input                                            Input
                Date                       Task                          Task Code                         Hours                                  Description of Activities
Saturday, October 26, 2019                   C            Analysis, Presentations, and Due Diligence        3.0                        Financing and other diligence for potential buyer


Saturday, October 26, 2019                  E                       Sale Process Related                    0.5                              Correspondence with potential buyer


Sunday, October 27, 2019                    A                   General Case Administration                 1.0             VDR management, process and participant tracking, and news check


Monday, October 28, 2019                    A                   General Case Administration                 4.0      VDR management, process and participant tracking, news check, and hour log review


Monday, October 28, 2019                    B              Correspondence with Debtor and Other             0.5                              Communications with management
                                                                      Stakeholders
Monday, October 28, 2019                    C             Analysis, Presentations, and Due Diligence        1.0                                  Transaction related analyses


Monday, October 28, 2019                    D          Correspondence with Lenders / Financing Parties      2.0                           Misc. diligence and documentation review


Monday, October 28, 2019                    E                       Sale Process Related                    1.0                      Communication with potential buyers, including calls


Tuesday, October 29, 2019                   A                   General Case Administration                 2.0                       VDR management, process and participant tracking


Tuesday, October 29, 2019                   B              Correspondence with Debtor and Other             1.5                        Misc. management and advisor communications
                                                                      Stakeholders
Tuesday, October 29, 2019                   C             Analysis, Presentations, and Due Diligence        2.0                           Misc. diligence and documentation review


Tuesday, October 29, 2019                   C             Analysis, Presentations, and Due Diligence        2.0                                  Transaction related analyses


Tuesday, October 29, 2019                   E                       Sale Process Related                    0.5                              Communication with potential buyer


Wednesday, October 30, 2019                 A                   General Case Administration                 2.0                                Process and participant tracking


Wednesday, October 30, 2019                 B              Correspondence with Debtor and Other             1.5                           Calls with counsel and other stakeholders
                                                                      Stakeholders
Wednesday, October 30, 2019                 C             Analysis, Presentations, and Due Diligence        5.5                                  Transaction related analyses


Wednesday, October 30, 2019                 D          Correspondence with Lenders / Financing Parties      0.5                   Calls with DIP lenders and related email communications


Wednesday, October 30, 2019                 E                       Sale Process Related                    1.0                             Calls and emails with potential buyers


Thursday, October 31, 2019                  A                   General Case Administration                 1.0                                Process and participant tracking


Thursday, October 31, 2019                  B              Correspondence with Debtor and Other             0.5                                           BOD call
                                                                      Stakeholders
Thursday, October 31, 2019                  C             Analysis, Presentations, and Due Diligence        2.0                             Sale closing preparation and diligence


Thursday, October 31, 2019                  E                       Sale Process Related                    1.5                             Communications with potential buyer
19-36300-cgm   Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30   Main Document
                                      Pg 84 of 90


                                   EXHIBIT D

                              EXPENSE SUMMARY
               19-36300-cgm      Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30         Main Document
                                                        Pg 85 of 90


Barneys New York, Inc.                                                          Houlihan Lokey Capital, Inc.
Out-of-Pocket Expenses Summary


                                    Out-of-Pocket Expenses Summary
                                    August 6, 2019 - October 31, 2019

                          Airfare                                   $9,636.43
                          Ground Transportation                      5,405.36
                          Lodging                                     1,314.2
                          Telephone and Data                           565.80
                          Travel and Overtime Meals                  4,514.39
                          Total Out-of-Pocket Expenses             $21,436.16
                                                      19-36300-cgm    Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                                                             Pg 86 of 90



Barneys New York, Inc.                                                                                                                                            Houlihan Lokey Capital, Inc.
Out-of-Pocket Detailed Expenses - August 6, 2019 - October 31, 2019

    Expense Date             GL Account Code              Invoice Number        Amount (USD)            Employee               Merchant                             Explanation
      9/17/2019                   Airfare                   CR00188009                  7,901.93     BURIAN, SAUL E          American Airlines           Ticket For Meeting Potential Buyers
      9/12/2019                   Airfare                   CR00188009                    673.60     BURIAN, SAUL E          American Airlines           Ticket For Meeting Potential Buyers
      10/3/2019                   Airfare                   CR00190502                    391.05    FEINTUCH, JASON I        American Airlines           Ticket For Meeting Potential Buyers
      10/3/2019                   Airfare                   CR00190502                    669.85    FEINTUCH, JASON I        American Airlines           Ticket For Meeting Potential Buyers
                               Airfare Total                                           $9,636.43

      9/12/2019              Taxis - Late Night            CR00188009                      32.50      BURIAN, SAUL E        Travel And Transport               Travel Service Charge
      9/17/2019              Taxis - Late Night            CR00188009                      39.50      BURIAN, SAUL E        Travel And Transport               Travel Service Charge
                          Other Transp Exp Total                                          $72.00

      8/6/2019             Ground Transportation           CR00185591                      77.00    Khoury, Christopher G       Metronorth         Train to Poughkeepsie (Multiple Team Members)
                        Ground Transportation Total                                       $77.00

       8/6/2019               Limo/Black Car               CR00183891                     214.30     BURIAN, SAUL E             Carmel Limo                  Return from Poughkeepsie
       9/4/2019               Limo/Black Car               CR00188009                     197.75     BURIAN, SAUL E             Carmel Limo                  Return from Poughkeepsie
      9/18/2019               Limo/Black Car               CR00188009                      74.65     BURIAN, SAUL E               Carmel                     Transportation to meetings
      9/20/2019               Limo/Black Car               CR00188009                     286.14     BURIAN, SAUL E                Carey                      Transportation to Airport
      9/19/2019               Limo/Black Car               CR00188009                     279.63     BURIAN, SAUL E          'Europe Limousine                 Transportation to Hotel
      10/3/2019               Limo/Black Car               CR00190502                     116.90    FEINTUCH, JASON I               bkm                       Transportation to Airport
      10/3/2019               Limo/Black Car               CR00190502                     116.90    FEINTUCH, JASON I               bkm                      Transportation from Airport
                           Limo/Black Car Total                                        $1,286.27

       8/6/2019                   Taxi                     CR00179531                      12.30      BURIAN, SAUL E          New York - Taxi
       8/6/2019                   Taxi                     CR00179531                      11.80      BURIAN, SAUL E          New York - Taxi
       8/6/2019                   Taxi                     CR00185591                     196.48    Khoury, Christopher G         Uber
       8/6/2019                   Taxi                     CR00186443                     171.71    FEINTUCH, JASON I              Taxi
       8/6/2019                   Taxi                     CR00182732                     142.08      Kubinak, John B              Taxi
      8/14/2019                   Taxi                     CR00188009                      11.50      BURIAN, SAUL E               Taxi
      8/28/2019                   Taxi                     CR00188009                       9.80      BURIAN, SAUL E               Taxi
       9/4/2019                   Taxi                     CR00187337                      85.00    Khoury, Christopher G         Uber
       9/4/2019                   Taxi                     CR00187337                     190.05    Khoury, Christopher G         Uber
       9/5/2019                   Taxi                     CR00188009                      10.80      BURIAN, SAUL E          New York - Taxi
       9/6/2019                   Taxi                     CR00188009                      22.30      BURIAN, SAUL E          New York - Taxi
       9/9/2019                   Taxi                     CR00188009                      12.80      BURIAN, SAUL E          New York - Taxi
      9/13/2019                   Taxi                     CR00188009                      13.05      BURIAN, SAUL E          New York - Taxi
      9/18/2019                   Taxi                     CR00188009                      14.05      BURIAN, SAUL E          New York - Taxi
      10/3/2019                   Taxi                     CR00190502                       20.83   FEINTUCH, JASON I              taxi
                                Taxi Total                                               $924.55

       8/6/2019              Taxis - Late Night            CR00182218                      81.90    FEINTUCH, JASON I                                         Late night transportation
       8/7/2019              Taxis - Late Night            CR00185591                      62.12    Khoury, Christopher G                                     Late night transportation
       8/9/2019              Taxis - Late Night            CR00185591                      62.04    Khoury, Christopher G                                     Late night transportation
      8/15/2019              Taxis - Late Night            CR00185591                      64.92    Khoury, Christopher G                                     Late night transportation
      8/16/2019              Taxis - Late Night            CR00185591                      62.52    Khoury, Christopher G                                     Late night transportation
      8/21/2019              Taxis - Late Night            CR00185591                      57.99    Khoury, Christopher G                                     Late night transportation
      8/22/2019              Taxis - Late Night            CR00185591                      58.84    Khoury, Christopher G                                     Late night transportation
      8/24/2019              Taxis - Late Night            CR00185591                      64.80    Khoury, Christopher G                                     Late night transportation
      8/25/2019              Taxis - Late Night            CR00185591                      60.04    Khoury, Christopher G                                     Late night transportation
      8/27/2019              Taxis - Late Night            CR00185591                      53.11    Khoury, Christopher G                                     Late night transportation
       8/6/2019              Taxis - Late Night            CR00182732                      30.16      Kubinak, John B                                         Late night transportation
      8/19/2019              Taxis - Late Night            CR00186747                      21.39      Kubinak, John B                                         Late night transportation
      8/20/2019              Taxis - Late Night            CR00186747                      20.84      Kubinak, John B                                         Late night transportation
      8/27/2019              Taxis - Late Night            CR00186747                      17.50      Kubinak, John B                                         Late night transportation
      8/29/2019              Taxis - Late Night            CR00186747                      33.20      Kubinak, John B                                         Late night transportation
      8/27/2019              Taxis - Late Night            CR00187337                      53.99    Khoury, Christopher G                                     Late night transportation
      8/29/2019              Taxis - Late Night            CR00187337                      52.19    Khoury, Christopher G                                     Late night transportation
      8/29/2019              Taxis - Late Night            CR00187337                      58.87    Khoury, Christopher G                                     Late night transportation
      8/27/2019              Taxis - Late Night            CR00188233                      11.76         Lee, Heidi                                           Late night transportation
      8/28/2019              Taxis - Late Night            CR00188233                      12.96         Lee, Heidi                                           Late night transportation
      8/29/2019              Taxis - Late Night            CR00188233                      12.36         Lee, Heidi                                           Late night transportation
      8/29/2019              Taxis - Late Night            CR00188233                      12.36         Lee, Heidi                                           Late night transportation
       9/3/2019              Taxis - Late Night            CR00186747                      23.63      Kubinak, John B                                         Late night transportation
       9/4/2019              Taxis - Late Night            CR00187337                      69.13    Khoury, Christopher G                                     Late night transportation
       9/9/2019              Taxis - Late Night            CR00187337                      65.52    Khoury, Christopher G                                     Late night transportation
      9/12/2019              Taxis - Late Night            CR00187337                      67.02    Khoury, Christopher G                                     Late night transportation
       9/3/2019              Taxis - Late Night            CR00188233                      12.36      Lee, Jeong Hyon                                         Late night transportation
      9/19/2019              Taxis - Late Night            CR00188233                      12.36      Lee, Jeong Hyon                                         Late night transportation
      9/25/2019              Taxis - Late Night            CR00190502                      98.29    FEINTUCH, JASON I                                         Late night transportation
       9/9/2019              Taxis - Late Night            CR00190730                      19.83      Kubinak, John B                                         Late night transportation
      9/12/2019              Taxis - Late Night            CR00190730                      21.17      Kubinak, John B                                         Late night transportation
      9/16/2019              Taxis - Late Night            CR00190503                      66.75    Khoury, Christopher G                                     Late night transportation
      9/23/2019              Taxis - Late Night            CR00190503                      95.87    Khoury, Christopher G                                     Late night transportation
      9/23/2019              Taxis - Late Night            CR00190730                      20.85      Kubinak, John B                                         Late night transportation
      9/25/2019              Taxis - Late Night            CR00190730                      22.83      Kubinak, John B                                         Late night transportation
      9/26/2019              Taxis - Late Night            CR00190503                      72.34    Khoury, Christopher G                                     Late night transportation
      10/2/2019              Taxis - Late Night            CR00190503                       65.43   Khoury, Christopher G                                     Late night transportation
      10/2/2019              Taxis - Late Night            CR00190503                       67.14   Khoury, Christopher G                                     Late night transportation
      10/4/2019              Taxis - Late Night            CR00190503                       65.22   Khoury, Christopher G                                     Late night transportation
     10/10/2019              Taxis - Late Night            CR00190730                      23.75      Kubinak, John B                                         Late night transportation
     10/10/2019              Taxis - Late Night            CR00190730                      19.56      Kubinak, John B                                         Late night transportation
     10/10/2019              Taxis - Late Night            CR00190730                      16.80      Kubinak, John B                                         Late night transportation
     10/19/2019              Taxis - Late Night            CR00191997                      74.87    Khoury, Christopher G                                     Late night transportation
     10/19/2019              Taxis - Late Night            CR00191997                      64.49    Khoury, Christopher G                                     Late night transportation
     10/19/2019              Taxis - Late Night            CR00191997                      81.54    Khoury, Christopher G                                     Late night transportation
     10/19/2019              Taxis - Late Night            CR00191997                      69.90    Khoury, Christopher G                                     Late night transportation
     10/19/2019              Taxis - Late Night            CR00191997                      64.01    Khoury, Christopher G                                     Late night transportation
     10/19/2019              Taxis - Late Night            CR00191997                     109.12    Khoury, Christopher G                                     Late night transportation
     10/10/2019              Taxis - Late Night            CR00194371                     132.65    FEINTUCH, JASON I                                         Late night transportation
     10/14/2019              Taxis - Late Night            CR00194371                      84.86    FEINTUCH, JASON I                                         Late night transportation
     10/16/2019              Taxis - Late Night            CR00194371                      88.00    FEINTUCH, JASON I                                         Late night transportation
     10/23/2019              Taxis - Late Night            CR00194371                      90.95    FEINTUCH, JASON I                                         Late night transportation
      10/8/2019              Taxis - Late Night            CR00194855                      20.11      Kubinak, John B                                         Late night transportation
     10/10/2019              Taxis - Late Night            CR00194855                      30.81      Kubinak, John B                                         Late night transportation
     10/14/2019              Taxis - Late Night            CR00194855                      19.26      Kubinak, John B                                         Late night transportation
     10/23/2019              Taxis - Late Night            CR00194855                      20.89      Kubinak, John B                                         Late night transportation
     10/23/2019              Taxis - Late Night            CR00195702                      69.29    Khoury, Christopher G                                     Late night transportation
     10/31/2019              Taxis - Late Night            CR00195702                      66.19    Khoury, Christopher G                                     Late night transportation
     10/29/2019              Taxis - Late Night            CR00195702                      66.89    Khoury, Christopher G                                     Late night transportation
                          Taxis - Late Night Total                                     $3,045.54

      9/18/2019             Hotel Room & Taxes             CR00189804                      57.28       Burian, Saul E        Palazzo Matteotti                   Lodging Expense
      9/18/2019             Hotel Room & Taxes             CR00189804                     572.77       Burian, Saul E        Palazzo Matteotti                   Lodging Expense
      9/19/2019             Hotel Room & Taxes             CR00189804                      61.69       Burian, Saul E        Palazzo Matteotti                   Lodging Expense
      9/19/2019             Hotel Room & Taxes             CR00189804                     616.92       Burian, Saul E        Palazzo Matteotti                   Lodging Expense
      9/19/2019             Hotel Room & Taxes             CR00189804                       5.52       Burian, Saul E        Palazzo Matteotti                   Lodging Expense
                                                       19-36300-cgm   Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30        Main Document
                                                                                             Pg 87 of 90



Barneys New York, Inc.                                                                                                                                           Houlihan Lokey Capital, Inc.
Out-of-Pocket Detailed Expenses - August 6, 2019 - October 31, 2019

    Expense Date             GL Account Code               Invoice Number       Amount (USD)            Employee                    Merchant                       Explanation
                         Hotel Room & Taxes Total                                      $1,314.18

      8/24/2019            IT-Voice/Data Services           82793362NY                     64.51                           Global Crossing Conferencing    Telecommunication Services
      8/24/2019            IT-Voice/Data Services           82793028NY                     51.07                           Global Crossing Conferencing    Telecommunication Services
     10/15/2019            IT-Voice/Data Services           83873669NY                    102.61                           Global Crossing Conferencing    Telecommunication Services
     10/12/2019            IT-Voice/Data Services           83872797NY                    191.52                           Global Crossing Conferencing    Telecommunication Services
      9/24/2019            IT-Voice/Data Services           84772395NY                     54.78                           Global Crossing Conferencing    Telecommunication Services
      9/24/2019            IT-Voice/Data Services           84770592NY                     84.54                           Global Crossing Conferencing    Telecommunication Services
     10/23/2019              Online Subscr Info            2561860q32019                   16.77                               Pacer Service Center              7/1/19 - 9/30/19
                        IT-Voice/Data Services Total                                     $565.80

      8/12/2019               Overtime Meals                CR00179531                     20.00     BURIAN, SAUL E         'Great American Health Bar    Overtime meal for one employee
      8/13/2019               Overtime Meals                CR00179531                     10.24     BURIAN, SAUL E                 Cafe Hestia           Overtime meal for one employee
       8/6/2019               Overtime Meals                CR00179531                     20.00     BURIAN, SAUL E                Shiro of Japan         Overtime meal for one employee
       8/8/2019               Overtime Meals                CR00185591                     20.00   Khoury, Christopher G                EQ18              Overtime meal for one employee
      8/14/2019               Overtime Meals                CR00185591                     13.01   Khoury, Christopher G            Sweetgreen            Overtime meal for one employee
      8/15/2019               Overtime Meals                CR00185591                     18.51   Khoury, Christopher G               Mangia             Overtime meal for one employee
      8/19/2019               Overtime Meals                CR00185591                     16.57   Khoury, Christopher G              Birdbath            Overtime meal for one employee
      8/20/2019               Overtime Meals                CR00185591                     18.51   Khoury, Christopher G               Mangia             Overtime meal for one employee
      8/21/2019               Overtime Meals                CR00185591                     13.95   Khoury, Christopher G            Sweetgreen            Overtime meal for one employee
      8/22/2019               Overtime Meals                CR00185591                     20.00   Khoury, Christopher G               Mangia             Overtime meal for one employee
      8/23/2019               Overtime Meals                CR00185591                     13.00   Khoury, Christopher G                 GRK              Overtime meal for one employee
      8/26/2019               Overtime Meals                CR00185591                     20.00   Khoury, Christopher G               Mangia             Overtime meal for one employee
       8/7/2019               Overtime Meals                CR00182732                     20.00     Kubinak, John B          Macchiato Espresso Bar      Overtime meal for one employee
      8/12/2019               Overtime Meals                CR00186061                     15.00      Powell, Miles M                HAI Street           Overtime meal for one employee
      8/13/2019               Overtime Meals                CR00186061                     13.48      Powell, Miles M            NY Grill and Deli        Overtime meal for one employee
      8/14/2019               Overtime Meals                CR00186061                     14.37      Powell, Miles M                Dos toros            Overtime meal for one employee
      8/15/2019               Overtime Meals                CR00186061                     15.00      Powell, Miles M                   Kaoru             Overtime meal for one employee
      8/16/2019               Overtime Meals                CR00186061                     10.11      Powell, Miles M                Just Salad           Overtime meal for one employee
      8/19/2019               Overtime Meals                CR00186061                     17.96      Powell, Miles M            The Gumbo Bros           Overtime meal for one employee
      8/20/2019               Overtime Meals                CR00186061                     20.00      Powell, Miles M            The Gumbo Bros           Overtime meal for one employee
      8/21/2019               Overtime Meals                CR00186061                     11.63      Powell, Miles M                Dos toros            Overtime meal for one employee
      8/22/2019               Overtime Meals                CR00186061                     20.00      Powell, Miles M              Udon West 46           Overtime meal for one employee
      8/23/2019               Overtime Meals                CR00186061                     17.80      Powell, Miles M                 dos toros           Overtime meal for one employee
      8/24/2019               Overtime Meals                CR00186061                     20.00      Powell, Miles M          Obao noodles and bar       Overtime meal for one employee
      8/26/2019               Overtime Meals                CR00186061                     14.89      Powell, Miles M                Just Salad           Overtime meal for one employee
      8/27/2019               Overtime Meals                CR00186061                     14.89      Powell, Miles M                Just Salad           Overtime meal for one employee
       8/9/2019               Overtime Meals                CR00186747                     19.80     Kubinak, John B                Chick-Fil-A           Overtime meal for one employee
       8/8/2019               Overtime Meals                CR00186747                     20.00     Kubinak, John B                   Mangia             Overtime meal for one employee
      8/12/2019               Overtime Meals                CR00186747                     20.00     Kubinak, John B                   Mangia             Overtime meal for one employee
      8/13/2019               Overtime Meals                CR00186747                     15.79     Kubinak, John B                Fresh & Co            Overtime meal for one employee
      8/14/2019               Overtime Meals                CR00186747                     20.00     Kubinak, John B                   Mangia             Overtime meal for one employee
      8/19/2019               Overtime Meals                CR00186747                     20.00     Kubinak, John B                   Mangia             Overtime meal for one employee
      8/20/2019               Overtime Meals                CR00186747                     20.00     Kubinak, John B                   Mangia             Overtime meal for one employee
      8/21/2019               Overtime Meals                CR00186747                     11.50     Kubinak, John B               Naya Express           Overtime meal for one employee
      8/22/2019               Overtime Meals                CR00186747                     20.00     Kubinak, John B                   Mangia             Overtime meal for one employee
      8/25/2019               Overtime Meals                CR00186747                     13.71     Kubinak, John B                 La palapa            Overtime meal for one employee
      8/30/2019               Overtime Meals                CR00186747                     19.86     Kubinak, John B                Chick-Fil-A           Overtime meal for one employee
      8/28/2019               Overtime Meals                CR00187337                     20.00   Khoury, Christopher G          Seamless Web            Overtime meal for one employee
      8/29/2019               Overtime Meals                CR00187337                     19.05   Khoury, Christopher G               Mangia             Overtime meal for one employee
      8/30/2019               Overtime Meals                CR00187337                     13.99   Khoury, Christopher G            Chick-Fil-A           Overtime meal for one employee
      8/16/2019               Overtime Meals                CR00188654                     14.63      Powell, Miles M                 dos toros           Overtime meal for one employee
      8/26/2019               Overtime Meals                CR00188233                     14.15     Lee, Jeong Hyon                   mr bing            Overtime meal for one employee
      8/26/2019               Overtime Meals                CR00188009                     13.15     BURIAN, SAUL E                 Cafe Hestia           Overtime meal for one employee
      8/27/2019               Overtime Meals                CR00187666                     17.80      Powell, Miles M                Dos toros            Overtime meal for one employee
      8/27/2019               Overtime Meals                CR00188233                     13.60     Lee, Jeong Hyon                   Sophie             Overtime meal for one employee
      8/28/2019               Overtime Meals                CR00187666                     14.89      Powell, Miles M                Just Salad           Overtime meal for one employee
      8/28/2019               Overtime Meals                CR00188233                      9.79     Lee, Jeong Hyon                  dos toros           Overtime meal for one employee
      8/29/2019               Overtime Meals                CR00187666                     16.21      Powell, Miles M                 dos toros           Overtime meal for one employee
      8/29/2019               Overtime Meals                CR00188233                     20.00     Lee, Jeong Hyon                  freidman            Overtime meal for one employee
      8/30/2019               Overtime Meals                CR00188233                     19.87     Lee, Jeong Hyon                 Little beet          Overtime meal for one employee
      8/30/2019               Overtime Meals                CR00188654                     18.69      Powell, Miles M               Chick-Fil-A           Overtime meal for one employee
       9/3/2019               Overtime Meals                CR00186747                     20.00     Kubinak, John B                   Mangia             Overtime meal for one employee
       9/6/2019               Overtime Meals                CR00186747                     19.86     Kubinak, John B                Chick-Fil-A           Overtime meal for one employee
       9/5/2019               Overtime Meals                CR00186747                     15.79     Kubinak, John B                Fresh & Co            Overtime meal for one employee
      9/21/2019               Overtime Meals                CR00187337                     18.51   Khoury, Christopher G               Mangia             Overtime meal for one employee
      9/21/2019               Overtime Meals                CR00187337                     13.55   Khoury, Christopher G            Sweetgreen            Overtime meal for one employee
      9/21/2019               Overtime Meals                CR00187337                     13.55   Khoury, Christopher G            Sweetgreen            Overtime meal for one employee
      9/21/2019               Overtime Meals                CR00187337                     17.04   Khoury, Christopher G      Macchiato Espresso Bar      Overtime meal for one employee
      9/26/2019               Overtime Meals                CR00188233                     13.01     Lee, Jeong Hyon          Macchiato Espresso Bar      Overtime meal for one employee
      9/26/2019               Overtime Meals                CR00188233                     13.88     Lee, Jeong Hyon                Sweetgreen            Overtime meal for one employee
       9/3/2019               Overtime Meals                CR00187666                     14.63      Powell, Miles M                Dos toros            Overtime meal for one employee
       9/4/2019               Overtime Meals                CR00187666                     17.80      Powell, Miles M                 dos toros           Overtime meal for one employee
      9/24/2019               Overtime Meals                CR00187666                     20.00      Powell, Miles M             Seamless Web            Overtime meal for one employee
      9/24/2019               Overtime Meals                CR00187666                     14.13      Powell, Miles M               Chick-Fil-A           Overtime meal for one employee
      9/24/2019               Overtime Meals                CR00187666                     14.04      Powell, Miles M                 Chipotle            Overtime meal for one employee
      9/24/2019               Overtime Meals                CR00187666                     17.13      Powell, Miles M                 joy curry           Overtime meal for one employee
      9/11/2019               Overtime Meals                CR00187666                     19.25      Powell, Miles M                   dig inn           Overtime meal for one employee
      9/12/2019               Overtime Meals                CR00187666                     14.42      Powell, Miles M                    GRK              Overtime meal for one employee
      9/13/2019               Overtime Meals                CR00188654                     19.86      Powell, Miles M            ashleys fine food        Overtime meal for one employee
      9/16/2019               Overtime Meals                CR00188654                     16.00      Powell, Miles M              pickler and co         Overtime meal for one employee
      9/17/2019               Overtime Meals                CR00188654                     18.66      Powell, Miles M            ashleys fine food        Overtime meal for one employee
      9/18/2019               Overtime Meals                CR00188654                     15.13      Powell, Miles M                 Chipotle            Overtime meal for one employee
      9/19/2019               Overtime Meals                CR00188654                     20.00      Powell, Miles M                Just Salad           Overtime meal for one employee
      9/23/2019               Overtime Meals                CR00188654                     14.63      Powell, Miles M                 dos toros           Overtime meal for one employee
      9/24/2019               Overtime Meals                CR00188654                     20.00      Powell, Miles M                 aki sushi           Overtime meal for one employee
      9/25/2019               Overtime Meals                CR00188654                     16.28      Powell, Miles M                cafe duke            Overtime meal for one employee
      9/26/2019               Overtime Meals                CR00188654                     20.00      Powell, Miles M            mee noodle shop          Overtime meal for one employee
      9/11/2019               Overtime Meals                CR00188009                     11.88     BURIAN, SAUL E                 Cafe Hestia           Overtime meal for one employee
      9/16/2019               Overtime Meals                CR00188009                     12.15     BURIAN, SAUL E                 Cafe Hestia           Overtime meal for one employee
      9/23/2019               Overtime Meals                CR00188009                     11.50     BURIAN, SAUL E                 Cafe Hestia           Overtime meal for one employee
      9/25/2019               Overtime Meals                CR00188009                     12.07     BURIAN, SAUL E                 Cafe Hestia           Overtime meal for one employee
      9/25/2019               Overtime Meals                CR00190502                     15.96   FEINTUCH, JASON I                  bobwhite            Overtime meal for one employee
      9/18/2019               Overtime Meals                CR00190503                     13.55   Khoury, Christopher G            Sweetgreen            Overtime meal for one employee
      9/19/2019               Overtime Meals                CR00190503                     13.01   Khoury, Christopher G            Sweetgreen            Overtime meal for one employee
      9/20/2019               Overtime Meals                CR00190503                     13.74   Khoury, Christopher G            Sweetgreen            Overtime meal for one employee
      9/23/2019               Overtime Meals                CR00190503                     13.55   Khoury, Christopher G            Sweetgreen            Overtime meal for one employee
      9/24/2019               Overtime Meals                CR00190503                     13.55   Khoury, Christopher G            Sweetgreen            Overtime meal for one employee
      9/26/2019               Overtime Meals                CR00190503                     20.00   Khoury, Christopher G          Seamless Web            Overtime meal for one employee
      9/10/2019               Overtime Meals                CR00190730                     20.00     Kubinak, John B                   Mangia             Overtime meal for one employee
      9/11/2019               Overtime Meals                CR00190730                     19.60     Kubinak, John B          Macchiato Espresso Bar      Overtime meal for one employee
      9/13/2019               Overtime Meals                CR00190730                     20.00     Kubinak, John B                Chick-Fil-A           Overtime meal for one employee
      9/16/2019               Overtime Meals                CR00190730                     20.00     Kubinak, John B                   Mangia             Overtime meal for one employee
      9/23/2019               Overtime Meals                CR00190730                     12.72     Kubinak, John B                  dos toros           Overtime meal for one employee
      9/24/2019               Overtime Meals                CR00190730                     20.00     Kubinak, John B                   Mangia             Overtime meal for one employee
                                                      19-36300-cgm    Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                                                             Pg 88 of 90



Barneys New York, Inc.                                                                                                                                         Houlihan Lokey Capital, Inc.
Out-of-Pocket Detailed Expenses - August 6, 2019 - October 31, 2019

    Expense Date            GL Account Code               Invoice Number        Amount (USD)            Employee                   Merchant                      Explanation
      9/25/2019              Overtime Meals                 CR00190730                     20.00     Kubinak, John B                  Mangia            Overtime meal for one employee
      9/26/2019              Overtime Meals                 CR00190730                     20.00     Kubinak, John B                    kati            Overtime meal for one employee
      10/1/2019              Overtime Meals                 CR00190502                     18.51   FEINTUCH, JASON I                  Mangia            Overtime meal for one employee
      10/1/2019              Overtime Meals                 CR00190503                     20.00   Khoury, Christopher G             fuel grill         Overtime meal for one employee
      10/2/2019              Overtime Meals                 CR00190503                     20.00   Khoury, Christopher G       Seamless Web             Overtime meal for one employee
      10/3/2019              Overtime Meals                 CR00190503                     18.78   Khoury, Christopher G            la palapa           Overtime meal for one employee
      10/1/2019              Overtime Meals                 CR00190730                     20.00     Kubinak, John B                  Mangia            Overtime meal for one employee
      9/27/2019              Overtime Meals                 CR00191570                     11.90      Powell, Miles M           pickler and co          Overtime meal for one employee
      9/30/2019              Overtime Meals                 CR00191570                     20.00      Powell, Miles M                  GRK              Overtime meal for one employee
      10/1/2019              Overtime Meals                 CR00191570                     14.04      Powell, Miles M                Chipotle           Overtime meal for one employee
      10/2/2019              Overtime Meals                 CR00190730                     17.58     Kubinak, John B                  Pickler           Overtime meal for one employee
      10/2/2019              Overtime Meals                 CR00191570                     20.00      Powell, Miles M             fresh basils          Overtime meal for one employee
      10/3/2019              Overtime Meals                 CR00191570                     17.47      Powell, Miles M         ashleys fine food         Overtime meal for one employee
      10/4/2019              Overtime Meals                 CR00190730                     20.00     Kubinak, John B              Chick-Fil-A           Overtime meal for one employee
      10/4/2019              Overtime Meals                 CR00191570                     20.00      Powell, Miles M           dai hachi sushi         Overtime meal for one employee
      10/7/2019              Overtime Meals                 CR00191570                     16.97      Powell, Miles M               dos toros           Overtime meal for one employee
      10/8/2019              Overtime Meals                 CR00191570                     17.89      Powell, Miles M           Pickler and co          Overtime meal for one employee
      10/9/2019              Overtime Meals                 CR00191570                     18.45      Powell, Miles M       Hale & Hearty Soups         Overtime meal for one employee
     10/10/2019              Overtime Meals                 CR00191570                     19.82      Powell, Miles M                Chipotle           Overtime meal for one employee
     10/11/2019              Overtime Meals                 CR00191570                     13.59      Powell, Miles M              Just Salad           Overtime meal for one employee
     10/14/2019              Overtime Meals                 CR00191570                     17.31      Powell, Miles M              cafe alice           Overtime meal for one employee
      9/25/2019              Overtime Meals                 CR00191997                     20.00   Khoury, Christopher G       Seamless Web             Overtime meal for one employee
      10/1/2019              Overtime Meals                 CR00191997                     13.55   Khoury, Christopher G          Sweetgreen            Overtime meal for one employee
      10/4/2019              Overtime Meals                 CR00191997                     13.99   Khoury, Christopher G          Chick-Fil-A           Overtime meal for one employee
      10/7/2019              Overtime Meals                 CR00191997                     13.55   Khoury, Christopher G          Sweetgreen            Overtime meal for one employee
      10/8/2019              Overtime Meals                 CR00191997                     19.00   Khoury, Christopher G         roast kitchen          Overtime meal for one employee
      10/9/2019              Overtime Meals                 CR00191997                     14.15   Khoury, Christopher G              Mangia            Overtime meal for one employee
     10/10/2019              Overtime Meals                 CR00191997                     15.46   Khoury, Christopher G         uncle gussys           Overtime meal for one employee
     10/14/2019              Overtime Meals                 CR00191997                     10.89   Khoury, Christopher G              Mangia            Overtime meal for one employee
     10/15/2019              Overtime Meals                 CR00191997                     17.91   Khoury, Christopher G   Macchiato Espresso Bar       Overtime meal for one employee
     10/16/2019              Overtime Meals                 CR00191997                     14.78   Khoury, Christopher G          Sweetgreen            Overtime meal for one employee
      8/27/2019              Overtime Meals                 CR00192694                     14.92     Lee, Jeong Hyon                    Bao             Overtime meal for one employee
       9/3/2019              Overtime Meals                 CR00192694                     15.24     Lee, Jeong Hyon                  roberta           Overtime meal for one employee
     10/14/2019              Overtime Meals                 CR00194371                     18.33   FEINTUCH, JASON I               La palapa            Overtime meal for one employee
      10/7/2019              Overtime Meals                 CR00194855                     13.77     Kubinak, John B       Macchiato Espresso Bar       Overtime meal for one employee
      10/8/2019              Overtime Meals                 CR00194855                     20.00     Kubinak, John B                  Mangia            Overtime meal for one employee
     10/11/2019              Overtime Meals                 CR00194855                     10.25     Kubinak, John B                 Liquitera          Overtime meal for one employee
     10/14/2019              Overtime Meals                 CR00194855                     20.00     Kubinak, John B                  Mangia            Overtime meal for one employee
     10/15/2019              Overtime Meals                 CR00194855                     17.69     Kubinak, John B       Macchiato Espresso Bar       Overtime meal for one employee
     10/17/2019              Overtime Meals                 CR00194855                     15.88     Kubinak, John B                dos toros           Overtime meal for one employee
     10/21/2019              Overtime Meals                 CR00194855                     19.60     Kubinak, John B                mulberry            Overtime meal for one employee
     10/22/2019              Overtime Meals                 CR00194855                     20.00     Kubinak, John B                  Mangia            Overtime meal for one employee
     10/24/2019              Overtime Meals                 CR00194855                     16.47     Kubinak, John B            Naya Express            Overtime meal for one employee
     10/23/2019              Overtime Meals                 CR00194855                     10.62     Kubinak, John B       Roti Mediterranean Grill     Overtime meal for one employee
     10/31/2019              Overtime Meals                 CR00194855                     20.00     Kubinak, John B              Chick-Fil-A           Overtime meal for one employee
     10/18/2019              Overtime Meals                 CR00194855                     16.04     Kubinak, John B              Chick-Fil-A           Overtime meal for one employee
     10/18/2019              Overtime Meals                 CR00195702                     14.95   Khoury, Christopher G          Sweetgreen            Overtime meal for one employee
     10/21/2019              Overtime Meals                 CR00195702                     13.34   Khoury, Christopher G          Fresh & Co            Overtime meal for one employee
     10/22/2019              Overtime Meals                 CR00195702                     20.00   Khoury, Christopher G              Mangia            Overtime meal for one employee
     10/24/2019              Overtime Meals                 CR00195702                     16.47   Khoury, Christopher G        Naya Express            Overtime meal for one employee
     10/28/2019              Overtime Meals                 CR00195702                     14.84   Khoury, Christopher G          Sweetgreen            Overtime meal for one employee
     10/29/2019              Overtime Meals                 CR00195702                     15.48   Khoury, Christopher G         Uncle gussys           Overtime meal for one employee
     10/30/2019              Overtime Meals                 CR00195702                     13.97   Khoury, Christopher G           Dos toros            Overtime meal for one employee
     10/14/2019              Overtime Meals                 CR00195981                     15.00      Powell, Miles M       joy curry and tandoor       Overtime meal for one employee
     10/15/2019              Overtime Meals                 CR00195981                     19.22      Powell, Miles M       Hale & Hearty Soups         Overtime meal for one employee
     10/16/2019              Overtime Meals                 CR00195981                     18.70      Powell, Miles M              Just Salad           Overtime meal for one employee
     10/17/2019              Overtime Meals                 CR00195981                     20.00      Powell, Miles M       GAI Chicken and Rice        Overtime meal for one employee
     10/18/2019              Overtime Meals                 CR00195981                     15.25      Powell, Miles M           Pickler and co          Overtime meal for one employee
     10/21/2019              Overtime Meals                 CR00195981                     20.00      Powell, Miles M                 GoFish            Overtime meal for one employee
     10/22/2019              Overtime Meals                 CR00195981                     19.22      Powell, Miles M       Hale & Hearty Soups         Overtime meal for one employee
     10/23/2019              Overtime Meals                 CR00195981                     20.00      Powell, Miles M                 Mangia            Overtime meal for one employee
     10/24/2019              Overtime Meals                 CR00195981                     20.00      Powell, Miles M       GAI Chicken and Rice        Overtime meal for one employee
     10/25/2019              Overtime Meals                 CR00195981                     20.00      Powell, Miles M       GAI Chicken and Rice        Overtime meal for one employee
     10/28/2019              Overtime Meals                 CR00195981                     19.22      Powell, Miles M       Hale & Hearty Soups         Overtime meal for one employee
     10/29/2019              Overtime Meals                 CR00195981                     20.00      Powell, Miles M                 Gofish            Overtime meal for one employee
     10/30/2019              Overtime Meals                 CR00195981                     15.96      Powell, Miles M               dos toros           Overtime meal for one employee
     10/31/2019              Overtime Meals                 CR00195981                     20.00      Powell, Miles M          La vera pizzeria         Overtime meal for one employee
      11/4/2019              Overtime Meals                 CR00195981                     20.00      Powell, Miles M                 Mangia            Overtime meal for one employee
      11/5/2019              Overtime Meals                 CR00195981                     20.00      Powell, Miles M                 Mangia            Overtime meal for one employee
      11/6/2019              Overtime Meals                 CR00195981                     19.05      Powell, Miles M                 kati roll         Overtime meal for one employee
                           Overtime Meals Total                                        $2,770.90

      9/19/2019            M & E-50% deductible            CR00188009                       7.63 BURIAN, SAUL E                  Acquisto                        Travel meal
      9/15/2019            M & E-50% deductible             SL155939                      180.68 GrubHub Corporate AR           Café Hestia                     Meeting at HL
      9/22/2019            M & E-50% deductible             SL155940                      460.84 GrubHub Corporate AR           Café Hestia                     Meeting at HL
      9/29/2019            M & E-50% deductible             SL155941                      202.17 GrubHub Corporate AR           Café Hestia                     Meeting at HL
     10/11/2019            M & E-50% deductible            CR00195043                      39.18  FEINTUCH, JASON I             Market street                    Travel Meal
                        M & E-50% Deductible Total                                       $890.50

      8/24/2019            M & E-100% Deductible           CR00185612                      47.68        Lee, Heidi                 obao               Meal for multiple deal team members
      8/25/2019            M & E-100% Deductible           CR00186747                      57.10     Kubinak, John B              ko sushi            Meal for multiple deal team members
       9/4/2019            M & E-100% Deductible           CR00186747                      66.96     Kubinak, John B           Tender Greens          Meal for multiple deal team members
      9/23/2019            M & E-100% Deductible           CR00190503                      80.00   Khoury, Christopher G       Seamless Web           Meal for multiple deal team members
      9/27/2019            M & E-100% Deductible           CR00190730                      36.78     Kubinak, John B             Chick-Fil-A          Meal for multiple deal team members
       9/9/2019            M & E-100% Deductible           CR00190730                      55.53     Kubinak, John B              Mangia              Meal for multiple deal team members
     10/10/2019            M & E-100% Deductible           CR00194855                     103.11     Kubinak, John B               Rabu               Meal for multiple deal team members
     10/15/2019            M & E-100% Deductible           CR00194855                      78.87     Kubinak, John B               fields             Meal for multiple deal team members
     10/23/2019            M & E-100% Deductible           CR00194855                     110.31     Kubinak, John B              Ko sushi            Meal for multiple deal team members
     10/25/2019            M & E-100% Deductible           CR00194855                      45.23     Kubinak, John B             Chick-Fil-A          Meal for multiple deal team members
     10/29/2019            M & E-100% Deductible           CR00194855                      78.34     Kubinak, John B              Ko sushi            Meal for multiple deal team members
      10/7/2019            M & E-100% Deductible           CR00194855                      55.25     Kubinak, John B              Mangia              Meal for multiple deal team members
     10/30/2019            M & E-100% Deductible           CR00194855                      37.83     Kubinak, John B              Mangia              Meal for multiple deal team members
                        M & E-100% Deductible Total                                      $852.99

                                Grand Total                                           $21,436.16
19-36300-cgm   Doc 554   Filed 11/25/19 Entered 11/25/19 21:01:30   Main Document
                                      Pg 89 of 90

                                   EXHIBIT E

                    HOULIHAN LOKEY FEE CALCULATION
    19-36300-cgm        Doc 554     Filed 11/25/19 Entered 11/25/19 21:01:30     Main Document
                                                 Pg 90 of 90

Barneys New York, Inc.
Houlihan Lokey Fee Calculation

Calculation of Professional Fees
                                                      Months        Fee              Amount
 Total Monthly Fees (Sept - Oct 2019)                          2   $150,000.00         $300,000.00
 Plus: Total Financing Transaction Fee Amount                                         2,500,000.00
 Plus: Sale Transaction Fee Amount                                                    1,500,000.00
 Less: Monthly Fee Credits against Financing Transaction Fee                           (100,000.00)
 Less: Financing Transaction Fee Not Requested                                       (1,650,000.00)
 Less: Monthly Fee Credits against Sale Transaction Fee                                (200,000.00)
Total Professional Fees Earned                                                       $2,350,000.00

Reconciliation of Amounts Payable to Houlihan Lokey
Sale Transaction Fees
                                                                                    Fee Amount
  Sale Transaction Fee Amount                                                        $1,500,000.00
  Less: Monthly Fee Credits                                                            (200,000.00)
  Less: Sale Transaction Fee Paid                                                    (1,300,000.00)
[A] Total Sale Transaction Fee Payable                                                         $–

Monthly Fees
                                                    Months          Fee             Fee Amount
  Total Monthly Fees (Sept - Oct 2019)                         2   $150,000.00        $300,000.00
  Less: Monthly Fees Paid                                                                       –
[B] Total Monthly Fees Payable                                                        $300,000.00

Financing Transaction Fee
                                                                                    Fee Amount
  Total Financing Transaction Fee Amount                                             $2,500,000.00
  Less: Monthly Fee Credits                                                            (100,000.00)
  Less: Financing Transaction Fee Paid                                                 (750,000.00)
  Less: Financing Transaction Fee Not Requested                                      (1,650,000.00)
[C] Financing Transaction Fee Payable                                                          $–

Expenses
                                                                                  Expense Amount
  August 2019 Expenses                                                                  $2,888.59
  September 2019 Expenses                                                               12,803.21
  October 2019 Expenses                                                                  5,744.36
[D] Expenses Payable                                                                   $21,436.16

Total Fees
                                                                                    Fee Amount
 [A] Total Sale Transaction Fee Payable                                                       $–
 [B] Total Monthly Fees Payable                                                        300,000.00
 [C] Financing Transaction Fee Payable                                                          –
 [D] Expenses Payable                                                                   21,436.16
Net Total Fees & Expenses Payable to Houlihan Lokey                                   $321,436.16
